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                                EXHIBIT 3
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                OUTSIDE COUNSEL ATTORNEY EYES ONLY

                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION



        TRUTEK CORP.,
                                         Case No. 2:21-cv-10312-SJM-RSW
                        Plaintiff,
                                         Hon. Stephen J. Murphy, III
        v.

     BLUEWILLOW BIOLOGICS, INC.,
     ROBIN ROE 1 through 10, gender
     neutral fictitious names, and ABC
     CORPORATION 1 through 10
     (fictitious names).

                    Defendants.




               PLAINTIFF'S OPENING TECHNICAL REPORT


                              Dr. Eward A. Leomo
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                      OUTSIDE COUNSEL ATTORNEY EYES ONLY

                            Dr. Edward A. Lemmo
                                   60 Gilroy Street
                               Staten Island, I\rY 10309
                                    (718) e67-3426
                                 edlemm@naiLcom
                                                                              June   27,2022

      Stanley H. Kremen, Esq.
      4 Lenape Lane
      East Brunswick, NJ 08816

      RE:   Trutek Corp. v. BlueWillow Biologics, lnc.
            Civil case No. 2:21-cv-10312

      Dear Mr. Kremen:

             You engaged my services to investigate allegations of infringement of
      Trutek's U.S. Patent No. 8,163,802 by BlueWillo#s Nanobio Protect product that
      was puportedly on sale between January 2020 and April2021.

            My qualifications to perform this investigation are as follows:

            I received a B.S. degree in Chemistry in 1973 from St. Francis College in
      Brooklyn, New York, and both an M.S. and Ph.D. in Nutrition Science in 1977
      and 1979, respectively, from Rutgers University in New Brunswick, New Jercey.
      My resume is attached to this report as Exhibit A.

                                                                     I
              As part of my previous professional activities, evaluated patent
      disclosures and claims both in an employment and consulting capacity. I am
      familiar with patents. I am familiar with, and I have worked with nanoemulsions,
      the technology upon which Nanobio Protect relies. I am also acquainted with the
      technology upon which Trutek's patent is based. I researched a number of
      scientific articles, and I relied upon reports produced by Dr. Alexei Ermakov and
      Shane Bums. The materials and scientific articles that I reviewed are listed in
      Exhibit B.

            I hereby submit the following report of my investigation for your review.


                                 Very truly yours,



                                 Edward A. Lemmo
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                             OUTSIDE COUNSEL ATTORNEY EYES ONLY


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     Exhibit A - Resume of Dr. Edward A. Lemmo

     Exhibit B - Materials reviewed in preparing this report

     Exhibit C - U.S. Patent No. 8,163,802

     Exhibit D - Copy of website www.bluewillow.com pertaining to Nanobio Protect
                  product as it existed on February 7, 2021.

     Exhibit E - Copy of online information pertaining to Nanobio Protect as it existed
                  on February 10, 2021.




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                            FINDINGS AND CONCLUSIONS

     1.    BlueWillow's Nanobio Protect product is sold in the form of a liquid that is

           administered into a user's nasal passages.

     2.    The claims of Trutek's '802 Patent recite a method for nasally

           administering a formulation and for the formulation itself. The formulation

           of Trutek's '802 Patent is administered in and around a user's nasal

           passages.

     3.    BlueWillow's Nanobio Protect product exhibits an electrostatic charge, and

           once applied, creates an electrostatic field that extends from the skin or

           tissue of the user's nasal passages.

     4.    The formulation of Trutek's '802 Patent claims exhibits an electrostatic

           charge. Once applied, the formulation creates an electrostatic field in the

           vicinity of the user's nasal passages.

     5.    BlueWillow's Nanobio Protect product forms a thin film in the user's nasal

           passages. The thin film adheres to the skin or tissue of the user's nasal

           passages.

     6.    Trutek's '802 Patent claims that its formulation forms a thin film in and

           around the user's nasal passages. The thin film adheres to the skin or

           tissue of the user's nasal passages.

     7.    The formulation of BlueWillow's Nanobio Protect product contains at least

           one cationic agent.     A cationic agent creates a positive electrostatic

           charge. According to BlueWillow's published literature and the Nanobio




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           Protect product packaging, the formulation contains benzalkonium

           chloride, Benzalkonium chloride is a known cationic agent.

     8.    The formulation of BlueWillow's Nanobio Protect product contains at least

           one biocidic agent or biocide. A biocidic is a substance that destroys or

           inhibits the growth or activity of living organisms.          According to

           BlueWillow's published literature and the Nanobio Protect product

           packaging,     the     formulation       contains   benzalkonium    chloride,

           Benzalkonium chloride is a known biocidic agent.

     9.    The    Nanobio       Protect   product      comprises   nano-droplets    that

           electrostatically attract and hold "germs" (i.e., harmful particles).   The

           nano-droplets further contain benzalkonium chloride (a known biocide),

           which renders the "germs" harmless.

     10.   Claims 1 and 2 of the '802 Patent recite a formulation that electrostatically

           attracts and holds harmful particles and renders them harmless.

     11.   The Nanobio Protect product reads upon the '802 Patent's method claim 1

           when it is administered nasally because its formulation forms a thin film

           that it (1) adheres to the skin or tissue of the user's nasal passages; (2)

           electrostatically attracts harmful particulate matter; (3) holds the harmful

           particulate matter; and (4) inactivates the harmful particulate matter, and

           renders it harmless.

     12.   The Nanobio Protect product reads upon claim 2 of the '802 Patent's

           formulation because it (1) is intended to be applied to the skin or tissue of

           the user's nasal passages; (2) forms a thin film that adheres to the skin or




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           tissue of the user's nasal passages; (3) comprises at least one cationic

           agent; (4) comprises at least one biocidic agent; (5) electrostatically

           attracts harmful particulate matter; (6) holds the harmful particulate matter;

           and (7) inactivates the harmful particulate matter, and renders it harmless.

     13.   The Nanobio Protect product reads upon claim 6 of the '802 Patent

           because it contains benzalkonium chloride, which is a cationic agent.

     14.   The Nanobio Protect product reads upon claim 7 of the '802 Patent

           because it contains benzalkonium chloride, which is a biocidic agent.




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                              RESULTS OF INVESTIGATION

     I.    DISCUSSION

           In conducting my investigation, I read and understood:

              the complaint filed on February 10, 2021,

              Trutek's U.S. Patent No. 8,163,802 ("the '802 Patent"),

              a report prepared by Alexei Ermakov on January 11, 2021,

              a report prepared by Shane Burns of Electro-Tech Systems ("ETS") on

               January 18, 2021,

              copies of the portion of the BlueWillow website (www.bluewillow.com)

               relating to the Nanobio Protect product, which was in existence on

               January 7, 2021.

              information on the Nanobio Protect product packaging,

              U.S. Patent Nos. 8,226,965, 8,703,164, 9,131,680, 9,144,606,

               9,492,525, 9,561,271, 10,206,996, 10,525,121, 10,596,251, all of

               which were assigned by the inventors to Nanobio Corporation1, and

              several articles relating to nanoemulsions appearing in prominent

               scientific publications.

     2.    THE '802 PATENT

           The '802 Patent was issued to Ashok Wahi on April 24, 2012, and

     assigned to Plaintiff, Trutek Corp. ("Trutek"). It was allowed to issue from a non-

     provisional patent application filed on May 16, 2009.        The application was

     published by the USPTO on January 7, 2010. The earliest priority date of the


     1
       BlueWillow Biologics, Inc. ("BlueWillow"), a Delaware corporation, is the
     successor to Nanobio.Corporation, a Michigan corporation.


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     '802 Patent Is July 7, 2008. The '802 Patent will expire on March 28, 2030. The

     '802 Patent is attached to this report as Exhibit C.

            The '802 Patent has twenty-three claims.         Claims 1, 2, and 8 are

     independent claims. Claims 3-7 are dependent claims that depend from claim 2.

     Claims 9-23 are dependent claims that depend from claim 8. A dependent claim

     incorporates all of the limitations from its base claim by reference. For example,

     when trying to understand claim 3, one must first understand claim 2, and see

     claim 3 as further limiting claim 2. Independent claims are broad and generic.

     Dependent claims are limiting and specific.         Based on my knowledge and

     experience, all of the claims of the '802 Patent were easy for me to understand

     from a technical standpoint.

            The Complaint asserts that three claims (i.e., claims 1, 2, and 7) are

     infringed. That means that the allegedly infringing product reads on those claims

     (i.e., the product does what the claim recites). In my opinion, claim 6 should be

     added to the list, because the product also reads on claim 6.

            Unfortunately, discovery in this case has not yet revealed all of the

     ingredients in the formulation of the Nanobio Protect product. Thus, I was not

     able to ascertain whether the Nanobio Protect product reads on any of the other

     claims.   Thus, I confined my investigation to comparing the Nanobio Protect

     product with claims 1, 2, 6, and 7 of the '802 Patent. However, should further

     information about the Nanobio Protect product ingredients become available, I

     reserve the privilege of supplementing my report.




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                        OUTSIDE COUNSEL ATTORNEY EYES ONLY

            a.      CLAIM 1

            Claim 1 is a method claim. It does not recite a manufactured product.

     Instead, it recites a method of electrostatically preventing a user from being

     infected by harmful particles by applying a formulation to the skin or tissue of the

     user's nasal passages.        Once applied, the formulation forms a thin film or

     substrate that adheres (or sticks) to the skin or tissue of the user's nasal

     passages.      The adhesion of the thin film can be adjusted by addition of a

     thickener. However, even without a thickener, the thin film will adhere to the skin

     or tissue.

            Once applied, the formulation exhibits a static electrical charge, and it

     creates an electrostatic field in the vicinity of the skin or tissue. The thin film

     attracts oppositely charged harmful particles within the vicinity of the electrostatic

     field and in close proximity to the substrate. The thin film captures and holds the

     particles. An ingredient in the formulation that inactivates the harmful particles

     and renders them harmless.

            b.      CLAIM 2

            Claim 2 is a claim for a formulation intended to be applied to the skin or

     tissue of a user's nasal passages. The ingredients of the formulation are recited

     generically,   and    their   concentrations   are   adjusted   to   provide   specific

     characteristics.     Among the ingredients of the formulation are at least one

     cationic agent and at least one biocidic agent. However, additional ingredients

     are not excluded.




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            Once applied, the formulation possesses a static electric charge, which

     creates an electrostatic field in the vicinity of the user's nasal passages. When

     applied, the formulation forms a statically charged thin film. The cationic agent in

     the thin film produces a positively charged electrostatic field in the vicinity of the

     nasal passages.        Negatively charged harmful particles (including living

     microorganisms) are electrostatically attracted to the thin film. Ingredients in the

     formulation adjust the adhesion of the thin film so as to capture and hold the

     harmful particles. Ingredients in the formulation adjust the cohesion of the thin

     film to provide adequate impermeability. The biocidic agent in the formulation

     functions to inactivate or inhibit the captured harmful particles so as to render

     them harmless.

            c.     CLAIM 6

            Claim 6 is a dependent claim, which depends from claim 2. Thus, claim 6

     recites a formulation having all of the same characteristics and limitations of

     claim 2. However, it is further limited by reciting that benzalkonium chloride is

     among the cationic agents in the formulation. Benzalkonium chloride is a well

     known cationic agent. It produces a positively charged electrostatic field.

            d.     CLAIM 7

            Claim 7 is a dependent claim, which depends from claim 2. Thus, claim 7

     recites a formulation having all of the same characteristics and limitations of

     claim 2. However, it is further limited by reciting that benzalkonium chloride is

     among the biocidic agents in the formulation. Benzalkonium chloride is a well

     known biocide.




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     3.    NANOEMULSION TECHNOLOGY

           Based on my education and experience, I am very familiar with technology

     associated with, inter alia, nanoemulsions, surfactants, adjuvants, electrostatic

     charges, cationic agents, biocidic agents, biocides, and preservatives.

           Nanoemulsions are oil-in-water emulsions that are stabilized by

     emulsifying agents. They are also referred to as ultrafine emulsions. They exist

     as extremely small sub-micron sized droplets. Nanoemulsions are widely used in

     applications   such   as   food   products,   cosmetics,   and    pharmaceuticals.

     Nanoemulsions may be engineered to improve the biological accessibility of

     bioactive molecules that are either entombed within them or maybe consumed

     alongside them. Nanoemulsions exhibit remarkable droplet stability due to their

     nanoscopic dimensions. By their very nature, nanoemulsion droplets exhibit an

     electrostatic charge which causes them to repel one-another. If the nanodroplets

     are not electrostatically charged, they would coalesce into a single liquid mass.

           4.       THE NANOBIO PROTECT PRODUCT




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            Nanobio Protect was manufactured and sold as a "nasal antiseptic

     solution" by BlueWillow.       I understand that the product was discontinued

     sometime around April 2021, and that It is no longer being sold. The front of the

     product packaging is shown in the above photograph. As may be observed, the

     product contains "benzalkonium chloride (0.13%) antiseptic." The product claims

     to "kill 99.9% of germs." As an added claim, it "persists on skin for 4+ hours."

     On the rear of the product packaging, benzalkonium chloride is listed as the

     active ingredient.

            Trutek, the owner of the '802 Patent, manufactured and sold a product

     named NasalGuard Airborne Particle Blocker, both the formulation of which and

     the nasal administration of which were protected by the '802 Patent.

     BlueWillow's Nanobio Protect product was sold in the same online and retail

     venues as Trutek's NasalGuard product. They competed with one another.

            On January 11, 2021, Dr. Alexei Ermakov prepared a report describing his

     experimentation that compared electrostatic charges produced on paper

     substrates by Nanobio Protect, NasalGuard Misting Spray, and NasalGuard

     Airborne Particle Blocker products. Dr. Ermakov's report is separately produced

     for discovery. I reviewed this report and found Dr. Ermakov's methodology and

     conclusions to be sound. Dr. Ermakov concluded that all products exhibited an

     electrostatic charge of the same order of magnitude. I relied on Dr. Ermakov's

     work in forming my opinions.

            On January 18, 2021, Shane Burns of Electro-Tech Systems (ETS)

     prepared a report describing his experimentation that compared charges




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     produced on pig skin substrates by Nanobio Protect and NasalGuard Misting

     Spray products. The use of pig skin is more predictive than paper regarding how

     the product would behave on human skin. Notwithstanding, Mr. Burns reached

     the same conclusion as Dr. Ermakov. The electrostatic charges exhibited by

     both products were of the same order of magnitude. Mr. Burns' (ETS) report is

     separately produced for discovery. I reviewed this report and found Mr. Burns'

     methodology and conclusions to be sound. I relied on Mr. Burns' work in forming

     my opinions.

              Copies of a portion of the BlueWillow website (www.bluewillow.com) from

     February 7, 2021 relating to the Nanobio Protect product are attached to this

     report as Exhibits D and E. On Page 2 of Exhibit D, the following statements are

     made by BlueWillow:

              The unique effectiveness of NanoBio Protect is derived from
              BlueWillow's patented nanotechnology. NanoBio Protect places
              the BZK antiseptic2 on the surface of nano-droplets, which results in
              at least four key advantages:

              1. The nano-droplets are attracted to germs by electro-kinetic
                 charge and present the BZK in such a way to enable killing of
                 germs on contact.
              2. The droplets persist on skin for 4 or more hours, enabling long
                 lasting effectiveness.
              3. The droplets significantly hydrate skin to avoid dryness and
                 cracking that can allow germs in.
              4. And lastly, when bound to nano droplets, BZK is non-irritating to
                 the skin.

              NanoBio Protect kills germs via membrane disruption. Nanobio
              Protect is comprised of positively charged droplets that are 300-600
              nm in size. the droplets are attracted to negatively charged germs
              in the skin.



     2
         "BZK" is BlueWillow's abbreviation for benzalkonium chloride.


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                       OUTSIDE COUNSEL ATTORNEY EYES ONLY

            Here, the Nanobio Protect product is a liquid nanoemulsion consisting of

     nano-droplets that range between 300-600 nanometers in size (Id.).            These

     droplets are extremely small. A nanometer is one-billionth of a meter. When

     administered to a user's nostrils, the product forms a thin film that adheres to the

     skin or tissue of his nasal passages. If that were not the case, the liquid would

     instantly drip out of the user's nose. Instead, "the droplets persist on the skin for

     four or more hours." Further, the "droplets significantly hydrate skin to avoid

     dryness and cracking that can allow germs in."          Thus the product exhibits

     impermeability.

            The product is cationic (i.e., positively charged).           Most harmful

     microorganisms are anionic (i.e., negatively charged). The formulation contains

     benzalkonium chloride (a cationic agent) as its active ingredient. The positively

     charged thin film of nano-droplets inside the user's nostrils electrostatically

     attracts the negatively charged microorganisms. According to BlueWillow, the

     germs are "bound" to the nano-droplets. Therefore, they are held in place by the

     formulation. Finally, the benzalkonium chloride (a biocidic agent) "kills germs via

     membrane disruption."

            Therefore, the Nanobio Protect product reads upon the '802 Patent's

     method claim 1 when it is administered nasally because its formulation forms a

     thin film that (1) adheres to the skin or tissue of the user's nasal passages; (2)

     electrostatically attracts harmful particulate matter; (3) holds the harmful

     particulate matter; and (4) inactivates the harmful particulate matter, and renders

     it harmless.




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                      OUTSIDE COUNSEL ATTORNEY EYES ONLY

            Further, the Nanobio Protect product reads upon claim 2 of the '802

     Patent's formulation because it (1) is intended to be applied to the skin or tissue

     of the user's nasal passages; (2) forms a thin film that adheres to the skin or

     tissue of the user's nasal passages; (3) comprises at least one cationic agent; (4)

     comprises at least one biocidic agent; (5) electrostatically attracts harmful

     particulate matter; (6) holds the harmful particulate matter; and (7) inactivates the

     harmful particulate matter, and renders it harmless.

            Finally, the Nanobio Protect product reads upon both claims 6 and 7

     because its formulation contains benzalkonium chloride, which is both a cationic

     agent and a biocidic agent.




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                       OUTSIDE COUNSEL ATTORNEY EYES ONLY


                                         SUMMARY

             As a result of my investigation, I concluded that the Nanobio Protect Nasal

       Antiseptic Solution marketed and sold by BlueWillow reads on claims 1, 2, 6, and

       7 of the '802 Patent. Moreover, that product performed the same functions and

       competed with Trutek's NasalGuard Airbome Particle Blocker, which is protected

       by the'802 Patent.



                                               Respectfully submitted,
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                          EXHIBIT A
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                               Edward A. Lemmo, Ph.D.
                                     60 Gilroy Street
                             Staten Island, New York 10309
                                     (917) 837-1470
                              Email: edlemmo@gmail.com


     EDUCATION

     Ph.D. Nutrition Science, Rutgers University, New Brunswick, NJ (1979)
     M.S. Nutrition Science, Rutgers University, New Brunswick, NJ (1977)
     B.S. Chemistry, St. Francis College, Brooklyn, NY (1973)


     EXECUTIVE TRAINING COURSES

     Executive Leadership Program, Princeton, NJ
     Time Management Skills, Teaneck, NJ
     Media Communication Skills, New York City, NY


     EMPLOYMENT EXPERIENCE

     2007-Present       Consumer Healthcare Corporate Consultant
                        Self-employed Consultant - Consumer Healthcare

     2005-2007          BioBalance Corporation, New York, NY
                        Vice President, Product Development

                        Person primarily responsible for investigating its probiotic
                        product PROBACTRIX™ to be used for treating pouchitis
                        and other gastrointestinal disorders. Probiotic products are
                        an optional alternative to the probiotic Lactobacillus
                        acidophilus. In charge of all scientific product evaluation
                        conducted at company headquarters.

     1999-2005          Wyeth Consumer Healthcare, Leonia and Madison, NJ
                        Vice President, Product Development

                        Division of American Home Products
                        Formerly Whitehall-Robbins Consumer Healthcare

                        Managed product development for SOLGAR®, and
                        contributed towards CENTRUM®, and CALTRATE®, brands.
                        Responsible role in scientific affairs and new business
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                       development opportunities.         Further, responsible    for
                       evaluation of acquisition of new business entities.

     1992-1999         General Nutrition Centers, Inc., Pittsburg, PA
                       Director, Nutritional Sciences

                       Analyzed safety of amino acid products for presentation to
                       the FDA and FTC and other U.S. government agencies.
                       Evaluated and made recommendations regarding nutritional
                       and homeopathic products. Performed quality assurance
                       activities related to label claims and product safety.
                       Responsible for introduction of the new PRO-
                       PERFORMANCE sports nutrition product line into the GNC
                       retail marketplace.

                       In 1993, for Quigley Corporation, I evaluated the safety and
                       efficacy of Cold-EEZE® zinc lozenges to be used to shorten
                       a common cold as a possible line of homeopathic products
                       exclusively marketed by GNC.

     1989-1992         Pall Biomedical Products, Glen Cove, NY
                       Marketing Manager

                       Responsible for marketing activities of Intravenous filtration
                       devices, and Heat and Moisture exchange respiratory
                       products. Wrote all scientific evaluation documents related
                       to Heat and Moisture Exchange respiratory product for
                       presentation to anesthesiologists regarding prevention of
                       injury from patients breathing cold dry gas during surgery.
                       Developed scientific presentations, videos, and product
                       marketing material for use by healthcare professionals.

     1984-1989         ICN Pharmaceuticals, Costa Mesa, CA
                       Director of Nutritional Technology

                       Faraday Laboratories Division

                       Product development of nutritional supplements for use by
                       chiropractic and alternative health practitioners throughout
                       the United States and Canada. Product brands included
                       Nutridyn® and Sivad Bioresearch®. Responsible for new
                       product development, wrote technical literature, and
                       prepared and delivered scientific educational presentations
                       to practitioners at chiropractic colleges and chiropractic
                       meetings.




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     1976-1977         Pharmacia Laboratories, Piscataway, NJ
                       Clinical Trials Coordinator

                       Assisted veterinarian in analysis of equine blood samples.
                       Performed evaluation analysis of HEALON® products
                       comprising hyaluronic acid, and their effect on tissues.

                       CORPORATE CONSULTING EXPERIENCE

     2011              Matrixx Initiatives, Inc., Princeton, NJ
                       Scientific Affairs Consultant

                       Performed research associated with ZICAM® oral zinc
                       product. Provided guidance for coordinating research trials.
                       Managed human efficacy clinical trials.


     1998-1999         Church & Dwight, Princeton, NJ
                       Scientific Advisor

                       Evaluated consumer healthcare products. Explored and
                       determined market for magnesium based organo-metalic
                       agents for use in dietary supplements.

     1998-1999         IVC Industries, Freehold, NJ

                       IVC is a contract manufacturer of generic vitamins.
                       Responsible for new product development. Assisted the
                       marketing staff with product label claims.

     1996              Nutrition 21, Purchase, NY

                       Company is a supplier to GNC. Performed consulting work
                       regarding their products.

     1996              Nutramerica, Lincoln Park, NJ

                       Technical advisor for the development of a dietary
                       supplement product line.




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     CORPORATE CONSULTING EXPERIENCE (continued)

     1996              American Vitamin, Ramsey, NJ

                       Company is a contract manufacturer. Performed new
                       product development and assistance with evaluation of raw
                       materials from India.


     COLLEGE TEACHING EXPERIENCE

     2013-2018         Touro College, New York City, NY

                       Taught in nursing school.Courses included pathophysiology,
                       genetics, anatomy and physiology and tutored microbiology

     2008-2014         University of Medicine & Dentistry of New Jersey
                       (UMDNJ), Newark, NJ

                       Taught innutrition program. Courses includedgeneral
                       chemistry, anatomy and physiology, biochemistry, and
                       microbiology.

     1977 and          New York University, New York, NY

     2000-2003         Taught in graduate nutrition program, vitamin and mineral
                       metabolism

     2011-2012         Cedar Crest College, Allentown, PA

                       Taught courses in nutritional biochemistry and metabolism.

     1984-1989         University of New Haven, West Haven, CT

                       Taught graduate level course in vitamin and mineral
     nutrition.

     1974-1984         Brooklyn College, CUNY, Brooklyn, NY
                       Assistant Professor

                       Taught nutrition courses to pre-medical and nutrition
                       students.

     1973-1977         Rutgers University, Piscataway, NJ

                       Taught general biology lab and mineral metabolism.



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                          EXHIBIT B
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                MATERIALS REVIEWED FOR REPORT PREPARATION

     1. the complaint filed on February 10, 2021,

     2. Trutek's U.S. Patent No. 8,163,802 ("the '802 Patent"),

     3. a report prepared by Alexei Ermakov on January 11, 2021,

     4. a report prepared by Shane Burns of Electro-Tech Systems ("ETS") on

        January 18, 2021,

     5. copies of the portion of the BlueWillow website (www.bluewillow.com) relating

        to the Nanobio Protect product, which was in existence on January 7, 2021.

     6. information on the Nanobio Protect product packaging,

     7. U.S. Patent Nos. 5,618,840, 5,853,763, 5,951,970, 7,314,624, 8,226,965,

        8,703,164,   9,131,680,   9,144,606,    9,492,525,   9,561,271,   10,206,996,

        10,525,121, and 10,596,251.

     8. U.S. Patent Application Publication No. 2007/0036831 A1.

     9. Schulman, J.H., et.al., "Mechanism of Formation and Structure of Micro

        Emulsions by Elecron Microscopy," J. Phys. Chem. 1959, 63, 10, 1677-1680,

        Publication Date: October 1, 1959.

     10. Peek, L.J., et.al., "Nanotechnology in Vaccine Delivery," Advanced Drug

        Delivery Reviews 60 (2008) 915-928, published February 2008

     11. Rosano, H.I., et.al., "Microemulsions: A commentary on their preparation," J.

        Soc. Cosmet. Chem., 39, 201-209, (May/June 1988).

     12. Martins, S., et.al., "Lipid-based colloidal carriers for peptide and protein

        delivery – liposomes versus lipid nanoparticles," Int'l Jour of Nanomedicine,

        2007:2(4) 595-607.
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     13. Yaghmur, A., et.al., "Phase behavior of microemulsions based on food-grade

        nonionic surfactants: effect of polyols and short-chain alcohols,"
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                          EXHIBIT C
Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2009 Filed 03/28/23 Page 27 of 116
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                                                                                                              US008163 802B2


   c12)   United States Patent                                                          (IO)    Patent No.:                     US 8,163,802 B2
          Wahi                                                                          (45)    Date of Patent:                            Apr. 24, 2012

   (54)   ELECTROSTATICALLY CHARGED                                                 (56)                        References Cited
          MULTI-ACTING NASAL APPLICATION,
          PRODUCT, AND METHOD                                                                           U.S. PATENT DOCUMENTS
                                                                                          1,071,015     A        8/1913     Adler
   (75)   Inventor:     Ashok Wahi, Hillsborough, NJ (US)                                 2,237,954     A        4/1941     Wilson
                                                                                          2,433,565     A       12/1947     Korman
                                                                                          2,751,906     A       10/1953     Irvine
   (73)   Assignee: Trutek Corp., Hillsborough, NJ (US)
                                                                                          2,777,442     A        1/1957     Zelano
                                                                                          3,145,711     A        8/1964     Beber
   ( *)   Notice:       Subject to any disclaimer, the term ofthis                        3,513,839     A        5/1970     Vacante
                        patent is extended or adjusted under 35                           4,030,491     A        6/1977     Mattila
                        U.S.C. 154(b) by 316 days.                                        4,052,983     A       10/1977     Bovender
                                                                                          4,267,831     A        5/1981     Aguilar
                                                                                          4,401,117     A        8/1983     Gershuny
   (21)   Appl. No.: 12/467,271                                                           4,789,504     A       12/1988     Ohmori eta!.
                                                                                          4,874,659     A       10/1989     Ando eta!.
   (22)   Filed:        May 16, 2009                                                      5,468,488     A       11/1995     Wahi
                                                                                          5,674,481     A       10/1997     Wahi
                                                                                          6,844,005     B2       1/2005     Wahi
   (65)                     Prior Publication Data                                    2003/0223934      Al      12/2003     Wahi
          US 2010/0004337 Al               Jan. 7, 2010                             Primary Examiner - Raymond Henley, III
                                                                                    (74) Attorney, Agent, or Firm - Stanley H. Kremen
                    Related U.S. Application Data
                                                                                    (57)                           ABSTRACT
   (60)   Provisional application No. 61/085,855, filed on Aug.
          3, 2008, provisional application No. 61/078,478, filed                    A product to reduce and method of reducing the risk of
          on Jul. 7, 2008.                                                          inhalation of harmful substances by applying a formulation
                                                                                    composition to a substrate or the skin in close proximity of
   (51)   Int. Cl.                                                                  one or more nostrils. This formulation, when applied creates
                                                                                    an electrostatic field having a charge. The electrostatic field
          A61K 31/198                    (2006.01)
                                                                                    attracts airborne particulates of opposite charge to the sub-
          A61K 31/14                     (2006.01)
                                                                                    strate that are in close proximity to the substrate close to the
   (52)   U.S. Cl. ........................................ 514/564; 514/643        skin and a biocidic agent renders microorganisms coming in
   (58)   Field of Classification Search .................. 514/564,                contact the substrate or skin less harmful.
                                                       514/643; 128/206.11
          See application file for complete search history.                                                23 Claims, No Drawings
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                                                          US 8,163,802 B2
                                  1                                                                        2
           ELECTROSTATICALLY CHARGED                                        contaminants to the nasal passages by capturing the contami-
          MULTI-ACTING NASAL APPLICATION,                                   nants and keeping them from entering the body. In the present
               PRODUCT, AND METHOD                                          invention, these electrostatically charged nasal application
                                                                            products capture and hold the contaminants including
              CROSS REFERENCE TO RELATED                               5    viruses, bacteria, and other harmful microorganisms or toxic
                     APPLICATIONS                                           particulates, inactivate them dermally outside the body and
                                                                            render them harmless.
   a) The Present application is the non-provisional counterpart
      of my pending U.S. Provisional Patent Application Ser. No.                     BACKGROUND OF THE INVENTION
      61/085,555 (the '555 application) filed on Aug. 3, 2008          10
      which is incorporated by reference in its entirety herein.               The nasal passages and nasal mucosa serve as body entry
      The Present application claims the benefit of and priority to         points for a wide variety of noxious and toxic substances. The
      said '555 application.                                                body's immune system responds with certain relatively harm-
   b) The Present application is also the non-provisional coun-             less irritants to the nasal passages and airways with reflex
      terpart of my pending U.S. Provisional Patent Application        15
                                                                            responses such as coughing and sneezing. This merely re-
      Ser. No. 61/078,478 (the '478 application) filed on Jul. 7,
                                                                            introduces the irritants into the environment. However, when
      2008 which is incorporated by reference in its entirety
                                                                            the irritant comprises microorganisms, especially those that
      herein. The Present application claims the benefit of and
      priority to said '478 application.                                    reproduce within the body and that are transmitted by cough-
   c) The Present application is likewise related to my prior U.S.     20
                                                                            ing and sneezing, others may become infected. When a per-
      Provisional Patent Application Ser. No. 60/570,103 (the               son feels a cough or a sneeze coming on, he merely covers his
      '103 application) filed on May 12, 2004 (now expired), and            nose and mouth. However, if that person is contagious, this
      which is incorporated by reference in its entirety herein.            action does little to prevent others from also becoming
      The '4 78 application provides a virtually identical disclo-          infected. Furthermore, the use of a tissue or handkerchief for
      sure to the '103 application.                                    25   this purpose is extremely inefficient. This limits the protec-
   d) Furthermore, the Present application is related to my pend-           tion of an individual from becoming infected or infecting
      ing U.S. Provisional Application Ser. No. 61/078,472 filed            others.
      on Jul. 7, 2008, which is incorporated by reference in its               Other means of dealing with preventing inhalation of
      entirety herein.                                                      harmful or irritating substances or of infections agents
   e) The Present application is also related to my prior U.S.         30   include wearing facemasks to filter out these irritants. An
      Provisional Patent Application Ser. No. 60/598,462 filed              example of this is the simple dust mask, typically found in the
      on Aug. 3, 2004 (now expired), and which is incorporated              hardware store or medical supply store. However, even these
      by reference in its entirety herein.                                  are inadequate and inefficient. In many localities, during flu
   f) The Present application is additionally related to my U.S.            season, one can see a large number of people wearing these
      Pat. No. 5,468,488, entitled "ELECTROSTATICALLY                  35   dust masks in public places. The dust masks are now known
      CHARGED NASAL APPLICATION PRODUCT AND                                 to be ineffective. Another example of this preventative
      METHOD" issued on Nov. 21, 1995. This patent is incor-                method is the gas mask, which is more efficient than the dust
      porated by reference in its entirety herein.                          mask. Yet, even gas masks are not highly efficient with respect
   g) The Present application is further related to my U.S. Pat.            to microscopic and sub-microscopic microorganisms. Fur-
      No. 5,674,481, entitled "ELECTROSTATICALLY                       40   thermore, they are extremely cumbersome and cannot gener-
      CHARGED NASAL TOPICAL APPLICATION PROD-                               ally be used during normal day-to-day activities.
      UCT" issued on Oct. 7, 1997. This patent is incorporated                 Patents such as U.S. Pat. No. 6,844,005 describe electro-
      by reference in its entirety herein.                                  statically charged compositions that may be applied exter-
   h) The Present application is moreover related to my U.S. Pat.           nally in the vicinity of the nostril and attract oppositely
      No. 6,844,005 entitled "ELECTROSTATICALLY                        45   charged materials that would otherwise be inhaled. However,
      CHARGED NASAL APPLICATION PRODUCT WITH                                those compositions simply create an electrostatic field that
      INCREASED STRENGTH" issued on Jan. 18, 2005. This                     helps to filter out oppositely charged materials. While this
      patent is incorporated by reference in its entirety herein.           action may offer suitable protection against particles that are
   i) Finally, this application is furthermore related to US Non-           inhaled passively, they suffer from the fact that they cannot
      Provisional Utility patent application Ser. No. 10/082,978       50   completely deal with particulates that have their own internal
      entitled "ELECTROSTATICALLY CHARGED NASAL                             means of overcoming the electrostatic forces, such as micro-
      APPLICATION PRODUCT WITH INCREASED                                    organisms that are motile within the air stream. Furthermore,
      STRENGTH" filed on Feb. 25, 2002. This patent applica-                actions by the person having those electrostatic compositions
      tion is incorporated by reference in its entirety herein.             in the vicinity of the nostrils can sufficiently displace the
                                                                       55   offending particles or organisms, especially in such instances
                  FIELD OF THE INVENTION                                    as blowing or wiping the nose, so that particles that were held
                                                                            captive by the former compositions could become dislodged,
     The Present Invention relates to the field of protective               again set free, and be inhaled.
   compositions against assault by various irritants and noxious
   substances as well as against assault by assorted microorgan-       60                OBJECTS OF THE INVENTION
   isms that typically gain entry into the body through the airway
   and/or nasal mucosa. The Present Invention also relates to                 It is therefore an object of the invention to provide a com-
   anti-viral, anti-bacterial, and anti-microbial products and                    position that can be readily applied to the exterior region
   methods that involve the use of products heretofore devel-                     around the nostril and/or slightly inside the edge of the
   oped for restricting the flow of airborne contaminants into the     65         nostril or near the vicinity of the source of release with
   nasal passages by creating an electrostatic field in an area near              method and compositions capable of capturing particu-
   about the nasal passages. This reduced the inflow of airborne                  lates and microorganisms.
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                                   3                                                                                  4
     It is another object of the invention to have the capability to          tain viral particles and/or bacteria. This is a means of trans-
         hold it for a duration from being dislodged in to the air            mission of several diseases by inhaled airborne particles as
         stream again.                                                        follows:
     It is a further object of the invention to provide a compo-
         sition that can be applied near the vicinity of the source      5
         of release or to the area around the exterior of and/or
                                                                              VIRAL DISEASES                     BACTERIAL DISEASES
         slightly inside the edge of the nostril that will inactivate,        (virus type in brackets)           (bacterial name in brackets)
         kill, or render harmless a microorganism, which has
         been captured and held by the composition.                         Chickenpox (Varicella)              Whooping cough (Bordetella pertussis)
     It is yet another object of the invention to provide a com-         10 Flu (Influenza)                     Meningitis (Neisseria species)
                                                                            Measles (Rubeola)                   Diphtheria ( Corynebacterium
         position that can be applied to a filter substrate for             German measles (Rubella)            diphtheriae)
         improving the substrates ability to trap and hold particu-         Mumps (Mumps)                       Pnewnonia (Mycaplasma pneumoniae,
         lates and microorganisms and to simultaneously inacti-             Smallpox (Variola)                  Streptococcus species)
                                                                            SARS (Human Corona)                 Tuberculosis (Mycobacterium
         vate, kill, or render harmless the microorganisms so
                                                                                                                tuberculosis)
         trapped. Such filter substrate could be placed in the close     15                                     Anthrax (Anthracsis bacterium)
         proximity of the skin near the path of inhalation, near the
         source of release of such particulates while the inhaler is
         at a distance or both.                                                  Diseases caused by environmental particulates include, but
     It is still anotherobject of the invention to provide a method                are not limited to the following:
         of prophylactically preventing or of substantially reduc-       20
         ing the risk of infection by an infectious agent without
         the utilization of ingested antiviral and/or antibacterial
                                                                              ENVIRONMENTAL
         agents.                                                              PARTICULATE DISEASES                    SOURCE
     Yet other objects of the invention will be apparent to those
         of ordinary skill once having benefit of the instant dis-       25 Psittacosis ( Chlamydia psittaci)        Dried, powdery droppings from
                                                                                                                     infected birds (parrots, pigeons, etc.)
         closure. In all of the foregoing objects, the deficiencies           Legionnaire's disease (Legionella      Droplets from air-conditioning
         of the previously mentioned prior art are overcome by                pneumophila)                           systems, water storage tanks, etc.,
         the teachings of this invention.                                                                            where the bacteriwn grows.
                                                                            Acute allergic alveolitis (various       FW1gal or actinomycete spores from
                                                                         30 fungal and actinomycete spores)          decomposing organic matter
               SUMMARY OF THE INVENTION
                                                                                                                     (composts, grain stores, hay, etc.)
                                                                            Aspergillosis (Aspergillus               Fungal spores inhaled from
      These and other objects of the invention are unexpectedly             fumigatus, A.flavus, A. niger)           decomposing organic matter.
   achieved by an electro statically charged composition having              Histoplasmosis (Histoplasma             Spores of the fungus, in old,
                                                                             capsulatum)                             weathered bat or bird droppings.
   at least one polymeric quaternary compound in an aqueous or
                                                                             Coccidioidomycosis ( Coccidioides       Spores in air-blown dust in desert
   non-aqueous based formulation, which when applied to a                35
                                                                            immitis)                                 regions (Central, South and North
   surface, creates an electrostatic field such that oppositely                                                      America) where the fungus grows in
   charged airborne particulates (including microorganisms) in                                                       the soil.
   the vicinity of the surface are electro statically trapped, held
   thereto and one or more of the microorganisms so captured is                  To accomplish the present invention, a formulation having
   neutralized, killed, inactivated, and rendered harmless.              40
                                                                              at least one polyquaternary ammonium compound is pre-
                                                                              pared, such compounds, alone or together capable of creating
       DETAILED DESCRIPTION OF THE INVENTION
                                                                              an electrostatic field on and around a surface to which it is
      The present invention relates to anti-microorganism, anti-              applied, including surfaces such as skin, textile (woven and
   viral/anti-bacterial products and methods that involve the use        45   non-woven), and hard surfaces, such as floors, walls, wood,
   of products that restrict the flow of airborne contaminants into           metal, plastic, etc. The formulation is generally aqueous
   the nasal passages by creating an electrostatic field in an area           based, but may include non-aqueous solvents used which are
   near about the nasal passages. Additionally, in the present                compatible with the other formulation components and the
   invention, these electrostatically charged nasal application               application surface to which it is applied. Preferably, the
   products are used to hold the contaminants including micro-           50   formulation is an aqueous formulation. In addition to the
   organisms, viruses, bacteria, and other harmful or toxic par-              polyquaternary ammonium compound, the composition
   ticulate outside the body and render them harmless.                        includes at least. Furthermore, the composition may contain,
      Emergencies of Anthrax lead to the concept of avoidance                 but is not required to contain various thickeners, gellants,
   of inhaling airborne microscopic and sub-microscopic con-                  fragrances, colorants, emollients, humectants, and generally
   taminants. It is the intention of the Present Invention to filter     55   other suitable components that are compatible with the end
   and render harmless materials such as anthrax spores, human                use application and the other components of the formulations.
   corona virus, smallpox virus, influenza virus, avian flu virus,            Thus, a composition of the invention that is intended to be
   swine flu virus, rhino virus, and other biological or chemical             applied to a filter substrate that is perhaps used as a mask with
   elements/toxins/irritants, and the like, prior to their entering           an additional liner between a user and the filter substrate may
   the nasal passages.                                                   60   utilize materials that would not be compatible with direct
      Airborne microorganisms are a major cause of respiratory                contact with skin, although it is preferable that all of the
   ailments in humans, causing allergies, asthma, and patho-                  components are compatible with direct application to the skin
   genic infections of the respiratory tract. Airborne fungal                 as a means of limiting reaction due to inadvertent contact
   spores are also important agents that spread diseases. Respi-              between the composition and the skin.
   ratory diseases cause many fatalities and are a cause of great        65      A formulation of the invention comprises:
   concern. During a sneeze, millions of tiny droplets of water                  water,
   and mucus are expelled at a high velocity. The droplets con-                  at least one quaternary thickener,
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                                                             US 8,163,802 B2
                                 5                                                                               6
      a preservative,                                                                                 TABLE I-continued
      a conditioner,
      an emulsifier,                                                             Ingredient                     Percent Range      Function
      a biocidic agent, and
      a neutralizing agent added to adjust and achieve a pH in the     5
                                                                                 Stearyl Alcohol                      1%-3%        Thickener
         range of 5.0 to 6.8.                                                    Cetyl Alcohol                  0.25%-1%           Thickener
      It may further comprise without limitation a combination                   Ceteareth - 20,                      1%-2%        Emulsifier
   of the following:                                                             PEG - 40 Stearate,
      a surfactant,
                                                                       10        Cetearyl Alcohol
      a thickener,
                                                                                 Water,                             0.5%-1.5%      Conditioner
      an emollient,
                                                                                 Hydrolyzed Algin
      a humectant, and
                                                                                 Hydrolized Soy Protein         0.25%-1%           Conditioner
      a binder.
      In an exemplary embodiment of such a formulation, a              15
   quaternary thickener may comprise without limitation, at
   least one of the following:
                                                                                                            TABLE2
      Polyquaternium-10
      Polyquaternium-22                                                     Ingredient                    Percent Range Function
      Polyquaternium-67
                                                                       20 Water                             72%-88%      Solvent, Moisturizer
      Polyquaternium-70                                                   Phenoxyethanol                      1%         Preservative
      Polyquaternium-72                                                   Methylparaben,
      Polyquaternium-88                                                   Propylparaben,
      Cocodimonium Hydroxypropyl Hydrolyzed Keratin                       Butylparaben,
                                                                          Ethylparaben,
      Hydroxypropyltrimonium Wheat Protein                             25 Isobutylparaben
      Benzalkonium Chloride may also serve the same function,             Lysine HCL                           1%        Conditioner, Biocide
   but it is also a cationic agent as well as a biocide. Another          Polyquatemium - 67                 3%-6%       Conditioner, Quaternary
   biocide that may be used is Lysine HCL.                                Nonoxynol - 10                     2%-4%       Surfactant
                                                                          Cocodimoniwn                     0.5%-2%       Conditioner, Quaternary
      In an exemplary embodiment of such a formulation, an                Hydroxypropyl
   emulsifier may comprise without limitation, at least one of the     30 Hydrolyzed Keratin
   following:                                                             Polyquatemium - 72               0.5%-2%       Conditioner, Quaternary
      Cetyl Alcohol (which can also serve as a thickener)                 Polyquatemium - 88                 1%-4%       Conditioner, Quaternary
                                                                          Cetearyl Alcohol,                  1%-4%       Emulsifier
      Cetearyl Alcohol                                                    Glyceryl Stearate
      Glyceryl Stearate                                                     Emulsifier,
      Ceteareth-20                                                     35
                                                                          PEG - 40 Stearate,
      PEG-40 Stearate                                                     Ceteareth - 20
                                                                          Cetearyl Alcohol,                  0.5%        Emulsifier
      Dicetyl Phosphate                                                   Dicetyl Phosphate,
      Ceteth-10 Phosphate                                                 Ceteth - 10 Phosphate
      In an exemplary embodiment of such a formulation, the               Benzalkonium Chloride           0.25%-1%       Cationic, Quaternary, Biocide
   emollient may be Isocetyl Behenate without limitation. The             Hydroxypropyltrimonium              1%         Conditioner, Quaternary
                                                                       40 Wheat Protein
   thickener may be Cetyl Alcohol or Stearyl Alcohol without              Sodium Hydroxide                0.01 %-0.05% Neutralizing Agent
   limitation.
      In an exemplary embodiment of such a formulation, a
   preservative may comprise without limitation, at least one of
   the following:                                                                                           TABLE3
                                                                       45
      Phenoxyethanol;
                                                                            Ingredient                    Percent Range Function
      Methylparaben;
      Butylparaben;                                                       Water                             67%-87%      Solvent, Moisturizer
      Ethylparaben;                                                       Phenoxyethanol,                     1%         Preservative
                                                                          Methylparaben,
      Propy lparaben;                                                  50 Propylparaben,
      Isobutylparaben.                                                    Butylparaben,
      Examples of typical formulations found to be effective              Ethylparaben,
   appear in the ten tables that follow. Percentages are given by         Isobutylparaben
                                                                          Lysine HCL                           1%        Conditioner,   Biocide
   weight.                                                                Polyquaternium - 67                3%-7%       Conditioner,   Quaternary
                                                                       55 Polyquaternium - 72                3%-7%       Conditioner,   Quaternary
                             TABLE 1                                        Cocodimoniwn                     1%-4%       Conditioner,   Quaternary
                                                                          Hydroxypropyl
       Ingredient               Percent Range   FW1ction                  Hydrolized Keratin
                                                                          Polyquaternium - 88                1%-4%       Conditioner, Quaternary
       Water                      62%-80%       Solvent, Moisturizer      Cetyl Alcohol                    1.5%-2.5%     Thickener
       Gluconolactone,                1%        Preservative              Cetearyl Alcohol,                  1%-4%       Emulsifier
                                                                       60
       Sodiwn Benzoate                                                    Glyceryl PEG - 40
       Lysine HCL                     1%        Conditioner                 Stearate,
       Polyquatemium - 67            3%-6%      Conditioner               Ceteareth - 20
       Octoxynol - 9                 2%-5%      Surfactant                Benzalkonium Chloride           0.25%-1 %      Cationic, Quaternary, Biocide
       Polyquatemium - 72           6%-10%      Conditioner               Hydroxypropyltrimonium               1%        Conditioner, Quaternary
       Polyquatemium - 70         0.5%-1%       Conditioner               Wheat Protein
       Dipropylene Glycol                                              65 Sodium Hydroxide                .025%-.075% Neutralizing Agent
       Isocetyl Behenate             4%-6%      Emollient
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                                   7                                                                                8
                              TABLE4                                                                       TABLE 6-continued
   Ingredient               Percent Range Function                                Ingredient                  Percent Range     Function

   Water                     71%-83%         Solvent, Moisturizer                 Cetearyl Alcohol,              1%-3%          Emulsifier
   Phenoxyethanol,             1%            Preservative                    5    Glyceryl Stearate,
   Methylparaben,                                                                 PEG - 40 Stearate,
   Propylparaben,                                                                 Ceteareth - 20
   Butylparaben,                                                                  Benzalkonium Chloride       0.25%-1%          Conditioner, Quaternary,
   Ethylparaben,                                                                                                                Biocide
   Isobutylparaben
                                                                                Hydroxypropyltrimonium             1%           Conditioner, Quaternary
   Lysine HCL                    1%          Conditioner,   Biocide          10 Wheat Protein
   Polyquatemium - 67         4%-6%          Conditioner,   Quaternary
                                                                                Sodium Hydroxide              0.05%-0.75%       Neutralizing Agent
   Polyquatemium - 72         4%-6%          Conditioner,   Quaternary
   Cocodimonium               2%-4%          Conditioner,   Quaternary
   Hydroxypropyl
   Hydrolyzed Keratin
   Polyquatemum - 88           1%-3%         Conditioner, Quaternary
                                                                             15                                TABLE 7
   Cetyl Alcohol                2%           Thickener
   Cetearyl Alcohol,           1%-3.5%       Emulsifier                           Ingredient                    Percent Range     Function
   Glyceryl Stearate,
   PEG - 40 Stearate,                                                           Water                             67%-86%         Solvent, Moisturizer
                                                                                Phenoxyethanol,                      1%           Preservative
   Ceteareth - 20
                                                                                Methylparaben,
   Benzalkonium Chloride    0.25%-1%         Cationic, Quaternary, Biocide   20 Butylparaben,
   Hydroxypropyltrimonium        1%          Conditioner, Quaternary
                                                                                Ethylparaben,
   Wheat Protein                                                                Isobutylparaben
   Sodium Hydroxide         .025%-.075% Neutralizing Agent                      Lysine HCL                          1%            Conditioner,   Biocide
                                                                                Polyquatemium - 10                 1%-4%          Conditioner,   Quaternary
                                                                                Polyquatemium - 67                 1%-4%          Conditioner,   Quaternary
                                                                             25 Polyquatemium - 72               0.5%-1.5%        Conditioner,   Quaternary
                              TABLES                                            Cocodimoniwn                     0.5%-1.5%        Conditioner,   Quaternary
                                                                                Hydroxypropyl Hydrolized
   Ingredient               Percent Range Function                                Keratin
                                                                                Microcare Quat CTC 30              1%-3%          Conditioner, Quaternary
   Water                     73%-85%         Solvent, Moisturizer               Polyquaternium - 88                1%-3%          Conditioner, Quaternary
   Phenoxyethanol,               1%          Preservative                    30 Polyquaternium - 22                1%-3%          Conditioner, Quaternary
   Methylparaben,                                                               Cetyl Alcohol                      3%-5%          Thickener
   Propylparaben,                                                               Cetearyl Alcohol,                  2%-3%          Emulsifier
   Butylparaben,                                                                Glyceryl Stearate,
   Ethylparaben,                                                                PEG - 40 Stearate,
   Isobutylparaben                                                              Ceteareth - 20
   Lysine HCL                   1%           Conditioner,   Biocide             Benzalkonium Chloride           0.25%-1%          Conditioner, Quaternary,
                                                                             35
   Polyquatemium - 67         2%-3%          Conditioner,   Quaternary                                                            Biocide
   Polyquatemium - 72         4%-6%          Conditioner,   Quaternary            Hydroxypropyltrimonium             1%           Conditioner, Quaternary
   Cocodimonium               2%-4%          Conditioner,   Quaternary            Wheat Protein
   Hydroxypropyl                                                                  Sodium Hydroxide              0.05%-0.1%        Neutralizing Agent
   Hydrolyzed Keratin
   Polyquatemium - 88          1%-3%         Conditioner, Quaternary
   Cetyl Alcohol                2%           Thickener                       40
   Cetearyl Alcohol,           1%-3%         Emulsifier                                                        TABLES
   Glyceryl Stearate,
   PEG - 40 Stearate,
                                                                                  Ingredient                  Percent Range     Function
   Ceteareth - 20
   Benzalkonium Chloride    0.25%-1%         Cationic, Quaternary, Biocide      Water                           58%-74%         Solvent, Moisturizer
   Hydroxypropyltrimonium        1%          Conditioner, Quaternary         45 Phenoxyethanol,                    1%           Preservative
   Wheat Protein                                                                Methylparaben,
   Sodium Hydroxide         0.05%-0.75% Neutralizing Agent                      Propylparaben,
                                                                                Butylparaben,
                                                                                Ethylparaben,
                                                                                Isobutylparaben
                              TABLE6                                         50 Lysine HCL                         1%           Conditioner, Biocide
                                                                                Glycerin                          10%           Humectant
   Ingredient                Percent Range     Function                         Glyceryl Acetate/Acrylic           1%           Conditioner, Humectant
                                                                                Acid Copolymer
   Water                       69%-85%         Solvent, Moisturizer             Polyquaternium - 10              1%-4%          Conditioner,   Quaternary
   Phenoxyethanol,                1%           Preservative                     Polyquaternium - 67              1%-3%          Conditioner,   Quaternary
   Methylparaben,                                                            55 Polyquaternium - 72            0.5%-1.5%        Conditioner,   Quaternary
   Propylparaben,                                                                 Cocodimoniwn                 0.5%-1.5%        Conditioner,   Quaternary
   Butylparaben,                                                                Hydroxypropyl
   Ethylparaben,                                                                Hydrolyzed Keratin
   Isobutylparaben,                                                             Cetrimonium Chloride             1%-3%          Conditioner, Quaternary
   Lysine HCL                     1%           Conditioner,   Biocide           Polyquaternium - 88              1%-3%          Conditioner, Quaternary
   Polyquatemium - 10        0.25%-0.85%       Conditioner,   Quaternary        Polyquaternium - 22              1%-3%          Conditioner, Quaternary
                                                                             60
   Polyquatemium - 67         1.5%-3.5%        Conditioner,   Quaternary        Cetyl Alcohol                     4%            Thickener
   Polyquatemium - 72           4%-6%          Conditioner,   Quaternary        Cetearyl Alcohol,                2%-3%          Emulsifier
   Cetyl Alcohol                1%-3%          Thickener                        Glyceryl Stearate,
   Cocodimonium                 2%-4%          Conditioner, Quaternary          PEG - 40 Stearate,
   Hydroxypropyl                                                                Ceteareth - 20
   Hydrolyzed Keratin                                                           Polybutene                        4%            Binder
   Polyquatemium - 88           1%-3%          Conditioner, Quaternary       65 Benzalkonium Chloride         0.25%-1%          Conditioner, Quaternary,
   Polyquatemium - 22           1%-3%          Conditioner, Quaternary                                                          Biocide
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                                                                    US 8,163,802 B2
                                       9                                                                          10
                              TABLE 8-continued                                                        TABLE 10-continued

   Ingredient                    Percent Range   Function                         Ingredient                Percent Range   Function

   Hydroxypropyltrimonium             1%         Conditioner, Quaternary          Wheat Protein
                                                                             5    Sodium Hydroxide          0.05%-0.1 %     Neutralizing Agent
   Wheat Protein
   Sodium Hydroxide             .0.05%-0.1 %     Neutralizing Agent
                                                                                     All of the formulations described in TABLE 1-10 repre-
                                                                                  senting various embodiments of the Present Invention operate
                                  TABLE9                                          in the manner that was disclosed herein. The same results may
                                                                             10
                                                                                  be achieved by varying the percentages for the active and
   Ingredient                    Percent Range   Function                         inactive ingredients. Varying the percentages for the active
                                                                                  ingredients affects the potency of the formulation. Varying
   Water                           54%-73%       Solvent, Moisturizer
   Phenoxyethanol,                   1%          Preservative                     the percentages for the inactive ingredients affects the con-
   Methylparaben,                                                            15   sistency of the formulation. The desired results may be
   Propylparaben,                                                                 achieved by varying the ingredients and their amounts by
   Butylparaben,                                                                  those skilled in the art without undue experimentation.
   Ethylparaben,
   Isobutylparaben                                                                   I claim:
   Lysine HCL                         1%         Conditioner, Biocide
                                                                                     1. A method for electrostatically inhibiting harmful par-
   Glycerin                           8%         Humectant
   Glyceryl Acetate/Acrylic           1%         Conditioner, Humectant      20   ticulate matter from infecting an individual through nasal
   Acid Copolymer                                                                 inhalation wherein a formulation is applied to skin or tissue of
   Polyquaternium - 10              1%-4%        Conditioner,   Quaternary        nasal passages of the individual in a thin film, said method
   Polyquaternium - 67              1%-4%        Conditioner,   Quaternary
   Polyquaternium - 72            0.5%-2%        Conditioner,   Quaternary
                                                                                  comprising:
   Cocodimonium                   0.5%-2%        Conditioner,   Quaternary           a) electro statically attracting the particulate matter to the
   Hydroxypropyl                                                             25         thin film;
   Hydrolyzed Keratin                                                                b) holding the particulate matter in place by adjusting the
   Cetrimonium Chloride             1%-3%        Conditioner, Quaternary
   Polyquaternium - 88              1%-3%        Conditioner, Quaternary
                                                                                        adhesion of the thin film to permit said thin film to stick
   Polyquaternium - 22              1%-3%        Conditioner, Quaternary                to the skin or tissue and by adjusting the cohesion of the
   Cetyl Alcohol                     4%          Thickener                              formulation to provide adequate impermeability to the
   Cetearyl Alcohol,                2%-3%        Emulsifier                  30         thin film; and,
   Glyceryl Stearate,
   PEG - 40 Stearate,
                                                                                     c) inactivating the particulate matter by adding at least one
   Ceteareth - 20                                                                       ingredient that would render said particulate matter
   Polybutene                       3%-4%        Binder                                 harmless.
   Benzalkonium Chloride         0.25%-1 %       Conditioner, Quaternary,            2. A formulation for electrostatically inhibiting harmful
                                                 Biocide
   Hydroxypropyltrimonium             1%         Conditioner, Quaternary
                                                                             35   particulate matter from infecting an individual through nasal
   Wheat Protein                                                                  inhalation wherein the formulation is applied to skin or tissue
   Sodium Hydroxide              0.05%-0.1 %     Neutralizing Agent               of nasal passages of the individual in a thin film, said formu-
                                                                                  lation comprising at least one cationic agent and at least one
                                                                                  biocidic agent, and wherein said formulation, once applied:
                                                                             40      a) electro statically attracts the particulate matter to the thin
                                  TABLE 10
                                                                                        film;
   Ingredient                    Percent Range   Function                            b) holds the particulate matter in place by adjusting the
                                                                                        adhesion of the thin film to permit said thin film to stick
   Water                           52%-71 %      Solvent, Moisturizer
   Phenoxyethanol,                    1%         Preservative
                                                                                        to the skin or tissue and by adjusting the cohesion of the
   Methylparaben,                                                            45         formulation to provide adequate impermeability to the
   Propylparaben,                                                                       thin film; and,
   Butylparaben,                                                                     c) inactivates the particulate matter and renders said par-
   Ethylparaben,
   Isobutylparaben
                                                                                        ticulate matter harmless.
   Lysine HCL                         1%         Conditioner, Biocide                3. The formulation of claim 2 wherein the at least one
   Glycerin                           9%         Humectant                   50   cationic agent is a polymeric quaternary ammonium com-
   Glyceryl Acetate/Acrylic           1%         Conditioner, Humectant           pound.
   Acid Copolymer
   Polyquaternium - 10
                                                                                     4. The formulation of claim 3 wherein the at least one
                                    1%-3.5%      Conditioner,   Quaternary
   Polyquaternium - 67              1%-3%        Conditioner,   Quaternary        polymeric quaternary ammonium compound is taken from
   Polyquaternium - 72            0.5%-2%        Conditioner,   Quaternary        the group consisting of:
   Cocodimonium                   0.5%-2%        Conditioner,   Quaternary   55      Polyquaternium-10,
   Hydroxypropyl
   Hydrolyzed Keratin
                                                                                     Polyquaternium-22,
   Cetrimonium Chloride             1%-3%        Conditioner, Quaternary             Polyquaternium-67,
   Polyquaternium - 88              1%-3%        Conditioner, Quaternary             Polyquaternium-70,
   Polyquaternium - 22              1%-3%        Conditioner, Quaternary             Polyquaternium-72, and
   Cetyl Alcohol                     4%          Thickener
   Cetearyl Alcohol,                1%-4%        Emulsifier
                                                                             60      Polyquaternium-88.
   Glyceryl Stearate,                                                                5. The formulation of claim 2 wherein the at least one
   PEG - 40 Stearate,                                                             cationic agent is Cocodimonium Hydroxypropyl Hydrolyzed
   Ceteareth - 20                                                                 Keratin or Hydroxypropyltrimonium Wheat Protein.
   Polybutene                       5%-6%        Binder
                                                                                     6. The formulation of claim 2 wherein the at least one
   Benzalkonium Chloride         0.25%-1 %       Conditioner, Quaternary,
                                                 Biocide                     65   cationic agent is Benzalkonium Chloride.
   Hydroxypropyltrimonium             1%         Conditioner, Quaternary             7. The formulation of claim 2 wherein the at least one
                                                                                  biocidic agent is Benzalkonium Chloride or Lysine HCL.
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                                                         US 8,163,802 B2
                                 11                                                                     12
     8. A formulation for electrostatically inhibiting harmful                17. The formulation of claim 13 further comprising an
   particulate matter from infecting an individual through nasal           emollient.
   inhalation wherein the formulation is applied to skin or tissue            18. The formulation of claim 13 further comprising a
   of nasal passages of the individual in a thin film, said formu-         humectant.
   lation comprising:                                                         19. The formulation of claim 13 further comprising a
      a) at least one biocidic agent, and                                  binder.
      b) at least one quaternary thickener.                                   20. The formulation of claim 13 wherein the preservative is
      9. The formulation of claim 8 wherein the at least one               taken from the group consisting of:
   biocidic agent is Benzalkonium Chloride or Lysine HCL.                     Phenoxyethanol,
                                                                      10      Methylparaben,
      10. The formulation of claim 8 wherein the at least one
                                                                              Butylparaben,
   quaternary thickener is taken from the group consisting of:
                                                                              Ethylparaben, and
      Polyquaternium-10,
                                                                              Isobutylparaben.
      Polyquaternium-22,                                                      21. The formulation of claim 13 wherein the emulsifier is
      Polyquaternium-67,                                              15   taken from the group consisting of:
      Polyquaternium-70,                                                      Cetyl Alcohol,
      Polyquaternium-72, and                                                  Cetearyl Alcohol,
      Polyquaternium-88.                                                      Glyceryl Stearate,
      11. The formulation of claim 8 wherein the at least one                 Ceteareth-20,
   cationic agent is Cocodimonium Hydroxypropyl Hydrolyzed            20      PEG-40 Stearate,
   Keratin or Hydroxypropyltrimonium Wheat Protein.                           Dicetyl Phosphate,
      12. The formulation of claim 8 wherein the at least one                 Ceteth-10 Phosphate.
   cationic agent is Benzalkonium Chloride.                                   22. The formulation of claim 16 wherein the thickener is
      13. The formulation of claim 8 further comprising:                   Cetyl Alcohol or Stearyl Alcohol.
      a) water,                                                       25      23. The formulation of claim 13 wherein:
      b) a preservative,                                                      a) the amount of water ranges from 54% to 90% by weight
      c) a conditioner, and                                                   b) the amount of the quaternary thickener ranges from
      d) an emulsifier.                                                          0.5% to 5.0% by weight,
      14. The formulation of claim 13 further comprising a neu-               c) the amount ofbiocidic agent ranges from 0.25% to 2%
   tralizing agent added to adjust a pH in the range of 5.0 to 6.8.   30         by weight,
      15. The formulation of claim 13 further comprising a sur-               d) the amount of emulsifier ranges from 0.5% to 4% by
   factant.                                                                      weight.
      16. The formulation of claim 13 further comprising a thick-
   ener.                                                                                         * * * * *
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                          EXHIBIT D
BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
            Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2017 Filed 03/28/23 Page 35 of 116




                                                                                                       Bringing Nanoscience to Life


                                                                      Company            NanoBio® Protect   NanoVax® Platform   News




        NanoBio® Protect Nasal Antiseptic Solution




        NanoBio® Protect is an alcohol-free nasal
        antiseptic solution that can be used to
        help reduce germs on skin that can cause
        infections. The product is easy to apply
        with any cotton swab for use on the skin
        around the rim of your nose as well as the
        skin up to one-half inch inside each nostril.
        It is non-irritating, fragrance-free and
        leaves no residue after application.

        NanoBio® Protect is an FDA regulated
        over-the-counter skin antiseptic that
        incorporates the active ingredient
        benzalkonium chloride (BZK), which has
        been used in humans as a topical skin
        antiseptic since the 1940’s. NanoBio®
        Protect is similar in concept to a hand sanitizer but is designed for use on the skin inside and around the
        nose where germs frequently enter the body.



https://bluewillow.com/nanobio-protect/[2/7/2021 4:40:49 PM]
BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
           Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2018 Filed 03/28/23 Page 36 of 116
        The unique effectiveness of NanoBio® Protectis derived from BlueWillow’s patented nanotechnology.
        NanoBio® Protect places the BZK antiseptic on the surface of nano-droplets, which results in at least four key
        advantages:

            1. The nano-droplets are attracted to germs by electro-kinetic charge and present the BZK in such a way
                to enable killing of germs on contact,
            2. The droplets persist on skin for 4 or more hours, enabling long-lasting effectiveness,
            3. The droplets significantly hydrate skin to avoid dryness and cracking that can allow germs in.
            4. And lastly, when bound to nano-droplets, BZK is non-irritating to the skin.

        NanoBio® Protect kills
        germs via membrane
        disruption. NanoBio®
        Protect is comprised of
        positively charged
        droplets that are 300–
        600nm in size. The
        droplets are attracted
        to negatively charged
        germs in the skin. As
        shown to the right, the
        nano-droplets
        physically disrupt the outer membrane of germs, killing on contact.

        NanoBio® Protect is applied by thoroughly swabbing the skin up to one-half inch inside of each nostril and is
        recommended for use to help reduce germs on the skin in and around the nose that can cause infections. It
        should be used in conjunction with frequent handwashing, limited touching of the face, and social
        distancing to help minimize infection. Each 0.75 oz bottle of NanoBio® Protect will provide 40 or more
        treatments. A single application should involve the use of two swabs, including one for each nostril, or the
        use of a double-sided swab.

        The product can be applied to the skin every 4–8 hours as needed, and is recommended for use during
        periods of increased risk of exposure to germs. For example, a healthcare worker might apply NanoBio®
        Protect two or more times a day. A flight attendant might apply the product 1–2 times during a long flight.
        Whereas, someone that is mostly staying at home in isolation may only need to apply it once a day or every
        few days prior to heading to the store or to an appointment.

        Scientific Research Behind NanoBio® Protect
        BlueWillow’s
        nasal
        antiseptic


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BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
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        has not
        been
        clinically
        tested to
        confirm
        protection
        against
        COVID-19
        infection in
        humans. It
        has




        demonstrated both anti-bacterial and anti-viral activity in laboratory tests making it a potentially important
        additive measure to reduce the risk of infection

        Standard in vitro lab experiments demonstrate that NanoBio® Protect kills more than 99.99% of germs within
        60 seconds of exposure, as shown in the graph to the right.

        Recent studies conducted by Public Health England also demonstrate NanoBio® Protect’s ability to kill
        COVID-19 virus in laboratory tests. However, as stated above, studies to test for protection in humans have
        not yet been performed.

        In addition, ex vivo tests in human skin (Figure A below) demonstrate that NanoBio® Protect persists on skin
        up to 7x better than commercial products and aqueous solutions containing the same BZK antiseptic agent.
        In vivo studies conducted in human volunteers (Figure B below) demonstrate that a single application of
        NanoBio® Protect significantly increases skin hydration for at least 3 hours, as compared to common hand
        sanitizer products:




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        Safety
        NanoBio® Protect and similar NanoBio® formulations have been tested extensively in animal and human
        studies involving topical application to skin. These studies demonstrate that topical NanoBio® products are
        non-irritating and are not absorbed systemically. The products are alcohol-free and are comprised of
        nanodroplets that have been optimized to provide significant advantages when used as topical antiseptic
        products, without being absorbed through the skin and into the bloodstream.

        NanoBio® Protect’s active ingredient is 0.13% benzalkonium chloride, which is regulated by the FDA as a skin
        antiseptic and has been used in humans for over 75 years. Unlike alcohol-based products, NanoBio® Protect
        does not irritate or dry out the skin, and instead provides a moisturizing and comforting experience. The
        product should be applied with any cotton swab to the skin around the nose and up to one-half inch inside
        of each nostril where germs frequently enter the body.

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BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
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        Peer-Reviewed Scientific Publications
        Other scientific publications describe the extensive research conducted with topical NanoBio formulations,
        as listed below:

            “A Nanoemulsion as an Effective Treatment Against Human Pathogenic Fungi”. Therapeutics and Prevention.
            2019, Nov/Dec 4:6
            “Screening of Nanoemulsion Formulations and Identification of NB-201 as an Effective Topical Antimicrobial
            for Staphylococcus aureus in a Mouse Model of Infected Wounds”. Military Medicine. 2016, May: 181, 5S:259-
            264
            “Nanoemulsion Therapy for Burn Wounds Is Effective as a Topical Antimicrobial Against Gram-Negative and
            Gram-Positive Bacteria”. Burn Care Res. 2016, March /April: 37(2); 104-114
            “Treatment With a Novel Topical Nanoemulsion (NB-001) Speeds Time to Healing of Recurrent Cold Sores”.
            Drugs Dermatol. 2012 Aug; 11(8):970-7
            “In Vitro Antibacterial Activity of NB-003 against Propionibacterium acnes”. Antimicrobial Agents And
            Chemotherapy, Sept. 2011,Vol. 55, No. 9, p. 4211–4217
            “Topical Nanoemulsion Therapy Reduces Bacterial Wound Infection And Inflammation After Burn Injury”.
            Surgery. 2010
            “NB-002, A Novel Nanoemulsion With Broad Antifungal Activity Against Dermatophytes, Other Filamentous
            Fungi, And Candida Albicans”. Antimicrobial Agents And Chemotherapy, Aug. 2009, Vol. 53, No. 8, p. 3273–
            3279
            “In Vitro Activities of a Novel Nanoemulsion against Burkholderia and Other Multidrug-Resistant Cystic
            Fibrosis-Associated Bacterial Species”. Antimicrobial Agents And Chemotherapy, Jan. 2009, Vol. 53, No. 1, p.
            249–255
            “The Fungicidal Activity Of Novel Nanoemulsion (X8W60PC) Against Clinically Important Yeast And
            Filamentous Fungi”. Mycopathologia 155: 195–201, 2001
            “A Novel Surfactant Nanoemulsion With A Unique Non-Irritant Topical Antimicrobial Activity Against
            Bacteria, Enveloped Viruses And Fungi”. Microbiol. Res. (200I) 156, I-7
            “Inactivation Of Ebola Virus With A Surfactant Nanoemulsion”. Acta Tropica 87 (2003) 315/320
            “Antimicrobial Mechanism Of Action Of Surfactant Lipid Preparations In Enteric Gram-Negative Bacilli”.
            Journal of Applied Microbiology 2000, 89, 397-403
            “Prevention of Murine Influenza A Virus Pneumonitis by Surfactant Nano-emulsions”. Antiviral Chemistry &
            Chemotherapy, 2000, 11:41-49
            “A Novel Surfactant Nanoemulsion with Broad-Spectrum Sporicidal Activity Against Bacillus Species”. The
            Journal of Infectious Diseases, 1999, 180:1939–49




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BlueWillow Biologics NanoBio® Protect Nasal Antiseptic Solution – BlueWillow Biologics
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        BlueWillow Biologics
        2311 Green Road | Ann Arbor, Michigan 48105
        Telephone: 734-302-4000 | Fax: 734-302-9150

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        by Nelson Creations.




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                          EXHIBIT E
Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2024 Filed 03/28/23 Page 42 of 116
Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2025 Filed 03/28/23 Page 43 of 116
Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2026 Filed 03/28/23 Page 44 of 116
Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2027 Filed 03/28/23 Page 45 of 116




                                 EXHIBIT 4
Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2028 Filed 03/28/23 Page 46 of 116




                 IN THE UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF MICHIGAN

                             SOUTHERN DIVISION




              TRUTEK CORP.,
                 Plaintiff,
                                           CIVIL ACTION No. 2:21-cv-10312-
                        v.                 SJM-RSW
          BlueWillow Biologics, Inc.
         ROBIN ROE 1 through 10,
       gender neutral fictitious names,
        and ABC CORPORATION 1
        through 10 (fictitious names).
                 Defendants.




       PLAINTIFF'S EXPERT REPORT OF EDWARD A. LEMMO, Ph.D.
          RESPONSIVE TO AND IN REBUTTAL OF DEFENDANT'S
           OPENING EXPERT REPORT OF MANSOOR M. AMIJI
Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2029 Filed 03/28/23 Page 47 of 116




       RESPONSIVE EXPERT REPORT OF EDWARD A. LEMMO, Ph.D.

                                        INTRODUCTION

               I have been engaged by Trutek Corp. as a technical expert in the legal

       matter      of   Trutek Corp. ('Trutek")        v.   BlueWillow Biologics, Inc.

       ("BlueWillow") currently being litigated in federal court in the Eastern

       District ofMichigan.

                 By means of discovery, BlueW'illow submified an expert report by

       Mansoor M. Amiji, Ph.D. setting forth his opinions that claims       1,2,6, andT

       of Trutek's U.S. Patent No. 8,163,802 (*the '802 Patent") are invalid. I read

       and understood Dr. Amiji's report as well as the exhibits that he submiued

       with the report. Further, I am familiar with the teachings and claims of the

       '802 Patent.

                 In light of Dr. Amiji's report, Trutek's lead counsel, Stanley H.
       Kremen, E.q., asked me to opine on four topics that are related to the      Amlji

       report:

          1. The level of skill required by a person having ordinary skill in the art

                 ("PHOSITA") related to the claims of the'802 Patent.

          2.     The scientific and technical aspects of the "hold" function recited in

                 Elements (b)   i" claims I   and 2 of the '802 Patent and why the "hold"

                 function is critical to the patented invention.

          3. Enablemeat of the disclosure contained in U.S. Patent Application

                 Publication No. 2004/0A71757 A1 by David Rolf.
                                        Daca 1 ^f12
Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2030 Filed 03/28/23 Page 48 of 116




       RESPONSIVE EXPERT REPORT OF EDWARD A. LEMMO, Ph.D.

          4. Relevance    of the commercial success of             Trutek's products to

             nonobviousness of the claims of the'802 Patent.

             I am opining on each of the above four topics as a rebuttal to Dr.
       Amiji's report and the opinions expressed therein.

             Regarding my qualifications, I received my B.S. in chemistry lln1973,

       my M.S. in nutrition science in 1977, and my Ph.D. in nutrition science in

        1979. Beginning in 1984 and continuing until 2007,I was responsible for

       development, strategic planning, and marketing activities related to over-the-

       counter nutritional and supplemental products for major producers         in the

       field.   Since 2007,    I   have been an independent consumer healthcare

       corporate consultant.   I   have had extensive experience related to products

       somewhat similar   in   scope and application to products manufactured by

       Trutek based on the '802 Patent.     I   am very familiar with products of this

       type. My resume is attached to this report    as an   exhibit.

             My opinions regarding the four assigned topics follow.

        L.   A Person Saving Ordinary, SkiU In The Art

             A person having ordinary skill in the art ("PHOSITA") is essentially a

       fictitious individual considered to have a general or working knowledge of

       the subject matter in question. The operative word in this context is

       "ordinary." This is a person who does not possess special or distinctive

       knowledge or capability in a discipline. This person would have a basic skill
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       set or talent related to the technology related to the       art. In addition,   a


       PHOSITA knows of and understands all the prior art in his field of endeavor

       prior to the time that he is asked to evaluate the teachings of a patent. He

       must have sufficient experience           in his art so as to be competent to
       understand and interpret the prior art related to a patent so that he can make

       and use the invention described and claimed in the patent.        A PHOSITA is

       primarily a technician in his chosen field, and his skills are those ordinarily

       associated with such a technician. He is not an inventor. However, he is not

       a robot either. He must be able to understand and interpret the teachings

       associated with the type    of sfuctures and chemical compositions described

       in a document such as a patent. That document may possess directives for

       creating   a product including the step by step protocol for making              or

       assembling the product.          In   some instances, a PHOSITA may apply his

       fundamental skills in a procedure to follow instructions provided by a person

       possessing extraordinary    skill. That exfraordinarily skilled   person may be a

       person having an advanced degree in a specific discipline who can educate

       others in that specific skill.

              Having been a college professor for more than 30 years, I have taught

       numerous students on basic scientific concepts who were either majors in the

       discipline or students who were non-majors who wanted to gain a working

       general knowledge or      skill.      The students who majored in the discipline
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       would be expected to reach a level of exkaordinary      skill.   Those who were

       non-majors were not expected         to develop extraordinary skill but were
       expected to have a working knowledge of the subject matter. Hopefully, the

       example provided takes the imaginary        or fictitious persoo to a real life

       individual who has a working knowledge of a subject matter and can

       understand and interpret the subject matter.

               It is important to determine the level of skill of a person who would be

       considered a PHOSITA with regard to the '802 Patent.         It is essential that

       this person cannot be a person having extraordinary skill in the         art. A
       PHOSITA would not have the same knowledge or motivation to invent as           a


       person having exftaordinary skill.

               ln Paragraph 68 on Page 28 of his report, Dr. Amiji opined on the

       level of skill, experience, and education of a PHOSITA. He stated that such

       an individual should have "at least an M.S. degree in chemical engineering,

       phannaceutical sciences, or a related field (or the equivalenQ with several

       years   of   experience   with pharmaceutical fonnulation. Also, a person of

       ordinary skill in the art may have worked as part        of a multidisciplinary

       team- including     a chemical engineer, microbiologist or polymer    chemist-

       and drawn upon not only his or her own skills, but also taken advantage       of

       certain specialized skills     of others on the team, e.g., to solve a glven
       problem."
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       RESPONSIVE EXPERT REPORT OF EDWARD A, LEMIIilO, Ph.D.

               Having read and understood the teachings           of the '802 Patent, I
       concluded that Dr.   Amiji described a person of extraordinary skill in the art

       and technology of that patent. The level of skill possessed by a PHOSITA is

       that of a chemical or pharmaceutical formulator. This person would have

       fwo related but separate qualifications. First, after reading the '802 Patent,

       he should be able to create the formulations described in the patent, and then

       be able to use the formulations as prescribed. Second the PHOSITA must

       be positioned in time just prior to effective frling date of the '802 Patent.

       Based on this second requirement, the PHOSITA could not have read the

       '802 Patent   itself.   Based on his knowledge and experience, this person

       would be familiar with all the ingredients listed in the ten formulations

       shown    in the '802 Patent. He would have the skill and experience to

       duplicate those formulations once having seen their list of ingredients. He

       must know enough chemisfiy and biology to be familiar with cationic agents

       and biocidic agents. He must have knowledge              of the various   airborne

       "harmful particles," such   as   bacteria, viruses, pollen, and other allergens. He

       must know enough undergraduate physics to understand electrostatic fields

       as   well as the principles of eleckostatic attraction and repulsion, adhesion,

       and cohesion. To that end, he needs to know               of   ingredients that are

       surfactants, thickeners, and binders.



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           Based on my knowledge and experience,         it is my opinion   that this

     PHOSITA need not possess an advanced degree. Further, he does not even

     need to possess an undergraduate degree. He must be a technician with

     several yeirs   of   experience as a formulator. The key requirement      is his

     acquired experience necessary to create a wide variety of fornulations from

     the class of ingredients disclosed in the'802 Patent.

     2.    The I'Hold'r Functiqn Described and Claimed in the f802 Satent

           The 802 patent expresses the term 'ohold" in the claim statements

     related to the multi-action mechanism of the invention. While the product

     atkacts particulate matter from the airflow before entering the nasal

     passageway utilizing electrostatic forces, this alone is insufficient to protect

     the individual from harrnful particulate matter entering the body's respiratory

     system. Holding is a protective concept based on adhesive and cohesive

     properties. Adhesion of the formulation can be viewed in trvo ways: first

     adhesion to the skia of the individual applying the formulation in and around

     the nasal passageway; and second, adhesion of the particles in the airflow to

     the formulation itself. Cohesion provides a tackiness that incoryorates the

     concept   of adhesion. Adhesion     concerns the forces bonding dissimilar

     molecules together. Cohesion concerns the forces bonding similar

     molecules together. Adhesion coasiders particles of opposite charge, and

     cohesion goes beyond this concept to include particles of like charge. This
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       sets up a barrier   of imperrneability trapping a significant number of these

       particles outside the nasal pilssageway.   If   the formulation is applied to the

       skin or tissue inside a person's nostrils, the holding function prevents these

       particles from either being inhaled into the respiratory system             or from

       contacting the skin or tissue directly. Therefore, holding is a critical aspect

       of the patent claims since the power of the electrostatic forces to atfract

       airborne particles must be enhanced using the principles           of   adhesion and

       cohesion. This interaction of the formulation with foreign particles found in

       the air, by electrostatically attracting and capturing them and then holding

       them in place, sets up the opportunity for the formulation's ingredients to

       inactivate them prior to enty into the respiratory system. The forrnulation

       contains a cationic agent    to attract bioactive particles such as bacteria,

       viruses and other biologically hamful particulates found in the          air. It   also

       contains a biocidic agent that acts    to destroy or neutralae tbe captured

       bioactive particles.

             Essentially, the mechanism      of the forrnulation to carry out the
       protection it claims to afford the user would be incomplete if the formulation

       did not have the adhesive ahd cohesive properties required to hold the

       particles   in place. Attraction by electrostatic    forees   is   enhanced   by   the

       holding properties of adhesion and cohesion, and the holding properties set


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       up the formulation's biocidic ingredients to inactivate and kill bioactive

       particles that are held in place by the formulation.

             Most harmful airborne particles have a negative electrostatic charge.

       The formulation is applied to the skin or tissue of the nasal cavities as a thin

       filrn. The presence of a cationic   agent in the formulation produces a positive

       electrostatic charge, which attracts and captures the negatively charged

       particles. A biocide in the formulation would ordinarily be expected to

       inactivate and   kill the captured bioactive particles. But, to be effective,
       biocidic action requires contact with bioactive particles for a certain time

       period. If the captured particles happen to dislodge from the formulation's

       thin fikn, they would remain active and be inhaled. Even          if they were in
       contact with the biocide for a sufficient time to be inactivate4 the dislodged

       inactivated particles would still be able to be inhaled. Thus the "hold"

       function is critical to usefulness of the invention.

             An analogy would be a mouse trap. If the trap merely atffacts               a

       mouse which mounts the trap to eat the cheese, unless the trap can hold and

       bind the mouse to the trap, the trap would be useless.     If   the formulation   of

       the '802 Patent merely has a cationic       qq*t to    attraet airbome bioactive

       particles and a biocidic agent to inactivate and kill the particles, it would be

       useless unless   it   can hold the particles in place long enough to inactivate


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       them and to prevent them from entering the respiratory system. The hold

       function is a critical part of the claimed invention.

       3.    The Rolf,Pate+t Application

             The Rolf patent application discusses the use of essential oils applied

       to an adhesive patch placed in the vicinity of the nose to act as a biocidic

       agent against respiratory pathogens. Historically, essential oils have been

       used for centuries. Their use in modem times relates to aromatherapy. The

       literafure includes references for their use      in a variety of     conditions.

       Essential oils are useful   in a variety of applications related to   cosmetics,

       natural products, and household products. They are produced by distillation

       from plant-based sources.

             Rolf discusses the role of essential oils acting against bacteria      and

       viruses. The most commonly used essential oils with antimicrobial action

       are: B-caryophyflene, eugenol, eugenol acetate, carvacrol, linalool, thymol,

       geraniol, geranyl acetate, bicyclogermacrene, cinnamaldehyde, geranial,

       neral, l,8-cineole, methyl chavicol, methyl cinnamate, methyl eugenol,

       camphor, cr-thujone, viridiflorol, limonene, (Z)-ltnalool oxide, cr*pinene, p-

       cymene, (E)-caryophyllene, y'telpinene.

              Some essential oils are effective antimicrobials and have been

       evaluatsd for food incorporation in     vitro. Howevet, actual deployment      is

       rare because much higher concenfiations are required in real foods. Some or
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       all of this lower effectiveness is due to large differences between culture

       medium and foods in: chemistry (especially lipid content), viscosity, and

       duration of inoculatior/storage.

             The limitations associated with the use of essential oils relate to the

       amount or concsntration of the     oil.   Reports in the literature suggest essential

       oils have skin irritating properties when applied, and others suggest more

       severe toxicity profiles, putting the user at risk       for more serious medical

       problems.

             While the patent application suggests a mechanism of biocidic action

       by using these essential oils applied to a patch and placed in the vicinity of

       the nose, thers is no reference to how this invention atfiacts and holds the

       biologic pathogen before entering the respiratory system. Consider the fact

       that essential oils are used       in the production of        perfirmes, room air

       fresheners,   ffid in the nafural products indusay      as aromatherapy products.

       All of these would    be of a similar' function in acting to destroy pathogens

       found in the air.

             The biocidic action is concentration dependent and specific to the type

       of essential oil used. The claims in the Rolf patent application for the use of

       essential oils as a biocidic agent are not related to the '802 Patent because

       there is no discussion of electrostatic forces attracting airborre particles, the

       ability of the fonnulation to hold the airborne particles using adhesion and
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       cohesion concepts,     or inactivation of the particles         using biocidic

       components.

             Furthermore, the patch would not functioil as described by     Rolf. As I

       mentioned in the last section, to be effective, biocidic action requires contact

       with bioactive particles for a certain minimurn time period. If the particles

       are not held   in place by the patch, they would continue to float around,

       remain active, and be inhaled. The only adhesive property of Rolfs patch is

       its ability to adhere to the skin in the region just below the nose. The side   of

       the patch facing the airborne particles has no adhesive properties. The     Rolf

       invention will not work for its intended purpose.

       4.    Commercial Success

             I understand that commercial      success   of a patented product tends to

       show that the patented claims are not obvious provided that the commercial

       sucaess is due solely to the patented   claims. Since the time the'802 patent

       was issued tn ?A12, approximately seven million units of the product based

       on this patent, have been sold in the United Sates and internationally. This

       clearly is a measure sf csmmercial success. When evaluating commercial

       success, a key factor is repeat sales   of a product and the length of time the

       product remains on the market. Having been involved                  in   product

       development    for OTC products and as a             member    of the business
       development team for a major pharmaceutical company OTC division, I had
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       the opportunity to evaluate technologies and products that the company was

       interested   in licensing &om an inventor. Also, as a product development

       scientist,   I   know the challenges and difficulties to create a unique and

       effective product. Patent protection offers additional support for a product

       to be considered as a success. Since the Trutek products have patent

       protection and have been marketed successfully for ten years, this product

       line stands tall among products in this category. The product has a domestic

       and iotemational presence which demonstrates that     it has been reviewed for

       human use without prescription for the claimed properties established in the

       patent. When marketing in foreign countries, usually the ministry of health

       of these countries reviews the merits of the product claims before it      gets

       approval for marketing the product to the population.

              The commercial success of this product stands on the sales number

       and the lack of adverse events reported by the user. The'802 Patent claims a

       product that electrostatically inhibits harmful airbonoe particles from

       infecting an individual. The particles might be microbes, pollen, allergens,

       or mites that float in the air and are usually inhaled. This product effectively

       prevents that from happening by creating a positive electrostatic charge that

       attracts the particles and holds the particles   in place until a biocide can

       inactivate them and render them harrrless. Trutek does             little or   no

       advertising. The products are either sold online or in retail outlets. The
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       patent number of the '802 Patent is clearly marked for every unit sold in the

       United States. Based on what the'802 Patent claims and what the products

       actually do,   I   conclude that the commercial success of the products is due

       solely to the performance and features of the claimed invention of the '802

       Patent.




       Dated: August 23,2A22


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                               Edward A. Lemmo, Ph.D.
                                     60 Gilroy Street
                             Staten Island, New York 10309
                                     (917) 837-1470
                              Email: edlemmo@gmail.com


     EDUCATION

     Ph.D. Nutrition Science, Rutgers University, New Brunswick, NJ (1979)
     M.S. Nutrition Science, Rutgers University, New Brunswick, NJ (1977)
     B.S. Chemistry, St. Francis College, Brooklyn, NY (1973)


     EXECUTIVE TRAINING COURSES

     Executive Leadership Program, Princeton, NJ
     Time Management Skills, Teaneck, NJ
     Media Communication Skills, New York City, NY


     EMPLOYMENT EXPERIENCE

     2007-Present       Consumer Healthcare Corporate Consultant
                        Self-employed Consultant - Consumer Healthcare

     2005-2007          BioBalance Corporation, New York, NY
                        Vice President, Product Development

                        Person primarily responsible for investigating its probiotic
                        product PROBACTRIX™ to be used for treating pouchitis
                        and other gastrointestinal disorders. Probiotic products are
                        an optional alternative to the probiotic Lactobacillus
                        acidophilus. In charge of all scientific product evaluation
                        conducted at company headquarters.

     1999-2005          Wyeth Consumer Healthcare, Leonia and Madison, NJ
                        Vice President, Product Development

                        Division of American Home Products
                        Formerly Whitehall-Robbins Consumer Healthcare

                        Managed product development for SOLGAR®, and
                        contributed towards CENTRUM®, and CALTRATE®, brands.
                        Responsible role in scientific affairs and new business
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                       development opportunities.         Further, responsible    for
                       evaluation of acquisition of new business entities.

     1992-1999         General Nutrition Centers, Inc., Pittsburg, PA
                       Director, Nutritional Sciences

                       Analyzed safety of amino acid products for presentation to
                       the FDA and FTC and other U.S. government agencies.
                       Evaluated and made recommendations regarding nutritional
                       and homeopathic products. Performed quality assurance
                       activities related to label claims and product safety.
                       Responsible for introduction of the new PRO-
                       PERFORMANCE sports nutrition product line into the GNC
                       retail marketplace.

                       In 1993, for Quigley Corporation, I evaluated the safety and
                       efficacy of Cold-EEZE® zinc lozenges to be used to shorten
                       a common cold as a possible line of homeopathic products
                       exclusively marketed by GNC.

     1989-1992         Pall Biomedical Products, Glen Cove, NY
                       Marketing Manager

                       Responsible for marketing activities of Intravenous filtration
                       devices, and Heat and Moisture exchange respiratory
                       products. Wrote all scientific evaluation documents related
                       to Heat and Moisture Exchange respiratory product for
                       presentation to anesthesiologists regarding prevention of
                       injury from patients breathing cold dry gas during surgery.
                       Developed scientific presentations, videos, and product
                       marketing material for use by healthcare professionals.

     1984-1989         ICN Pharmaceuticals, Costa Mesa, CA
                       Director of Nutritional Technology

                       Faraday Laboratories Division

                       Product development of nutritional supplements for use by
                       chiropractic and alternative health practitioners throughout
                       the United States and Canada. Product brands included
                       Nutridyn® and Sivad Bioresearch®. Responsible for new
                       product development, wrote technical literature, and
                       prepared and delivered scientific educational presentations
                       to practitioners at chiropractic colleges and chiropractic
                       meetings.




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     1976-1977         Pharmacia Laboratories, Piscataway, NJ
                       Clinical Trials Coordinator

                       Assisted veterinarian in analysis of equine blood samples.
                       Performed evaluation analysis of HEALON® products
                       comprising hyaluronic acid, and their effect on tissues.

                       CORPORATE CONSULTING EXPERIENCE

     2011              Matrixx Initiatives, Inc., Princeton, NJ
                       Scientific Affairs Consultant

                       Performed research associated with ZICAM® oral zinc
                       product. Provided guidance for coordinating research trials.
                       Managed human efficacy clinical trials.


     1998-1999         Church & Dwight, Princeton, NJ
                       Scientific Advisor

                       Evaluated consumer healthcare products. Explored and
                       determined market for magnesium based organo-metalic
                       agents for use in dietary supplements.

     1998-1999         IVC Industries, Freehold, NJ

                       IVC is a contract manufacturer of generic vitamins.
                       Responsible for new product development. Assisted the
                       marketing staff with product label claims.

     1996              Nutrition 21, Purchase, NY

                       Company is a supplier to GNC. Performed consulting work
                       regarding their products.

     1996              Nutramerica, Lincoln Park, NJ

                       Technical advisor for the development of a dietary
                       supplement product line.




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     CORPORATE CONSULTING EXPERIENCE (continued)

     1996              American Vitamin, Ramsey, NJ

                       Company is a contract manufacturer. Performed new
                       product development and assistance with evaluation of raw
                       materials from India.


     COLLEGE TEACHING EXPERIENCE

     2013-2018         Touro College, New York City, NY

                       Taught in nursing school.Courses included pathophysiology,
                       genetics, anatomy and physiology and tutored microbiology

     2008-2014         University of Medicine & Dentistry of New Jersey
                       (UMDNJ), Newark, NJ

                       Taught innutrition program. Courses includedgeneral
                       chemistry, anatomy and physiology, biochemistry, and
                       microbiology.

     1977 and          New York University, New York, NY

     2000-2003         Taught in graduate nutrition program, vitamin and mineral
                       metabolism

     2011-2012         Cedar Crest College, Allentown, PA

                       Taught courses in nutritional biochemistry and metabolism.

     1984-1989         University of New Haven, West Haven, CT

                       Taught graduate level course in vitamin and mineral
     nutrition.

     1974-1984         Brooklyn College, CUNY, Brooklyn, NY
                       Assistant Professor

                       Taught nutrition courses to pre-medical and nutrition
                       students.

     1973-1977         Rutgers University, Piscataway, NJ

                       Taught general biology lab and mineral metabolism.



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                      IN THE UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF MICHIGAN

                                 SOUTHERN DIVISION



               TRUTEK CORP.,
                  Plaintiff,
                                             CIVIL ACTION No. 2:21-cv-10312-SJM-RSW
                        v.
          BlueWillow Biologics, Inc.
       ROBIN ROE 1 through 10, gender
       neutral fictitious names, and ABC
        CORPORATION 1 through 10
                (fictitious names).
                  Defendants.




                             CERTIFICATE OF SERVICE

           Undersigned hereby states that on August 15, 2022, the attorneys for

     Plaintiff caused the foregoing document to be served upon all counsel of

     record, via electronic service.
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                                 EXHIBIT 5
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                             IN THE UNITED STATES DISTRICT COURT

                                 EASTERN DISTRICT OF MICHIGAN

                                      SOUTHERN DIVISION




               TRUTEK CORP.,
                    Plaintift,
                                               CIVIL ACTION No. 2:21 -cv-1031 2€JM-RSW
                        v-

           BlueWillow Biologias, lnc.
       ROBIN ROE 1 through 10, gender
        neutralficrtitious names, and ABC
      CORPORATION 1 through 10 (fictitious
                        names).

                  Defendants.




                              REPORT OF EDWAED A. LEMMO, Ph.D.
          tN REPLY TO DEFENDANT'S EXqERT REPORT ON NON-INFRINGEII4ENT
Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2049 Filed 03/28/23 Page 67 of 116




            My name is Edward Lemmo. I was engaged by counsel for Plaintiff, Trutek Corp.

     ("Trutek") as an expert witness in the above captioned matter where Trutek alleges that

     Defendant BlueWillow Biologics, lnc. ("BlueWillow") infringed on claims 1, 2, 6, and 7 of

     its U.S. Patent No. 8,163,802 ("the '802 Patent") by making and selling a product
     labeled Nanobio Protect.

           On June 27,2022,1 submitted a document entitled, "Plaintiffs Opening Technical

     Report," in which I provided the following findings and conclusions:

     1.    BlueWillow's Nanobio Protect product is sold in the form of        a   liquid that is

           administered into a user's nasal passages.

     2.    The claims of Trutek's '802 Patent recite a method for nasally administering       a

           formulation and for the formulation itself. The formulation of Trutek's '802 Patent

           is administered in and around a user's nasal passages.

     3.     BlueWillow's Nanobio Protect product exhibits an electrostatic charge, and once

           applied, creates an electrostatic field that extends from the skin or tissue of the

            useds nasal passages.

     4.    The formulation of Trutek's '802 Patent claims exhibits an electrostatic charge.

           Once applied, the formulation creates an electrostatic field in the vicinity of the

            user's nasal passages.

     5.     BlueWillow's Nanobio Protect product forms       a thin film in the user's    nasal

            passages. The thin film adheres to the skin or tissue of the user's nasal
            passages.




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     6.    Trutek's '802 Patent claims that its formulation forms a thin film in and around the

           usefs nasal passages. The thin film adheres to the skin or tissue of the user's

           nasal passages.

     7.    The formulation of BlueWllo#s Nanobio Protect product contains at least one

           cationic   agent. A    cationic agent creates     a   positive electrostatic charge.

           According to BlueWillo#s published literature and the Nanobio Protect product

           packaging, the formulation contains benzalkonium          chloride.   Benzalkonium

           chloride is a known cationic agent.

           The formulation of BlueWillow's Nanobio Protect product contains at least one

           biocidic agent or biocide. A biocide is a substance that destroys or inhibits the

           growth or activity of living organisms. According        to   BlueWillow's published

           literature and the Nanobio Protect product packaging, the fonnulation contains

           benzalkonium chloride. Benzalkonium chloride is a known biocidic agent.

     9.    The Nanobio Proteet product comprises nano-droplets that electrostatically
           attract and hold 'germs" (r.e-, harmful particleS). The nano-droplets further

           contain benzalkonium chloride (a known biocide) which renders the "germs"

           harmless.

     10.   Claims 1 and      2 of the '802 Patent recite a   formulation that electrostatically

           attracts and holds harmful particles and renders them hannless.

     11.   The Nanobio Protect product reads upon the'802 Patent's method claim 1 when

           it is administered nasally because its formulation forms a thin film that it     (1)

           adheres to the skin or tissue of the user's nasal passages; (2) electrostatically




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           attracts harmful particulate matter; (3) holds the harmful particulate matter; and

           (4) inactivates the harmful particulate matter and renders it harmless.

     12.   The Nanobio Protect product reads upon claim 2 of the '802 Patent's formulation

           because it (1) is intended to be applied to the skin ortissue of the user's nasal

           passages; (2) forms a thin film that adheres to the skin or tissue of the user's

           nasal passages; (3) comprises at least one cationic agent; (4) comprises at least

           one biocidic agent; (5) electrostatically attracts harmful particulate matter; (6)

           holds the harmful particulate matter; and (7) inactivates the harmful particulate

           matter, and renders it harmless.

     13.   The Nanobio Protect product reads upon claim 6 of the '802 Patent because it

           contains benzalkonium chloride, which is a cationic agent.

     14.   The Nanobio Protect product reads upon claim 7 of the '802 Patent because it

           contains benzalkonium chloride, which is a biocidic agent.



           The remainder of my report provides the bases for my opinions expressed

     therein. Other than my restatement of my findings and conclusions (above), I shall not

     restate my opinions.

           On August 15, 2022, defense expert, Mansoor M. Amiji, Ph.D. submitted            a

     document entitled, "Responsive Expert Report of Mansoor M. Amiji, Ph.D. on Non-

     lnfringement." ln that document, Dr. Amiji criticized my findings and conclusions, and

     asserted that the Nanobio Protect product does not infringe the claims of the '802

     Patent.




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           The purpose of my present submission is to rebut statements made by Dr. Amiji

    in his responsive expert report. Among the various comments made by Dr. Amiji
    regarding non-infringement of the NanoBio Protect product on the'802 Patent, Dr. Amiji

    states,   "l have also considered the information provided in the Lemmo report          dated

    June 27,2022, the Ermakov report dated January 11,2A21, and the Burns report dated

    January 18, 2021, in addition to the other information and references described and

    discussed herein."

           The gist of Dr. Amiji's criticism focuses on the validity of the works by Ermakov

    and Burns conducted separately in 2A21. One of the key features of the '802 Patent

    claim 1 is the electrostatic attraction of particles from the air. This is a key feature of the

    patent that is expressed in daim 1, since it is the principal mechanism or method by

    which the technology can be applied to         a   product such as the Trutek/NasalGuard

    producl

           The puryose of the 2O21 Ermakov study was to detennine the magnitude
    (amount) of the surface electrostatic charge created by means of application of solution,

    serum, and spray containing permanently ionized molecules. For each of the three

    nasal test products, a plain sheet of identical printer paper was used as a substrate.

    Each of these samples was prepared by coating the test product on            a f -inch square

    substrate by a product under     test. Three samples for each item/product were tested
    identically, an average calculated and recorded. The surface charge was calculated

    using the following formula: Q=V"C/A, where Q is charge per unit area, V is measured

    voltage on the sensing electrode, C is capacitance, and A is the area of the sample

    under the sensing electrode.



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          The validity of the Ermakov test protocol was questioned by Dr. Amiji. ln the

    study conducted by Dr. Ermakov, a Coulombmeter was used as the tool for measuring

    the electrostatic charge of the material. A Coulombmeter was used in combination with

    a Faraday cup (or a metal probe) for making charge measurements of a material. A
    Nanocoulombmeter     is a   Coulombmeter that     is capable of   measuring electrostatic

    charge down to the accuracy of a fraction of a nanocoulomb. This is a standard method

    of conducting this type of experiment. Electrostatic charge on an object can          be

    measured by placing it inside a Faraday Cup. The charge is transfened to the cup and

    displayed on the meter's display. The Faraday Cup of the Coulombmeter has an outer,

    grounded metal shield that sunounds an inner electrode. The inner electrode, which is

    electrically isolated from the shield, is connected to a meter to measure the charge.

    The coulombmeter allows this electrostatic buildup to be easily measured simply by

    applying the instrument's probe to its lead. The Faraday cup is a metal (conductive) cup

    designed to catch charged particles in vacuum. The resulting curent can be measured

    and used to determine the number of ions or electrons hitting the cup.

          Dr. Ermakov findings indicate that 1) The test products i.e., Blank, NasalGuard

    Airborne Particle Blocker Gel, NasalGuard Misting Spray, and NanoBio Protect

    Solution, all demonstrated the presFnce of a surface electrostatic charqe; and 2)

    the surface electrostatic charse measured !,yas determined to be approximatelv
    (in order of masnitudel similar in all three product samples tested'

          ln 2021, Bums conducted a study to measure the surface electrostatic charge of

    nasal application products. The test equipment used in this trial was the ETS model

    230 Nanocoulomb meter with a Faraday cup. The Model 230 measures electrical


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    charge directly, displaying the result in nanocoulombs. The evaluation of triboelectric

    charge generation is performed by measuring the amount of charge developed on a

    material. When used with a suitable Faraday cup, the charge on a wide range of

    material types and sizes        can be measured accurately by the Model                230

    Nanocoulombmeter. The Model 230 meets the requirements for charge measurement

    as specified in applicable ESDA, ASTM, ElA, DOD, as well as many other industry

    standards. The Model 230 is a complete instrument for measuring charge directly          in

    nanocoulombs. This instrument may be used with a Faraday cup or pail, or a detector

    probe. lt can also be used alone to measure the charge on capacitors or               from

    capacitive discharge systems (with adequate protection).

           The results of the Burns study demonstrated the presence of              a   surface

    electrostatic charge of similar order   of magnitude between the Nasal Guard Spray
    product of Trutek and the Blue Willow NanoBio Protect Solution. Both studies

    independently reached the same conclusions.

           Another comment made by Dr. Amiji            in his report   questioned the work of

     Ermakov and Burns measuring conductivity and not electrostatic charge. Dr. Amiji

    states, "[a]s an initial matter, both of the Ermakov and Burns tests measure the

    conductivity of the test formulations, not surface electrostatic charge."

           The Encyclopedia of Separation Science is the most comprehensive resource

     available on the theory, techniques, and applications of separation science. The work

     presents information on three levels. The Encyclopedia of Separation Science is the

    first truly comprehensive work covering the whole of separation theory, methods, and

     techniques.



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           Salama, A.l.A., in the Encyclopedia of Separation Science, 2000 is the author of

    Mechanical Techniques: Particle Size Separation. Salama claims electrostatic charge

    represents an excess or deficiency of electrons on the particle surface. This charge

    may be assumed to reside on the particle surface in an absorbed gas or moisture film.

    The electrostatic charge generated on a particle is proportional to the particle surface

    area. This is the principle used in the design of electrostatic classifiers and
    precipitators. Furthermore, the presence of electrostatic charge on particle surfaces

    controls the behavior of particles in an electrostatic field.

                         CHARGE DENSITY MEASUREMENT THEORY

           Electrostatic field strength   is a direct measure of electrostatic charge.          The

    electrostatic field strength of the samples was too small to measure directly. lnstead, an

    ETS (Model 860) Wide Range Resistance lndicator was used to measure the resistivity

    of the card surfaces (both with and without the product coatings) in ohms per square,

    which is a unit for sheet resistance. lt is a measure of the resistivity between parallel

    edges of a thin film resistive material. The film conductivity is the reciprocal of the

    resistivity. Electrical conducUvity is the measure of a material's ability to conduct an

    electric current. When an electrical potential difference is placed across a conductor,

    the movable charges flow, giving rise to an electric curent. The conductivity               o   is

    defined as the ratio of the current density J to the electric field strength   E   Therefore,

    the electrostatic field strength is expressed as: J = oE.

           Therefore, the electrostatic field strength is expressed as E = J/o. Now, E      q   1/o.

     (i.e. the electrostatic field E is inversely proportional to the conductivity   o).   Greater

     conductivity means lower electrostatic field        strength. The charge density           and



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    electrostatic field strength are directly proportional to one another. Therefore, the

    charge density and the electrical conductivity are inversely proportional to one another.

              Conductivity of a nanoemulsion is usually measured to determine the stability of

    the nanoemulsion over time. ln 2011, Bernardi et.al., published a paper regarding the

    formation and stability of oil-in-water nanoemulsions containing rice bran oil: in vitro and

    in vivo   assessments. A copy of the paper is attached to this report as Exhibit    1.


              Dr. Amiji questioned the validity of using in vitro skin models. ln his report, Dr.

    Amiji stated, "[i]n addition, neither of the Ermakov or Burns tests were conducted under

    circumstances that would mimic real life use of NanoBio Protect@        in   individuals. Both

    experiments were performed at room temperature, which is significantly lower than body

    temperature. Similarly, testing the surface charge     of NanoBio    Protect@ as applied on

    paper and/or a piece of dried pig skin is not indicative or predictive of how the product

    will operate on human nasal skin or tissue. ln this regard, I disagree with Dr. Lemmo's

    assertion that the "use of pig skin is more predictive than paper regarding how the

    product would behave on human skin," particularly in view of how Mr. Burns conducted

    the experiment."

              ln a review paper by Abd et al., the review discusses the alternative skin models

    that have been developed as surrogates for normal and diseased skin and examines

    the concepts of using model systems for in vitro-in vivo correlation and                   the

    demonstration of bioequivalence.        A copy of the paper is attached to this report     as

     Exhibit 2.




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                     UNDERSTANDING OF A PERSON OF ORDINARY SKILL

           Dr. Amiji and I disagree on the level of education and experience of a person of

    ordinary   skill. I will not re-argue my opinion in this matter.     However in my forty-six

    years experience supervising pharmaceutical formulations,       I have never encountered
    one with that level of education combined with experience. Typically, many of them

    have Bachelor's degrees or certifications. People with Dr. Amiji's qualifications would

    be perfonning developmental science and would have higher executive positions within

    a corporation.

           Dr. Amiji expresses a number of opinions regarding the role of a person of

    ordinary skill in the matter of inftingement. For example, in Paragraph 32, Dr. Amiji

    opines:

           [gn my opinion, a person of ordinary skill in the art reviewing the Ermakov
           and Bums testing would not understand the fesf resu/fs fo esfablish that
            NanoBia Protect@ safisfes the claim limitations and/ar infringes the
           asserfed claims of the '8A2 Patent.

    And, in Paragraph 52, he states:

              Even if a person of skill in the art were to accept the results of the
           Ermakov and Bums testing as demonstrating that NanoBio Protect@
           exhibrts an electrostatic charge when "applied to the skin or fi'ssue of nasal
           passages" of an individuat (a point which I dispute for the reasons
           explained above), the Ermakov and Bums testing does nof demonstrate
           that the purported electrostatic charge operates to "inhibrt[] harmful
           particulate matter from infecting an individual" or "electrostatically attracts
           the particulate matter to the thin ft\m..

           As I understand it, the comprehension of test results or even of the              claim

    language of the '802 Patent by a person of ordinary skill is not relevant to the issue of

    infringement. An activity of the Defendant or a product produced by the Defendant

    either infringes or it doesn't. That is an objective determination   - not a subjective one.


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                       ADMISSIONS MADE DIRECTLY BY BLUEWLLOW

           The tests performed first by Ashok Wahi and then independently by Ermakov and

     Burns provided evidence to bolster Trutek's position that BlueWillow, via its Nanobio

     Protect product infringes the claims of the '802 Patent. ln his critique of the opinions of

     Ermakov, Burns, and myselt Dr. Am'rji's comments seek to deny, inter alia, that the

     Nanobio Protect product exhibits an electrostatic charge when applied to the skin or

     tissue of the nasal passages, or that there is an electrostatic attraction of the product's

     nano-particles   to germs (r.e., harmful     particulate matter),   or that the germs are
     inactivated by the benzalkonium chloride biocide contiained           in the   nanoemulsion

     droplets. However, in doing so, he ignores the statements of admission made by
     BlueWillow itself on its website and its product packaging-

            Dr.   Amiji makes comments       regarding the statements made by BlueWillow

     regarding their NanoBio Protect product.        ln my opinion, the admissions made by
     BlueWillow confirm infringement of the claims of the '802 Patent independent of the

     confirming   tests. Samples of the BlueWillow website are attached as exhibits to my
     opening report. This follorving link provides admissions made by Blue Willow on the

     product:      https://www.prnewswire.com/news-releases/bluewillow-bioloqics-launches-

     nanobio-protect-nasal-antiseotic-solution-301148517.html.     A copy of the webpage      is

     attached as Exhibit   3.   A waming letter sent to BIueWllow by the Food and           Drug

     Administration ("FDA') attests to the claims made by BlueWillow. A copy of this FDA

     generated letter is attached as Exhibit 4.




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           Nanobio Protect is produced as        a   nanoemulsion with nano-droplets that are

     positively charged. The nanoemulsion contains benzalkonium chloride, which is both a

     cationic agent and a biocidic agent. Exhibit D of my opening report states:

           .    The Nanodroplets optimize the ability of the antiseptic to kill germs.

           .    The droplets sit on skin after application, enabling protection for up to   I
                  hours (in lab testing).

           .    Dry skin allows germs ta penetrate. Nanodroplets hydrate the skin,

                preventing dryness and cracking.

            .   When bound to the oil-based Nanodroplets, the antiseptic does not

                irritate the skin.

            It is   well-known that most harmful particles (including microorganisms) are

     negatively charged. lt is basic physics that there would electrostatic attraction between

     the nano-droplets and the harmful particles. Once applied to the skin or tissue of the

     individual's nasal passages, the nano-droplets remain active in the nose for up to 8

     hours. The Nanobio Protect product adheres to the nasal tissue in a tin film. lf this
     were not so, the liquid would immediately drip        out. The nanoemulsion becomes
     impermeable, not allowing "germs to penetrate." The "germs" become in contact with

     the benzalkonium chloride biocide and are held there long enough to be deactivated

     and rendered harmless. ln my opinion, considering the written admissions of the
     properties    of the Nanobio Protect product as well as the tests performed in             the

     laboratory to confirm those claims, the Nanobio Protect product reads on claims 1, 2, 6,

     and 7 of the '802 Patent.




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     Dated:   September 29. 202?




          Edward A. Lemmo, Ph.




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                      EXHIBIT 1
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 http://www.jnanobiotechnology.com/content/9/1/44




  RESEARCH                                                                                                                                       Open Access

 Formation and stability of oil-in-water
 nanoemulsions containing rice bran oil:
 in vitro and in vivo assessments
 Daniela S Bernardi1*, Tatiana A Pereira1, Naira R Maciel1, Josiane Bortoloto1,2, Gisely S Viera1, Gustavo C Oliveira1
 and Pedro A Rocha-Filho1


   Abstract
   Background: Nanoemulsions have practical application in a multitude of commercial areas, such as the chemical,
   pharmaceutical and cosmetic industries. Cosmetic industries use rice bran oil in sunscreen formulations, anti ageing
   products and in treatments for skin diseases. The aim of this study was to create rice bran oil nanoemulsions using
   low energy emulsification methods and to evaluate their physical stability, irritation potential and moisturising
   activity on volunteers with normal and diseased skin types.
   Results: The nanoemulsion developed by this phase diagram method was composed of 10% rice bran oil, 10%
   surfactants sorbitan oleate/PEG-30 castor oil, 0.05% antioxidant and 0.50% preservatives formulated in distilled
   water. The nanoemulsion was stable over the time course of this study. In vitro assays showed that this formulation
   has a low irritation potential, and when applied to human skin during in vivo studies, the nanoemulsion improved
   the skin’s moisture and maintained normal skin pH values.
   Conclusion: The results of irritation potential studies and in vivo assessments indicate that this nanoemulsion has
   potential to be a useful tool to treat skin diseases, such as atopic dermatitis and psoriasis.


 Background                                                                                       dr 3 n   Dc∞ γ M
                                                                                           ω=            =k 2                                                            (1)
 Nanoemulsions are obtained when the size of an emulsion                                           dt       ρ RT
 globule reaches approximately 20-500 nm. The small dro-                                 Where ω is defined as the rate of change of the cube of
 plet size can resist the physical destabilisation caused by                          the number average radius, D is the diffusion coefficient
 gravitational separation, flocculation and/or coalescence. It                        of the dispersed oil phase in the aqueous phase, g is the
 also avoids the creaming process because the droplet’s                               interfacial tension between the two phases, c∞ is the bulk
 Brownian motion is enough to overcome the gravitational                              solubility of the oil in the water and r is the oil density. k
 separation force [1,2]. The size and polydispersity of                               is a constant that has the value of 8/9 in the LSW.
 nanoemulsions can affect properties such as particle stabi-                             Nanoemulsions are well characterised and are a promis-
 lity, rheology, appearance, colour, texture and shelf life [3].                      ing drug delivery system with practical applications for
 In nanoemulsions, the most frequent instability phenom-                              pharmaceutical, cosmetic and chemical industry applica-
 enon is Ostwald ripening [4,5], which can be calculated                              tions. They have been used in intravenous, oral and ocular
 according to the Lifshitz-Slezov and Wagner theory                                   drug administrations and have reduced drug side effects
 (LSW) using the following equation [6,7]:                                            and improved the pharmacological effects of the drugs
                                                                                      given [8-10,4]. Nanoemulsions are primarily produced
                                                                                      either by high-energy emulsification (e.g., high-pressure
                                                                                      homogenisation) or by low-energy emulsification (using
 * Correspondence: danibernardi81@yahoo.com.br                                        physicochemical properties of the components) [11]. This
 1
  Departamento de Ciências Farmacêuticas, Faculdade de Ciências
 Farmacêuticas de Ribeirão Preto, Universidade de São Paulo, Ribeirão Preto,
                                                                                      work focuses on the latter method for nanoemulsion
 São Paulo, Brazil                                                                    synthesis.
 Full list of author information is available at the end of the article

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    Rice (Oryza sativa) bran oil has unsaponifiable fractions    Determination of nanoemulsion droplet size
 that contain high levels of antioxidant-rich components,        The mean droplet size and polydispersity index of the
 such as tocopherols/tocotrienols and gamma-oryzanol,            nanoemulsions were determined by dynamic light scat-
 which could be useful for topical formulations [12]. The        tering (DLS) (Zetasizer, modelo ZS, Malvern Instru-
 cosmetics industry has used rice bran oil in sunscreen for-     ments, UK). Measurements were performed at 25°C
 mulations [13], in topical aging prevention products [14]       using a scattering angle of 90°. Samples were considered
 and in treatments for skin diseases [15].                       polydisperse when the polydispersity index was higher
    When skin is affected by diseases such as atopic derma-      than 0.2 [23].
 titis and psoriasis, it exhibits a compromised skin barrier
 function that causes increased transepidermal water loss        Stability study
 [16-18]. Moisturisers can help improve the skin’s func-         The preliminary stability of the nanoemulsion prepara-
 tion by relieving the cutaneous manifestations of these         tion was evaluated at 24 hours by centrifuge and thermal
 diseases [18-20]. Measuring the stratum corneum (SC)            stress analyses. Stability was assessed by macroscopic
 hydration degree gives important information about the          emulsion observation and droplet size analysis. The pur-
 biophysical properties and the function of the skin [21].       pose of these tests was to select a stable, low-surfactant
    In vitro studies, such as the HET-CAM (Hen’s Egg             formulation with a nanoemulsion-size droplet and stable
 Test on the Chorioallantoic Membrane), are used to              physicochemical properties. The selected nanoemulsion
 evaluate cosmetics products by immediately showing              was prepared in triplicate, and the samples were stored at
 whether or not a solid or liquid substance irritates the        25 ± 2°C, 40 ± 2°C and 5 ± 2°C. Tests were performed at
 hen’s egg chorioallantoic membrane [22].                        24 hours, 7, 15, 30, 60 and 90 days after preparation. The
    The aim of this study was to obtain nanoemulsions of         analysis measurements were droplet size, pH value and
 rice bran oil and to evaluate their physical stability, irri-   electrical conductivity.
 tating potential and in vivo moisturising activity.
                                                                 Physical-chemical analyses
 Materials and methods                                           To perform the thermal stress test, nanoemulsions were
 Materials                                                       heated in an ultra bath thermostat (Nova Técnica, Brazil)
 Sorbitan oleate (HLB 4.3) and rice bran oil were kindly         at temperatures ranging from 40 to 80°C. The temperature
 provided from Lipo do Brasil (Brazil). PEG-30 castor oil        was increased by 5°C every 30 minutes. The nanoemul-
 (HLB 11.7) was donated by Oxiteno (Brazil). The preserva-       sions were centrifuged (Fanem 206-R, Brazil) at 1000,
 tive DMDM Hydantoin (and) Iodopropynyl Butylcarba-              2500 and 3500 rpm (70, 440 and 863 G, respectively) for
 mate (Glydant® plus) was obtained from Chemyunion               15 minutes in each rotation to accelerate possible instabil-
 (Brazil), and the antioxidant Butyl Hydroxy Toluene             ity phenomena. A pH meter (PM608 model - Analion,
 (BHT) was purchased from Synth (Brazil).                        Brazil) was used to measure the pH of the nanoemulsions
                                                                 at 25 ± 2°C. The electrical conductivity was evaluated at
 Preparation of nanoemulsion                                     25 ± 2°C by a portable conductivity meter (mCA-150
 The following surfactant mixtures were evaluated to find a      model, Tecnopon, Brazil).
 stable nanoemulsion formulation: polysorbate 80/sorbitan
 oleate, polysorbate 60/sorbitan oleate, ceteareth-20 OE/        Irritant test in an organotypic model - HET-CAM (Hen’s
 ceteth-2, PEG-15 castor oil/sorbitan oleate, PEG-30 castor      Egg Test on the Chorioallantoic Membrane)
 oil/sorbitan oleate and PEG-40 castor oil/sorbitan oleate.      The HET-CAM test is routinely used to evaluate the
 The PEG-30 castor oil/sorbitan oleate (HLBresulting= 8.0)       potential eye irritation of raw materials but can in some
 was the only surfactant combination that resulted in a          cases be used to evaluate skin irritation, e.g. in the case
 stable formulation and therefore was chosen for further         of surfactants. Irritation causes alterations in the vascu-
 study.                                                          lar system of the HET-CAM that result in membrane
   The phase diagram method was used with different              discoloration, haemorrhaging and increased perfusion.
 concentration of constituents to result in 42 different         The method used in this manuscript is a modification of
 emulsion formulations. All emulsions were prepared              the method described by Luepke [24] and adapted by
 according the Emulsion Phase Inversion (EPI) method,            Mehling [25] that allows the immediate evaluation of
 where the water and oil phases were heated separately           irritation by solid or liquid substances in the hen’s egg
 at 75°C, the water phase was added into the oil phase           chorioallantoic membrane. Each substance was tested
 (rice bran oil and surfactants) while stirring at 600 rpm       on three fertilised eggs that were incubated for 9 days
 (Fisatom, 713-Dmodel, Brazil), and the mixture was              prior to testing. The CAM (Chorioallantoic Membrane)
 then cooled to 25°C while stirring.                             was exposed to 300 μL of one of the following
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 substances: (1) nanoemulsion (pH 6.54), (2) surfactant           Results and discussion
 solution blend (5% sorbitan oleate, 5% PEG-30 castor oil         Preparation of nanoemulsion
 and 90% water (pH 6.32), (3) Sodium lauryl sulphate              The phase diagram with the rice bran oil, surfactants sor-
 (SLS) 10% w/w (positive control, pH 6.05) and (4) saline         bitan oleate/PEG-30 castor oil and water shows formation
 solution (negative control, pH 6.0). The CAM was                 of five different areas: (I) O/W (Oil/Water) nanoemulsion,
 rinsed with physiological saline solution after 30 seconds       (II) phase separation, (III) gel phase, (IV) W/O (Water/
 of exposure to each substance, and the intensity of the          Oil) emulsions and (V) O/W emulsions (Figure 1).
 reactions (hyperaemia, haemorrhage and coagulation)                 Table 2 shows the composition and the droplet size of
 was semi-quantitatively assessed on a scale of 0.5, 2 and        the nanoemulsion systems.
 5 minutes after treatment; longer observation times give            All of the nanoemulsions (Table 2) were stable when
 no additional important information. The numerical               tested using the centrifugation test. The only formulation
 time-dependent scores for hyperaemia, haemorrhage                that showed signs of instability at high temperatures
 and coagulation are summed to give a single numerical            (70°C) was the nanoemulsion composed of 10:20:70 (oil,
 value indicating the irritation potential of the test sub-       surfactants and water, respectively).
 stance on a scale with a maximum value of 21. The                   A surfactant concentration of 5.00% was not sufficient
 mean value of four tests makes possible an assessment            to form a nanoemulsion, even with smaller amounts of
 by a classification scheme analogous to the Draize cate-         oil. The surfactant amount affects the stabilisation and
 gories (Table 1).                                                size of the emulsion droplets. From the experimental
                                                                  results, the nanoemulsion that used the lowest possible
 In vivo assessment                                               surfactant concentration while still maintaining thermal
 Approval to conducted the in vivo studies was obtained           stability, centrifugal stability and small droplet size was
 from the Ethics Committee of Faculdade de Ciências               selected as the working formulation.
 Farmacêuticas de Ribeirão Preto, Ribeirão Preto, São                Based on these preliminary results, we chose a formu-
 Paulo, Brazil, under protocol number CEP/FCFRP n°. 147.          lation composed of 10% rice bran oil, 10% surfactant
    Seventeen Caucasian volunteers with healthy skin (all         blend and 80% water and proceeded with further stabi-
 women, 20-29 years old), five patients with atopic dermati-      lity tests and in vitro and in vivo evaluations.
 tis (all women, 21-30 years old), and four psoriasis patients
 (1 man and 3 women, 28-56 years old) without skin                Stability study
 lesions on the forearm were included in the study. The           The formulation composed of 10:10:80 (rice bran oil,
 forearm area was washed with mild soap two hours before          surfactant blend and water) was supplemented with
 the analysis. The volunteers were kept for 10 min in a con-      0.05% antioxidants and 0.50% preservatives. The formu-
 trolled room at ambient temperature (25 ± 2°C; 29-34%            lation was tested at three different storage temperatures:
 relative humidity) before starting the assay. Baseline values    25 ± 2°C, 40 ± 2°C and 5 ± 2°C. By granulometric analy-
 were determined using a Corneometer CM 820, a Sebu-              sis the particles maintained a mono-disperse, monomo-
 meter SM 810 and a Skin-pH-meter PH 900 instruments              dal peak after 24 hours (Figure 2). The formulation was
 (Courage &Khazaka, Köln, Germany) before applying the            stable for up to 90 days as determined by macroscopic
 formulation. Then, 50 μL of nanoemulsion was applied to          analysis.
 the right forearm in three rectangular areas of 13.80 cm2          Droplet size measurements are a good indicator of the
 and distributed for 20 seconds by rubbing the test area          formulation stability. A fast droplet size increase indicates
 using a circular motion. Excess nanoemulsion was left on         low system stability. The droplet size for this formulation
 the skin. The treated skin of each patient was measured          remained constant over 90 days for all temperature condi-
 30, 60, 90, 120 and 150 minutes after nanoemulsion appli-        tions (Figure 3).
 cation, with one measure for sebum content and triplicate          The nanoemulsions had polydispersity index values
 measurements of electrical capacitance and skin pH.              below 0.2 throughout the 90-day testing period, indicat-
                                                                  ing the high fidelity of the system (low polydispersity),
                                                                  which may reflect the overall stability of this formulation
 Table 1 Classification of cumulative scores in the
                                                                  and synthesis method. Polydispersity values near 1.0 are
 chorioallantoic membrane test (According Luepke 1985
 [24])                                                            indicative of a polydisperse system [26]. The long term
                                                                  stability of nanoemulsions was previously evaluated and
        Cumulative Score                  Irritation assessment
                                                                  was also verified by stability studies conducted over three
              0-0.9                          Practically none
                                                                  months. The W/O nanoemulsion produced by low
              1-4.9                               Slight
                                                                  energy emulsification showed no difference in droplet
              5-8.9                             Moderate
                                                                  size over the study period at both 25°C and 4°C [27]. The
               9-21                              Strong
                                                                  W/O nanoemulsion demonstrated high physical stability,
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  Figure 1 Phase diagram with rice bran oil, sorbitan oleate/PEG-30 castor oil and water. Region I: nanoemulsion, II: phase separation, III: gel
  phase, IV: W/O emulsions; V: O/W emulsions.


 corroborating our results for temperatures of 5 ± 2°C and                 the quality of the final product. Emulsions produced with
 25 ± 2°C.                                                                 vegetable oils may experience a decrease in pH due to
    Low-energy emulsification is better at producing                       the hydrolysis of fatty acid esters into free fatty acid
 stable nanoemulsions than its higher energy counterpart.                  degradation products [29].
 When nanoemulsions were prepared using a high pres-                         The nanoemulsions had stable pH values for almost
 sure homogeniser, the droplet size was initially around                   all conditions tested (Figure 4). Only at a temperature of
 100 nm; however, the particles increased in size after 30                 40 ± 2°C and 90 days of incubation was there a statisti-
 days at either 25 or 4°C. This phenomenon was attribu-                    cally significant decrease in the pH of the nanoemulsion.
 ted to the preparation method [28]. The low-energy                        The high temperature might have destabilised the
 emulsification method used in our study showed high                       nanoemulsion by hydrolysis, but it did not affect the
 stability with respect to the droplet size and polydisper-                overall quality of the nanoemulsions because the pH
 sity index.                                                               values remained around pH 6.0, which is an acceptable,
                                                                           non-skin irritating pH value.
 pH value determination
 Monitoring the pH value is important for determining                      Electrical conductivity
 the emulsions’ stability because pH changes indicate the                  The nanoemulsion showed changes in electrical conduc-
 occurrence of chemical reactions that can compromise                      tivity at all storage conditions (Figure 5).

 Table 2 Composition of formulation characterised as nanoemulsions
  Rice bran oil (% w/w)    Sorbitan oleate/PEG-30 castor oil (% w/w)      Purified water (% w/w)      Droplet size (nm) ± (Standard Deviation)
          10.00                               30.00                                 60.00                              91 ± 19
          10.00                               20.00                                 70.00                              45 ± 12
          10.00                               10.00                                80.00                               69 ± 17
          20.00                               10.00                                 70.00                              303 ± 32
          10.00                               15.00                                 75.00                              121 ± 13
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  Figure 2 Droplet size distribution of nanoemulsions after 24 hours.


   Changes in the electrical conductivity can indicate                  the particle size and the pH value did not significantly
 nanoemulsion instability and may influence the nanoe-                  change across different conditions, we considered our
 mulsion droplet size [30]. In these studies, changes in                nanoemulsion to be stable. Nanoemulsion stability is a
 electrical conductivity did not affect the nanoemulsion                crucial parameter in determining the moisturising activ-
 droplet size (Figure 3). It is difficult to assess the emul-           ity of the nanoemulsions in vivo.
 sion stability solely by electrical conductivity because
 the relationship between an increase in electrical con-                Irritant test in an organotypic model - HET-CAM (Hen’s
 ductivity and emulsion instability is not linear [31].                 Egg Test on the Chorioallantoic Membrane)
   Thus, we could not conclusively determine the nanoe-                 Topical application products must have a low ocular/
 mulsion’s stability by this parameter. However, because                mucous membrane and a low dermal irritation potential.




  Figure 3 Nanoemulsion droplet size under different storage conditions during a 90-day stability test.
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  Figure 4 pH values for nanoemulsions over time under different storage conditions.


 The irritation potential depends on the concentration of              values were the same for all samples tested to eliminate
 the substance as well as the chemical composition and                 pH as a variable in the HET-CAM results.
 the pH of the formulation [25].                                         Previous studies showed that O/W microemulsions
   The HET-CAM test can help evaluate the irritation                   containing linoleic acid were only barely irritating in the
 potential of substances in vitro and in vivo [32]. The                HET-CAM test, indicated by a slight discoloration of the
 CAM showed no signs of irritation after application of                chorioallantoic membrane [33]. The HET-CAM test
 either the nanoemulsion or the negative control sub-                  showed that the nanoemulsion containing rice bran oil
 stance, so the nanoemulsion was therefore considered                  was essentially non-irritating.
 practically non-irritating. The surfactant solution by
 itself caused mild hyperaemia, which suggests that the                In vivo assessment
 presence of rice bran oil in the nanoemulsion may have                The formulation composed of 10:10:80 (rice bran oil,
 protected the chorioallantoic membrane from the irritat-              surfactant blend and water) was chosen for the in vivo
 ing effects of the surfactant solution (Table 3). The pH              study due to its high stability and lack of irritation in




  Figure 5 Electrical conductivity of nanoemulsions over time under different storage conditions.
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 Table 3 Scores and assessments of irritation potential of                         skin outside of the regions with lesions [37-39]. The rice
 nanoemulsions and surfactant solution tested in the                               bran oil nanoemulsion increased the moisturising var-
 chorioallantoic membrane test                                                     iance by about 38% in normal skin volunteers and by
       Formulation        Cumulative Score (average)            Assessment         30% in volunteers with atopic dermatitis or psoriasis,
      Nanoemulsion   1
                                          0                   Practically none     which is a satisfactory result because a high-quality com-
  Surfactant Solution2                    5                       Moderate         mercial moisturiser only increased skin hydration by
     Positive control3                   15                        Strong          about 20% after 14 days of application [40]. These
     Negative control4                    0                   Practically none     improved effects may be caused by the nanoemulsion
 1
  10.00% of rice bran oil, 5.00% of sorbitan oleate, 5.00% of PEG-30 castor oil,   droplets adhering to the skin and forming a dense film
 0.05% of BHT antioxidant, 0.50% of preservative and 79.45% of distilled water     that inhibits water evaporation from the skin [41].
 2
  5.00% of sorbitan oleate, 5.00% of PEG-30 castor oil and 90.00% of distilled       The rice bran oil nanoemulsion significantly increased
 water
 3
  10% of SLS and 90% of distilled water                                            the skin hydration in volunteers suffering from atopic
 4
  Saline solution                                                                  dermatitis and psoriasis. Although the skin hydration
                                                                                   measurements should be conducted over a longer period
 the HET-CAM test. This nanoemulsion formulation was                               of time, 8 - 24 h, this study indicates that the nanoemul-
 applied to volunteers with either normal or affected skin                         sion may provide long-term skin hydration.
 (atopic dermatitis or psoriasis).
                                                                                   Oily Skin
 Moisturising activity                                                             The oiliness values of nanoemulsion-treated skin
 The moisturising activity of the stratum corneum is mea-                          increased considerably 30 minutes after treatment and
 sured by skin capacitance. It is also an important tool in                        then decreased in both the healthy and affected skin
 evaluating healthy and diseased skin such as patients                             groups. The increase may be related to the amount of
 with atopic dermatitis or psoriasis [34-36]. The moistur-                         rice bran oil (10%) in the formulation (Figure 7). Cos-
 ising variance in healthy volunteers increased both                               metic emulsions form an oily layer on the skin that can
 30 and 60 minutes after nanoemulsion application and                              protect the lipid barrier, which is desirable in dry skin
 then decreased over the remainder of the study. Volun-                            conditions [42]. Therefore, the oiliness of the nanoemul-
 teers with atopic dermatitis or psoriasis showed increased                        sion may provide an alternative treatment for psoriasis.
 moisturising variance in the first 30 minutes and main-
 tained this increase up to 90 minutes after application.                          Skin pH determination
 Then, the moisturising capacitance decreased after                                Forearm skin testing is standard in most clinical studies of
 90 minutes until the end of test (Figure 6). Skin affected                        skin and has pH values in the range of 4.2 to 5.9 for both
 by atopic dermatitis or psoriasis had a lower basal hydra-                        sexes [43]. The pH values of volunteers’ skin tested during
 tion value compared with healthy skin. People with these                          this study ranged from 4.9 to 5.2 after treatment for both
 drying skin conditions have increased dryness in their                            groups. Thus, the pH changes due to the nanoemulsion




     Figure 6 Moisturising variance after nanoemulsion treatment in volunteers with either normal skin or skin affected by atopic
     dermatitis or psoriasis.
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  Figure 7 Oiliness of the skin after nanoemulsion treatment in volunteers with either normal skin or skin affected by atopic dermatitis
  or psoriasis.


 were within the accepted pH range for forearm skin found              skin oiliness and maintained normal skin pH values.
 in the literature, so this formulation does not significantly         This nanoemulsion could serve as an alternative treat-
 alter the skin pH (Figure 8).                                         ment for skin diseases such as atopic dermatitis and
                                                                       psoriasis.
 Conclusion
 The nanoemulsion developed in this study using the
                                                                       Acknowledgements
 phase diagram method was composed of 10% rice bran                    This work was supported by FAPESP (Fundação de Amparo à Pesquisa do
 oil, 10% surfactants sorbitan oleate/PEG-30 castor oil,               Estado de São Paulo) protocol numbers: 2009/01922-3, 2008/10382-0, 2009/
 0.05% antioxidants and 0.50% preservatives formulated                 05774-9, 2009/07817-7 and 2010/09618-9, CNPq (Conselho Nacional de
                                                                       Desenvolvimento Científico e Tecnológico) and CAPES (Coordenação de
 in distilled water. The nanoemulsion was stable during                Aperfeiçoamento de Pessoal de Nível Superior).
 the period of study and was found to be practically
 non-irritating in the organotypic HET-CAM model.                      Author details
                                                                       1
                                                                        Departamento de Ciências Farmacêuticas, Faculdade de Ciências
 When applied to the skin of volunteers, the nanoemul-                 Farmacêuticas de Ribeirão Preto, Universidade de São Paulo, Ribeirão Preto,
 sion increased the relative hydration of the skin, the




  Figure 8 Skin pH value after nanoemulsion treatment in volunteers with normal skin or skin affected by atopic dermatitis or psoriasis.
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 DSB performed the irritant test in the organotypic model - HET-CAM. TAP                23. Izquierdo P, Feng J, Esquena J, Tadros TF, Dederen JC, Garcia MJ, Azemar N,
 and GSV performed the in vivo assessment. PARF and NRM guided the                          Solans C: The influence of surfactant mixing ratio on nano-emulsion
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                                                                                         Journal of Nanobiotechnology 2011 9:44.
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                      EXHIBIT 2
                                                                                                             Case 4:21-cv-10312-FKB-RSW ECF No. 59-4, PageID.2072 Filed 03/28/23 Page 90 of 116

                                                                                                               Clinical Pharmacology: Advances and Applications                                                                                                                                                         Dovepress
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                                                                                                                   Open Access Full Text Article                                                                                                                                                                                 REVIEW

                                                                                                               Skin models for the testing of transdermal drugs
Clinical Pharmacology: Advances and Applications downloaded from https://www.dovepress.com/ on 23-Aug-2022




                                                                                                               Eman Abd 1                                   Abstract: The assessment of percutaneous permeation of molecules is a key step in the evalua-
                                                                                                               Shereen A Yousef 1                           tion of dermal or transdermal delivery systems. If the drugs are intended for delivery to humans,
                                                                                                               Michael N Pastore 2                          the most appropriate setting in which to do the assessment is the in vivo human. However, this
                                                                                                               Krishna Telaprolu 1                          may not be possible for ethical, practical, or economic reasons, particularly in the early phases of
                                           For personal use only.




                                                                                                                                                            development. It is thus necessary to find alternative methods using accessible and reproducible
                                                                                                               Yousuf H Mohammed 1
                                                                                                                                                            surrogates for in vivo human skin. A range of models has been developed, including ex vivo
                                                                                                               Sarika Namjoshi 1
                                                                                                                                                            human skin, usually obtained from cadavers or plastic surgery patients, ex vivo animal skin,
                                                                                                               Jeffrey E Grice 1
                                                                                                                                                            and artificial or reconstructed skin models. Increasingly, largely driven by regulatory authorities
                                                                                                               Michael S Roberts 1,2                        and industry, there is a focus on developing standardized techniques and protocols. With this
                                                                                                               1
                                                                                                                 Translational Research Institute,          comes the need to demonstrate that the surrogate models produce results that correlate with
                                                                                                               School of Medicine, University of
                                                                                                               Queensland, Brisbane, 2School of
                                                                                                                                                            those from in vivo human studies and that they can be used to show bioequivalence of different
                                                                                                               Pharmacy and Medical Sciences,               topical products. This review discusses the alternative skin models that have been developed as
                                                                                                               University of South Australia,               surrogates for normal and diseased skin and examines the concepts of using model systems for
                                                                                                               Adelaide, Australia
                                                                                                                                                            in vitro–in vivo correlation and the demonstration of bioequivalence.
                                                                                                                                                            Keywords: percutaneous permeation, dermal delivery, transdermal, bioequivalence, ex vivo
                                                                                                                                                            skin models, reconstructed skin


                                                                                                                                                            Introduction
                                                                                                                                                            The skin is a major physical, immunological, and sensory barrier to our environment.
                                                                                                                                                            While it has long been used as a portal for drug delivery, it is a formidable barrier that
                                                                                                                                                            requires appropriate technology for successful delivery. It is particularly effective in pre-
                                                                                                                                                            venting large (ie, molecular weight >500) or polar molecules from entering the body. It is
                                                                                                                                                            also a heterogeneous organ, with several delivery routes and sites that could be targeted
                                                                                                                                                            for desirable pharmacological and immune responses. A key challenge is to deliver to the
                                                                                                                                                            target site sufficient quantities of the drugs, peptides, vaccines, and dyes that are mainly
                                                                                                                                                            larger and polar to achieve these responses. This may require the design of a specific
                                                                                                                                                            chemical or physical delivery system to enhance the permeation of the active substance.
                                                                                                                                                                The assessment of percutaneous permeation is key to the successful development
                                                                                                                                                            of new formulations intended for human use. It is also an important quality-control
                                                                                                                                                            measure to ensure batch-to-batch uniformity in the pharmaceutical industry.1 Clinical
                                                                                                                                                            end-point bioequivalence studies have generally been used for bioequivalence assess-
                                                                                                               Correspondence: Michael S Roberts
                                                                                                               Level 5, Translational Research              ments of locally acting products. However, this is not the most feasible approach, due
                                                                                                               Institute, 37 Kent St, Woolloongabba,        to the high costs involved, as well as the lack of sensitivity in highlighting formula-
                                                                                                               Queensland 4102, Australia
                                                                                                               Email m.roberts@uq.edu.au                    tion differences. Alternative methods for evaluating product performance include a


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                                   range of models. More commonly used models to conduct                                 of keratinization of the cells. The layers of the epidermis
                                   skin-permeation studies are ex vivo human or animal skin.                             from the bottom to the surface are stratum basale (basal cell
                                   Through the standardization of protocols and techniques,                              layer), the stratum spinosum (spinous or prickle-cell layer),
                                   the available skin models can be useful as surrogate models                           the stratum granulosum (granular cell layer), and the stratum
                                   for in vivo human skin to evaluate the bioequivalence of                              corneum (SC; horny layer) (Figure 1).6
                                   topical products.                                                                         The outermost layer of the epidermis, the SC, consists
                                       This review discusses the alternative skin models that                            of denucleated, nonliving, flattened cells called corneocytes.
                                   have been developed as surrogates for normal and diseased                             There are ten to 25 layers of stacked corneocytes, which are
                                   skin, and examines the concepts of using model systems                                nonhydrated cells lying parallel to the skin surface.5 The SC
                                   for in vitro–in vivo correlation (IVIVC) and the demonstra-                           layers are united by SC lipid bilayers assembled into a “brick
                                   tion of bioequivalence. Table 1 lists a range of appropriate                          and mortar” arrangement.7
                                   skin models.                                                                              Below the SC, the remainder of the epidermis is viable tis-
                                                                                                                         sue, called viable epidermis, containing nucleated cells called
                                   Human skin structure and function                                                     keratinocytes. The viable epidermis is a region for drug bind-
                                   A comprehensive review of the structure and function of skin                          ing, metabolism, active transport, and surveillance. In addition
                                   can be found in Monteiro-Riviere.2 The skin accounts for                              to keratinocytes, it contains melanocytes (dendritic cells found
                                   approximately 16% of human body weight, with a surface                                on the basement membrane and in the basal layer), Merkel
                                   area of approximately 2 m2 in adults.3,4 It provides a physical                       cells (functioning as mechanoreceptors involved in mediation
                                   barrier to the environment, maintains homeostasis by limiting                         of touch responses, found in the basal region), and Langerhans
                                   the loss of water, electrolytes, and heat, and protects against                       cells (dendritic cells playing a key role in protective immune
                                   microorganisms, toxic agents, and ultraviolet radiation.5                             function, present mainly in the stratum spinosum).2
                                   There are three basic layers: the epidermis, the dermis, and                              The viable epidermis is separated from the dermis at the
                                   the subcutaneous layer. Hair, nails, sebaceous glands, and                            dermal–epidermal junction. The dermis is rich in collagen.
                                   sweat glands (apocrine and eccrine) are considered to be                              The subcutaneous (hypodermis) layer is the deepest layer of
                                   skin derivatives or appendages. Even though it is structur-                           the skin and is formed from loose connective tissue and fat
                                   ally continuous throughout the body, skin varies in thickness                         (50% of the body fat), which may be more than 3 cm thick
                                   according to the age of the individual and the anatomical site.                       on the abdomen. The dermis and subcutaneous layers con-
                                       The epidermal layer is formed from squamous epithelium                            tain blood vessels, lymphatics, and nerve cells, in addition
                                   and is subdivided into separate layers, according to the degree                       to skin appendages.8



                                   Table 1 Skin models
                                   Model                                        Advantages                                                      Disadvantages
                                   Human skin
                                   In vivo                                      Gold standard                                                   Often precluded for ethical and practical reasons
                                   Ex vivo skin                                 Best surrogate for in vivo humans                               Not readily available, variability
                                   Animal skin
                                   In vivo                                      Reasonably easy to obtain animals, can be scaled up to          Pigs: similar barrier to humans, but difficult to handle
                                                                                humans, hairless species available                              Rodents: different barrier properties from humans
                                   In vivo chimeric model                       Human skin xenografts on mice allows testing on living          Technically difficult
                                                                                human skin
                                   Ex vivo skin                                 Easy to obtain                                                  Different barrier properties, variability
                                   Artificial membranes
                                   Simple polymeric models                      Useful for studying basic diffusion mechanisms, consistent      Not representative of human skin
                                                                                and homogenous
                                   Lipid-based models                           Useful for screening                                            Not representative of human skin
                                   Reconstructed skin models
                                   Reconstructed human epidermis                Built-in barrier properties                                     Usually more permeable than human skin
                                   Living skin equivalents                      Can be engineered to include a range of normal or               Usually more permeable than human skin
                                                                                disease features




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                                                                                  Sweat duct
                                                                                               Stratum corneum
                                                                                                    (trans- or
                                                                                                  intercellular) Infundibular     Follicular
                                                                                                                     wall         pathway
                                                                                                                                                                         Stratum
                                                                                                                                                                         corneum
                                                                                                                                                                         Viable
                                                     Capillary                                                                                                           epidermis
                                                     loops


                                               Superficial
                                               plexus (arterioles
                                               and venules)
                                                                                                                                                                         Dermis
                                               Deep plexus                                                                       Sebaceous
                                               (arteries and                                                     Hair
                                                                                                                                duct and gland
                                               veins)                                                            shaft



                                                 Lymphatic
                                                 vessels
                                                                                                                                                                         Hypodermis


                                                                 Eccrine sweat gland                                                    Apocrine gland
                                                                                        Subcutaneous fat
                                                                                            vessels
                                     Figure 1 Structure of the skin.



                                         The SC acts as the primary skin barrier, with the essential             in vivo dermal absorption, often driven by regulators seeking
                                     functions of protecting the body from the surrounding envi-                 a standard, robust assessment method.15,16
                                     ronment, providing an efficient obstacle to the permeation of                   Excised human skin is most commonly obtained from
                                     exogenous molecules8 and microorganisms9 and maintaining                    plastic surgery or cadavers, and in both cases, appropriate
                                     homeostasis by preventing excessive loss of water.10 The                    ethical approval is required to use the tissue. Abdominal,
                                     surveillance, metabolic, and transport processes located in                 breast, or back skin is most convenient, due to the large areas
                                     the deeper skin layers11,12 also contribute to the protective               that may be available. There are considerable differences in
                                     functions of the skin.                                                      skin absorption across different body sites,17 attributed to
                                                                                                                 such factors as differences in SC thickness,18 hydration,19,20
                                     Models used to evaluate dermal                                              and lipid composition.21 Clearly, this needs to be recognized
                                     absorption                                                                  when designing studies.
                                     Ex vivo human skin models                                                       As noted earlier, the SC represents the main barrier
                                     Measurement of dermal absorption for the purpose of                         to penetration of exogenous substances into the skin,8
                                     targeted skin delivery, systemic delivery, or toxicological                 as well as controlling the loss of water from inside the
                                     assessment should be done under the correct conditions,                     body.10 It is believed that skin may be stored for up to 6
                                     ideally using the gold-standard experimental model: in vivo                 months without loss of SC barrier function,22 particularly
                                     human skin.13 However, this is not always possible, due to                  if 10% glycerol is used as a preservative.23 Nielsen et al
                                     the high cost of human trials and concerns over applying                    also found little effect of freezing at –20°C for 3 weeks,
                                     substances or materials with potentially toxic effects. As well,            with or without polyethylene glycol as a preservative, but
                                     in vivo responses may be difficult to measure and interpret                 significant damage with storage at –80°C.24 On the contrary,
                                     and subject to significant variability. Alternative methods are             other evidence suggests significant loss of barrier function,
                                     needed to derive data that are reproducible and reliable and                causing increased skin permeation, with frozen storage of
                                     which provide a meaningful prediction of the in vivo human                  animal skin.25,26 Barbero and Frasch concluded that care-
                                     situation.14 There is a large body of work based on ex vivo                 fully handled frozen human skin was suitable for testing the
                                     human skin, and as we shall discuss in more detail later,                   passive permeation of chemicals, when skin viability and
                                     some success has been achieved in correlating in vitro and                  metabolic activity were not being investigated.23 Cellular


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                                   viability and metabolic activity within the human epidermis       Ex vivo human skin: use in bioequivalence
                                   are likely to be reduced by frozen storage or heat.27,28 Our      studies
                                   unpublished results from an MTT assay showed a complete           For the majority of topical drug products, comparative clini-
                                   elimination of epidermal viability following heat separation      cal end-point studies are used to demonstrate bioequivalence
                                   by the method of Kligman and Christophers.29 For studies          to a reference drug. While this provides a direct in vivo
                                   requiring the presence of viable epidermal tissue, such as        assessment, it is also associated with a number of challenges.
                                   imaging of endogenous skin autofluorescence by multipho-          Clinical end points are associated with high variability (intra-
                                   ton tomography,30 or investigations of skin metabolism,28         subject) and low sensitivity (drug-related), which makes
                                   fresh tissue is required.                                         such studies less reliable and less efficient. The other clinical
                                       Several different membrane types may be prepared from         alternative is to use pharmacokinetic studies to demonstrate
                                   ex vivo human skin for use in permeation experiments. “Full-      bioequivalence for topical products, but this is limited to
                                   thickness skin” is prepared by removal of connective tissue       particular cases where significant systemic absorption of the
                                   and subcutaneous fat and consists of all layers down to and       drug occurs. Recently, the use of techniques including in vitro
                                   including the dermis.31 To reduce variability while retaining     permeation testing (IVPT), in vivo tape stripping, or derma-
                                   significant dermal thickness, full-thickness skin may be cut      topharmacokinetics, and in vivo microdialysis or microperfu-
                                   to approximately 500–750 μm with a dermatome.32 However,          sion, has been advocated for testing bioequivalence.40
                                   the presence of the hydrated dermis may introduce an addi-             IVPT using human dermatomed skin mounted in diffu-
                                   tional, artificial barrier to permeation, particularly for more   sion cells is increasingly seen as a suitable tool for demon-
                                   lipophilic molecules.                                             strating bioequivalence of topical dosage forms.40 Indeed, the
                                       In contrast to the in vivo situation, where capillary cir-    generation of such data has been encouraged by regulatory
                                   culation rapidly clears penetrated molecules, full-thickness      agencies, such as the European Medicines Agency, the US
                                   or dermatomed skin mounted in a diffusion cell represents         Environmental Protection Agency, and the US Food and Drug
                                   a situation analogous to vasoconstriction.33 Consequently,        Administration (FDA). Their utility is grounded on substan-
                                   the use of a membrane consisting of only the SC and the           tial evidence that 1) there is a good correlation between the
                                   viable epidermis may be preferred. According to Cross and         in vitro and in vivo rates and extents of human skin absorp-
                                   Roberts, this membrane represents a situation of “infinite        tion of a number of different substances and 2) there is good
                                   dilatation”, since all material making its way past the SC        agreement on the bioequivalence of topical products seen
                                   barrier is immediately available to the receptor solution.33      with IVPT and in vivo clinical studies.
                                   Atrux-Tallau et al found that dermatomed human skin and                Currently, however, there are no approved protocols for
                                   heat-separated epidermal membranes gave the same flux             carrying out IVPT studies. Franz et al pointed out that the
                                   for caffeine, a hydrophilic compound.34 Results from our          demonstration of valid IVIVC is greatly dependent upon the
                                   group where steroids were applied to epidermal membranes,         protocols used, and they recommended that the in vitro and in
                                   full-thickness skin, and isolated dermis showed that there        vivo protocols followed should be as closely harmonized as
                                   was a minimal effect of increasing lipophilicity on epider-       possible to maximize the chance of achieving a good correla-
                                   mal maximum flux and a trend toward decreased dermal              tion.15,41 The work on which this conclusion was based was an
                                   penetration rates.35                                              analysis of historical literature data that was available to the
                                       Epidermal membranes are most commonly prepared                researchers, and despite the wide variation in the way in which
                                   by immersing full-thickness skin in hot water (~60°C) for         it was collected, their conclusion was that there was compelling
                                   approximately 1 minute.29 Other techniques designed to            evidence that it was possible to correlate IVPT data with human
                                   separate the membrane at the dermal–epidermal junction            in vivo skin-absorption data. Others who have demonstrated
                                   include chemical treatments with ethylenediaminetetraace-         good IVIVC include Hadgraft et al, who compared in vitro
                                   tic acid, ammonia, and enzymes.32 Some researchers have           and in vivo delivery from nitroglycerin patches,42 and more
                                   used the isolated SC for permeation experiments36 and for         recently Yang et al, who compared their own IVPT data with
                                   desorption studies designed to study SC heterogeneity,37 and      literature reports of in vivo estradiol delivery from patches.16
                                   the SC reservoir for water and other substances.38 The SC is           While the use of IVPT for bioequivalence has only
                                   prepared by enzymatic methods, usually by incubation with         recently been formalized, the design of in vitro permeation
                                   aqueous trypsin solution, after which the digested epidermal      tests has been subject to consideration and validation for
                                   material is rinsed and wiped off.39                               many years. In 1987, the FDA published a report on the


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                                     important factors to be considered, which included the mem-        dOFM means that significant operator expertise is required,
                                     brane type (dermatomed skin or heat-separated epidermis?),         and as such they are generally only available in a research
                                     the receptor fluid, the cell design (static or flow-through?),     setting.
                                     application (finite or infinite dose?), and temperature.43
                                         The in vivo dermatopharmacokinetic (DPK) method uses           Ex vivo animal skin models
                                     tape stripping to remove SC layers. The FDA has investigated       The assessment of percutaneous absorption of molecules is an
                                     the possibility of introducing a DPK method for evaluating         important step in the evaluation of any topical drug-delivery
                                     bioavailability and/or bioequivalence of topical dermatologi-      system or formulation. As we have already noted, if the dos-
                                     cal drug products.44,45 In the DPK method, it is assumed that      age form is to be used in humans, the most relevant skin-
                                     1) in normal circumstances, the SC is the rate-determining         absorption data should come from in vivo human studies.
                                     barrier to percutaneous absorption, 2) the SC concentra-           However, such studies are generally not feasible during the
                                     tion of the drug is related to the amount that diffuses into       initial development of a novel pharmaceutical dosage form.
                                     the underlying viable epidermis, and 3) SC drug levels are         Moreover, ex vivo human skin may not be readily available,
                                     more useful and relevant for assessing local, dermatological       and so researchers have relied on animal studies for much
                                     efficacy than plasma concentrations.46 It is also possible to      of the experimental data. This creates a major challenge in
                                     deduce partitioning and diffusion parameters that character-       correlating results from ex vivo animal experiments with
                                     ize the absorption process and which can subsequently be           ex vivo and in vivo human studies for prediction of human
                                     used to predict an entire absorption profile from a single         percutaneous absorption.
                                     short-contact-duration experiment.44 The technique is very             A wide range of animal models has been used as alter-
                                     operator-dependent, and care needs to be taken to apply and        natives to human skin to evaluate percutaneous permeation
                                     remove the tapes reproducibly. The success of the method is        of substances. These include pig, mouse, rat, guinea pig,
                                     equally dependent on the development of sensitive analytical       and snake models. Porcine (pig) skin is histologically simi-
                                     methods to quantify the amount of drug in the tapes.               lar to human skin,52,53 with a comparable SC thickness of
                                         Microdialysis involves the insertion of an ultrathin hollow    21–26 μm.54,55 In addition, the average hair-follicle density
                                     fiber as a probe into the dermis. The probe is semiperme-          in porcine ear skin is 20/cm2 compared to 14–32/cm2 in
                                     able and perfused with sterile buffer using a microdialysis        human forehead skin.54 As well as being similar to human
                                     pump. This involves the exchange of the small diffusible           skin, porcine ear skin is also convenient to obtain and has
                                     molecules from the extracellular fluid into the probe and vice     been widely used in skin-permeation studies.56
                                     versa. This method is used to determine the concentration of           The SC lipids are known to be important regulators of
                                     the unbound drug or biomarkers at the site to establish the        skin permeability. With this in mind, the conformational
                                     concentration-versus-time profile of the applied compound.         disordering and lateral packing of lipids in isolated porcine
                                     There are several issues associated with microdialysis. Probe      and human SC were compared using Fourier-transform infra-
                                     insertion in the skin can lead to inflammatory responses, as       red spectroscopy. The SC of both species differ markedly,
                                     may interactions of the perfusing buffer with the tissue.47,48     with porcine SC lipids being arranged predominantly in a
                                     Recovery is low for highly lipophilic molecules, which may         hexagonal lattice, while lipids in human SC were predomi-
                                     be resolved to some extent by using albumin, cyclodextrins,        nantly packed in the denser orthorhombic lattice.57 In human
                                     and cosolvents such as ethanol and dimethyl sulfoxide in the       as well as porcine SC, the main lipid classes are ceramide,
                                     buffer,49 while highly protein-bound molecules may be dif-         cholesterol, and free fatty acid, and these lipid classes are
                                     ficult to detect, due to binding to the probe material. A major    present in an approximately equimolar ratio.58 However, the
                                     disadvantage of the method is the intrasubject variability.50      compositions of free fatty acid and ceramide in the two spe-
                                     The newer technique of dermal open-flow microperfusion             cies are different.
                                     (dOFM) differs from microdialysis, in that it gives continu-           In a range of studies using both lipophilic59,60 and hydro-
                                     ous, membrane-free (ie, unfiltered) access to dermal fluid.51      philic59,61 permeants, the permeability of pig skin was found
                                     Like microdialysis, dOFM provides a direct estimate of the         to be similar to that of human skin, but to differ to a greater
                                     time course of delivery of the permeant near its site of appli-    extent from dog61 or rodent skin.59,61 Sato et al attributed the
                                     cation. Because of the lack of interaction with a membrane in      similarity in permeability to the similar SC lipids, barrier
                                     dOFM, it can be used for a wider range of compounds than           thickness, and morphological aspects of pig and human
                                     microdialysis.40 The technical difficulty of m­ icrodialysis and   skin.61 Nicoli et al further investigated the d­ ifferences


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                                   between pig skin and rabbit ear skin, finding that although           from Elaphe (Pantherophis) obsoleta. These authors found
                                   they had similar SC thicknesses, pig skin was four to seven           no changes in 5-FU permeability in human or snake skin
                                   times more permeable to hydrophilic compounds than rabbit             after acetone pretreatment, whereas Megrab et al75 found
                                   ear skin, most likely due to its different SC lipid composi-          differential responses in human and dorsal snake skin with
                                   tion.62 The relationship between permeability and SC lipids           vehicles containing different ethanol concentrations. Apart
                                   is analogous to early findings by Lampe et al,63 who showed           from possible interspecies differences, it is likely that solvent
                                   the total lipid-weight percentage at various human body sites         effects in snake skin are influenced by both the lower water
                                   (face > abdomen > leg > plantar SC) was inversely propor-             content75 and the nature of the intercellular lipids. While
                                   tional to the relative permeability of skin reported for those        snake skin may be a reasonable model for human skin, it is not
                                   sites by Scheuplein and Blank.64 Caussin et al also reported          readily available, and doubts must exist over the quality and
                                   the similarity in SC lipid composition, as well as in lamellar        consistency. As Rigg and Barry noted, “[. . .] if at all possible,
                                   organization, between pigs and humans.63,65 Interestingly,            investigative problems should not be made more complex
                                   however, they also saw a substantial difference in lateral pack-      by selection of an animal tissue to represent human skin”.74
                                   ing between the two species. As with human skin, permeation               It may be useful, particularly in the interpretation of der-
                                   behavior was found to correlate with barrier function, as             mal absorption for human risk assessment, to predict human
                                   measured by transepidermal water loss in a study by Sekkat            in vivo dermal absorption from known in vitro human, in vivo
                                   et al, who applied caffeine, lidocaine, and phenobarbital to          animal, and in vitro animal data, the so-called triple-pack
                                   tape-stripped pig skin.66                                             approach.76 The animal in question is normally considered to
                                       Skin of rodents (mice, rat, and guinea pigs) is the most          be the rat. Human in vivo dermal absorption may be derived
                                   commonly used in in vitro percutaneous permeation studies,            by the equation:
                                   due to its availability, their small size, and relatively low cost.
                                   There are different hairless strains of each species that are         in vivo human absorption = in vivo rat absorption ×
                                   reported to mimic the permeation properties of human skin             (in vitro human absorption / in vitro rat absorption)            (1)
                                   better than the hairy variety.67 Among rodents, rat skin is most
                                                                                                             Here, it is assumed that 1) the factor between in vitro and
                                   structurally similar to human skin and it is the most frequently
                                                                                                         in vivo dermal absorption is the same for rats and humans
                                   used rodent model. A large number of studies comparing
                                                                                                         and 2) the factor between rat and human skin absorption
                                   permeation through human and rat skin have been carried out,
                                                                                                         is the same in vitro and in vivo, despite the morphological
                                   showing that rat skin is generally more permeable than human
                                                                                                         species differences.
                                   skin across a range of permeants of different physicochemical
                                   properties,68–72 in some cases with differences of more than
                                   an order of magnitude. For example, for compounds with                Artificial and reconstructed skin models
                                   log-P-values ranging from 0.7 to 4.5, van Ravenzwaay and              Artificial and reconstructed skin models are useful tools in
                                   Leibold72 found that mean in vitro permeation flux through            specific circumstances, driven by the need to find conve-
                                   rat skin was around elevenfold greater than through human             nient, reproducible alternatives to in vivo and ex vivo tests
                                   skin, while a similar comparison by Schmook et al71 found             with human and animal skin. The artificial skin models
                                   flux increase of 50-fold for the relatively lipophilic molecules      range from simple homogeneous polymer materials, such
                                   hydrocortisone and terbinafine.                                       as poly(dimethoxysilane) or silicone membranes through to
                                       Shed snake skin is another interesting membrane that              lipid-based parallel artificial membrane-permeability assay
                                   was suggested as a suitable alternative to human skin.73              (PAMPA) or phospholipid vesicle-based permeation-assay
                                   This membrane, which can be obtained without killing the              membranes,77 with the latter material designed to mimic the
                                   animal, has some similarity to human skin, in that it con-            SC. By eliminating the complexity of human or animal skin,
                                   sists of thin, flat squamate cells surrounded by intercellular        the simple homogeneous materials are particularly useful for
                                   phospholipids, although it does lack hair follicles. Rigg and         studying the basic mechanisms controlling passive transport
                                   Barry compared permeation of fluorouracil (5-FU) through              though a membrane.78–80 The main advantage they have in
                                   dermatomed human abdominal skin and shed skin from two                this regard is their relative reproducibility due to their simple
                                   snake species.74 The permeability coefficients were similar           standardized construction. However, they are not intended to
                                   between human and dorsal and ventral skin of one snake                represent, nor are they capable of, representing the multitude
                                   species, whereas there was a 30-fold increase in dorsal skin          of in vivo skin properties.81



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                                         The PAMPA can be used for rapid screening of passive              Some reconstructed skin models are produced in-house
                                     transport.82 The PAMPA assay is conducted in a 96-well            for particular research purposes, such as drug-candidate or
                                     filter plate coated with a liquid artificial membrane to          toxicological screening88 or the assessment of photodamage
                                     separate two compartments: one containing a buffer solu-          and photoprotection.89 In one particular reconstructed model,
                                     tion of compounds to be tested (donor compartment) and            consisting of layers of human dermal fibroblasts and human
                                     the other containing an initial fresh buffer solution (acceptor   epidermal HaCaT cells, there was no change in the perme-
                                     compartment). Significant correlations with gastrointestinal      ability coefficients of ibuprofen after freezing the membrane
                                     absorption in humans were seen with PAMPA using filters           over liquid nitrogen for 24 hours or 6 months. Such a property
                                     impregnated with a solution of phospholipids or hexadec-          would make reconstructed membranes attractive for general
                                     ane.82 To develop a new artificial membrane to be used in         screening uses. In addition, there are commercially available
                                     PAMPA for prediction of skin permeation, Ottaviani et al          RHEs (eg, EpiSkin®, SkinEthic®, and EpiDerm®) and LSEs
                                     investigated the permeability coefficients of a number of         (eg, GraftSkin®, EpiDermFT®, and Pheninon®) that have been
                                     compounds through human skin and the PAMPA-skin artifi-           suggested as suitable candidates for in vivo and ex vivo skin
                                     cial membrane comprised of dimethylpolysiloxane (silicone)        models in evaluating skin absorption, testing of cosmetic
                                     membranes. They reported a good correlation between the           products, and for the toxicological screening of topically
                                     two skin models.83                                                applied compounds. A number of studies have compared LSE
                                         The FDA has encouraged the use of porous synthetic            and HRE models with animal and human skin.71,90,91 Schmook
                                     membranes for evaluating the performance of topical prod-         et al studied salicylic acid, hydrocortisone, clotrimazole, and
                                     ucts, as they act as a support without posing a rate-limiting     terbinafine permeation through ex vivo human (dermatomed),
                                     barrier.84 Shah et al from the FDA used different micropo-        porcine, and rat skin, GraftSkin LSE, and SkinEthic RHE.71
                                     rous membranes, such as pure cellulose acetate, cellulose,        The fluxes and skin accumulation were generally in the order
                                     and polysulfone, of similar pore sizes and thicknesses to         human ≤ porcine < rat < GraftSkin << SkinEthic. Comparing
                                     examine the permeation of hydrocortisone from two com-            human and pig skin with two RHE models, Schreiber et al91
                                     mercial creams. They found that the hydrocortisone flux was       found permeation coefficients of caffeine and testosterone
                                     consistent irrespective of the types of synthetic membrane.85     were both in the order human < pig < EpiDerm << SkinEthic.
                                     Nitroglycerin drug release from commercial ointments was          Schäfer-Korting et al published an extensive comparison of
                                     investigated by Wu et al86 using ten types of commercial          human epidermal membranes, porcine skin, and three RHE
                                     synthetic membranes, such as polysulfone, cellulose mixed         models – EpiDerm, EpiSkin, and SkinEthic – with a series of
                                     esters, polytetrafluoroethylene, and polypropylene, with dif-     hydrophilic and lipophilic permeants.90 Their general conclu-
                                     ferent pore size and thickness. From the results obtained in      sions were that the RHE models, particularly SkinEthic, were
                                     this study, the synthetic membranes may be classified into        significantly more permeable than the ex vivo skins, although
                                     two groups: group 1, consisting of polysulfone, acrylic poly-     the ranking of the permeation of the compounds through pig
                                     mer, glass fiber, silicone, and mixed cellulose ester, showed     skin and the RHEs mirrored that through human epidermis.
                                     higher drug permeation compared to group 2, which included        Interestingly, they did not observe the expected improvement
                                     polytetrafluoroethylene–polyethylene, mixed cellulose ester       in reproducibility with the RHEs compared to the ex vivo skin.
                                     (of greater thickness), and polypropylene. The effect of              As of 2013, reconstructed skin models had received
                                     membrane types upon ketoprofen drug release from a gel            Organization for Economic Co-operation and Development
                                     has also been studied. It was found that nylon exhibited the      approval for testing of skin corrosion, acute skin irritation,
                                     least rate-limiting effects, although it is a thicker synthetic   and phototoxicity.22 None is currently approved for testing
                                     membrane compared to others.87                                    of skin absorption. Further work is needed to validate the
                                         Reconstructed skin models are culture-based, with lay-        various models, particularly the LSEs, for this purpose,
                                     ers of human cells in culture laid down over a polymeric          although they may be useful for in vitro screening. Interest-
                                     matrix. This allows different cell types to be incorporated       ingly, Schäfer-Korting et al concluded that the tested RHEs
                                     to achieve a structure of the desired composition and             were applicable to both finite- and infinite-dose studies.90
                                     complexity. Reconstructed models are generally designed
                                     to simulate the epidermis (reconstructed human epidermis          Models for skin diseases
                                     [RHE] models) or the full human skin (living skin equiva-         The skin is not only a convenient portal to the systemic cir-
                                     lents [LSEs]).22,77                                               culation but also a logical site of application for t­ reatment


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                                   of various localized skin disorders, such as skin cancers,         with an emphasis on their application to drug discovery, has
                                   inflammatory illnesses, and damaged skin. As the inves-            been published by Avci et al.107
                                   tigation of disease mechanisms and new therapies is usu-               Of particular interest are the chimeric models, in which
                                   ally difficult or impossible in humans, it is necessary to         living human skin is grafted on to the skin of severe combined
                                   use alternative methods. Models representing normal or             immunodeficient (SCID) mice. In this way, responses or
                                   healthy skin are appropriate to test the delivery and target-      treatments can be studied in living human skin. For example,
                                   ing of topically applied drugs or other substances, often          targeted Kv1.3-cell immunotherapy was shown to be effec-
                                   for the purpose of evaluating the delivery system used.            tive in reducing human epidermal thickness and the number
                                   However, models that are designed to mimic the effects of          of CD3+ lymphocytes in an SCID mouse–human psoriatic
                                   disease states can be used to study the delivery and effects       skin xenograft model, leading the authors to propose the
                                   of topical therapies or to gain insight into the molecular         investigated therapy for treatment of psoriasis and possibly
                                   mechanisms responsible for particular diseases. In the fol-        other inflammatory skin conditions.108 Similar investigative
                                   lowing sections, we review some of the various animal and          work in psoriasis used the SCID mouse–human psoriatic skin
                                   artificial models that have been applied to studies of skin        xenograft model to identify a role for Hsp90 in signaling
                                   diseases. Some recently published studies using animal             pathways that are upregulated in psoriasis. Mice treated orally
                                   and reconstructed human skin models for the study of skin          with the Hsp90 inhibitor Debio 0932 showed a reduction in
                                   diseases, including their use in therapeutic screening, are        xenograft epidermal thickness.
                                   summarized in Tables 2 and 3.                                          The xenograft model has also been used for investigation
                                                                                                      of cancer targets and therapies. Targeted oral109 or intrave-
                                   Ex vivo animal models for skin diseases                            nous110 treatments in SCID mouse–human melanoma xeno-
                                   A plethora of in vivo animal models employing fish, guinea         grafts caused significant reductions in tumor proliferation
                                   pigs, mice, rats, rabbits, and pigs have been developed to         and size in BRAF- and ALDH+-specific melanomas.109,110
                                   mimic human skin diseases. Some recent reviews have
                                   focused on the most widely studied areas of melanoma,92            Reconstructed skin models for diseases
                                   atopic dermatitis,93 and psoriasis.94 Other applications include   Today, there are increasing regulatory restrictions on the use
                                   skin infections (eg, acne, viral infections), damaged skin         of animals, and the availability of excised human diseased
                                   (eg, wounding, photo-damaged skin), hair disorders (eg,            skin is limited. For these reasons and following the advances
                                   different types of alopecia), and skin cancers, such as basal      in tissue engineering, the development of artificial in vitro
                                   and squamous cell carcinomas. A significant number of              human skin models to mimic both healthy and diseased skin
                                   models use genetically engineered mice, due to the fact that       has intensified. Another important benefit of using artificial
                                   many human skin diseases are cause by gene mutations.95            skin models is that they allow the incorporation of specific
                                   These animal models have been extensively used for the             disease characteristics in a controlled and relatively reproduc-
                                   understanding of disease mechanisms and to a lesser extent         ible manner. In vitro models have been developed for a wide
                                   for the clinical evaluation of drug candidates. For example,       range of skin diseases, such as inflammatory disorders, fungal
                                   epidermal VEGF-knockout mice were used to identify a               infections, skin cancer, photodamaged skin, and wounding. A
                                   specific role for epidermal VEGF in the maintenance of             general review has recently been published by Küchler et al.22
                                   epidermal permeability-barrier homeostasis and pointed             The models are generally developed in-house by researchers,
                                   to the disruption of VEGF pathways in the development of           with the goals of understanding disease mechanisms and pro-
                                   psoriasis.96 In very recent work by Rossbach et al,97 hista-       gression, or less commonly to use as screening tools for the
                                   mine H4 receptor (H4R)-knockout mice showed significant            assessment of therapeutic modalities. A major challenge in
                                   reductions in ovalbumin-induced skin lesions analogous to          the use of these models is to assess whether they are relevant
                                   those caused by atopic dermatitis. Their findings suggested        to and predictable of the in vivo situation.
                                   that H4R could be a new therapeutic target in allergic skin            Inflammatory and autoimmune diseases for which artifi-
                                   diseases like atopic dermatitis.                                   cial skin models have been developed include psoriasis,111,112
                                       In addition to melanoma, mouse models have been used           atopic dermatitis,113,114 and eczematous dermatitis.115 In most
                                   particularly for the other common skin cancers, squamous           cases, the specific pathway leading to expression of the
                                   cell carcinoma,98–103 and basal cell carcinoma.104–106 An over-    disease state was induced by suitable interventions, such as
                                   view of animal models for a wide range of skin conditions,         stimulation by psoriasis-associated cytokines,112 or in the



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                                     Table 2 In vivo animal disease models
                                     Disease model                Characteristics                                            Drug delivered                                         Reference
                                     Psoriasis mouse model        Epidermal VEGF-knockout mice used to identify specific                                                            Elias et al96
                                                                  role for VEGF in permeability-barrier maintenance
                                     Atopic dermatitis mouse Histamine H4 (H4R)-knockout mice used to show                   H4R antagonists partially mimicked effects             Rossbach et al97
                                     model                        H4R modulates inflammation in a chronic allergic           of H4R knockout
                                                                  dermatitis setting
                                     Dermatophytosis guinea- Tinea corporis induced by application of Trichophyton           Luliconazole                                           Koga et al121
                                     pig model                    mentagrophytes TIMM1189 inoculum on dorsal skin
                                     Irritant dermatitis hairless Induced by daily exposure for 4 days to sodium             Basic, carbomer, isopropyl palmitate,                  Andersen et al122
                                     guinea-pig model             lauryl sulfate                                             glycerol, canola oil, and bisabolol creams
                                     Squamous cell carcinoma Dorsal UVB irradiation (minimal erythema dose) of               Diclofenac (anti-inflammatory COX2                     Burns et al98
                                     mouse model                  SKH1 hairless mice                                         inhibitor) as preventive drug
                                                                  UV-induced T7 SCC line subcutaneously injected in          Ingenol mebutate                                       Cozzi et al99
                                                                  the back of SKH1 hairless mice
                                                                  UV radiation of SKH1 hairless mice                      17AAG (heat-shock protein 90 inhibitor)                   Singh et al100
                                                                                                                          alone or in conjunction with UVR treatments
                                                                Human skin SCC cell line SRB12-p9 subcutaneously injected Curcumin                                                  Sonavane et al101
                                                                into severe combined immunodeficiency (SCID) mice
                                                                Two-stage skin-carcinogenesis model in FVB/N mice: 5-Fluorouracil (5-FU)                                            Viros et al102
                                                                1) topical treatment with carcinogen agent (DMBA),
                                                                2) tumor-promoter treatment (TPA), and 3) oral
                                                                dose with a BRAF inhibitor (PLX4270)
                                                                Dorsal UVB irradiation (minimal erythema dose) of         5-Aminolevulinic acid (5-ALA) in conjunction              Wang et al103
                                                                SKH1 hairless mice                                        with photodynamic therapy (PDT)
                                     Basal cell carcinoma       Neonatally irradiated Ptch1+/– mice as a model of         MK-4101, potent inhibitor of Hh-signaling                 Filocamo et al104
                                     mouse model                Hedgehog (Hh)-signaling pathway-dependent tumors pathway, had robust antitumor activity
                                                                BCC mouse model used to identify molecular                                                                          Larsimont et al105
                                                                mechanisms regulated by Sox9, leading to tumour
                                                                initiation and invasion
                                                                Induced in PTCH-knockout mice by 1) treatment             CUR61414 (an inhibitor of the Hh signal-                  Tang et al106
                                                                by tamoxifen administered intraperitoneally and 2)        transduction molecule Smoothened)
                                                                ionizing irradiation
                                     Melanoma mouse model Tumor spheroid of B16/F0 melanoma cells                         Bortezomib (inhibitor of the 26S                          Schröder et al123
                                                                subcutaneously inoculated in the auricle of NMRINu/ proteasome)
                                                                Nu or C57/BL6 mice
                                                                B16BL6 melanoma cells subcutaneously injected into Curcumin                                                         Chen et al124
                                                                the notum of C57BL/l mice
                                                                B16 melanoma cells subcutaneously injected in the         Mitoxantrone (DNA-synthesis and                           Yu et al125
                                                                hip of BALB/c nude mice                                   -transcription inhibitor)
                                     Human–SCID mouse           SCID mouse–human psoriasis skin model used for            Kv1.3 channel blocker PAP-1                               Kundu-Raychaudhuri
                                     xenograft model: psoriasis targeted topical immunotherapy                                                                                      et al108
                                     Human–SCID mouse           Identified an intronic mutation as molecular basis for Vemurafenib, potent RAF-kinase inhibitor                     Salton et al109
                                     xenograft model:           a RNA splicing-mediated RAF inhibitor-resistance
                                     melanoma                   mechanism and a pre-mRNA-splicing interference as
                                                                a potential therapeutic strategy for drug resistance in
                                                                BRAF melanoma
                                     Human–SCID mouse           Effects of chemical inhibition of ALDH1 on the            ALDH1 inhibitors (eg,                                     Yue et al110
                                     xenograft model:           response of human melanoma xenografts to                  diethylaminobenzaldehyde) added to
                                     melanoma                   chemotherapy and the effects of ALDH1A1 RNA               dacarbazine chemotherapy
                                                                silencing on melanoma growth and metastasis; ALDH1
                                                                inhibition may be useful in melanoma treatment
                                     Abbreviations: UVB, ultraviolet B; SCC, squamous cell carcinoma; DMBA, 7,12-dimethylbenz-(a)anthracene; BCC, basal cell carcinoma; mRNA, messenger RNA; BRAF,
                                     v-Raf murine sarcoma viral oncogene homolog B; RAF, a serine/threonine protein kinase product of BRAF gene; ALDH, aldehyde dehydrogenase; SCID, severe combined
                                     immunodeficient; VEGF, vascular endothelial growth factor.



                                     generation of atopic dermatitis by downregulation of filag-                          Skin-cancer models were constructed by incorporating
                                     grin113 or treatment with an inflammatory cocktail.114 Some                      various tumor entities within the three-dimensional (3-D)
                                     of the models were developed as potential screening tools for                    matrix, including cultured melanoma116 cells, an A375
                                     drugs to treat the expressed disease states.112,114                              metastatic melanoma cell line, 117 and melanoma-tumor

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                                   Table 3 Reconstructed skin-disease models
                                   Disease model                        Characteristics                                             Drug delivered                                       Reference
                                   Psoriasis                            Full-thickness skin model closely resembling in vivo        Ixekizumab (IL-17 antagonist)                        Chiricozzi et al111
                                                                        epidermal architecture used to identify IL-17-
                                                                        responsive genes in psoriasis
                                                                        Human psoriatic skin equivalents used to study              Retinoic acid, cyclosporine A                        Tjabringa et al112
                                                                        cytokine-induced gene expression
                                   Atopic dermatitis                    3-D reconstructed human epidermis model used to             Inflammatory cocktail (polyinosinic–                 Pendaries et al113
                                                                        show filaggrin downregulation in the epidermis of           polycytidylic acid, TNFα, IL-4, and IL-13)
                                                                        atopic patients, either acquired or innate, may be
                                                                        directly responsible for some of the disease-related
                                                                        alterations
                                   Atopic dermatitis                    Compromised reconstructed epidermis mimicking                                                                    Rouaud-Tinguely
                                                                        AD-related inflammation in vitro                                                                                 et al114
                                   3-D model of dermatitis              Human foreskin fibroblasts                                  Dexamethasone and tacrolimus                         Engelhart et al115
                                                                        HaCaT cells
                                                                        Memory-effector (CD45RO+) T cells
                                                                        Scaffold material: tat tail collagen type I, fibronectin
                                   3-D model of melanoma                3-D human skin reconstruct model incorporating                                                                   Li et al116
                                                                        melanocytic cells
                                   3-D skin-reconstruction              Human malignant melanoma cells (A375)                       Roscovitine (cyclin-dependent kinase                 Mohapatra et al117
                                   model of metastatic                  Normal human-derived epidermal keratinocytes                inhibitor)
                                   melanoma                             (NHEKs)
                                                                        Normal human-derived dermal fibroblasts (NHDFs)
                                                                        Scaffold material: collagen type I
                                   3-D organotypic skin-                Human melanoma cell lines SBCL2 (RGP), WM-115               TRAIL + ultraviolet B radiation                      Vörsmann et al118
                                   melanoma spheroid model              (VGP), and 451-LU (MM)                                      TRAIL + cisplatin
                                                                        Human primary keratinocytes
                                                                        Human primary fibroblasts
                                                                        Scaffold material: rat tail collagen type I
                                   3-D model of human                   Primary NHEKs                                               Erlotinib (tyrosine-kinase inhibitor)                Commandeur
                                   cutaneous squamous cell              Primary NHDFs, SCC12B2 and SCC13 cell lines                                                                      et al119
                                   carcinoma                            Scaffold material: rat tail collagen type I
                                                                        Pretreatment with EGF
                                   3-D model of scleroderma             Model useful for testing in vivo the progression of         Nilotinib, a tyrosine kinase inhibitor;              Luchetti et al120
                                   fibrosis                             scleroderma and to screen for antifibrotic drugs            human monoclonal anti-PDGFR antibodies
                                   Abbreviations: IL, interleukin; TNFα, tumor necrosis factor alpha; 3-D, three dimensional; NHEKS, Normal human-derived epidermal keratinocytes; TRAIL, tumor
                                   necrosis factor-related apoptosis-inducing ligand; SBCL-2 (RGP), an early radial growth phase cell line; WM-115 (VGP), a vertical growth phase cell line; MM, metastatic
                                   melanoma; NHDF, normal human-derived dermal fibroblasts.


                                   spheroids,118 as well as various cutaneous squamous cell                                receptor-mediated pathway in the disease and confirmed
                                   carcinoma cell lines. 119 Like the inflammatory models,                                 the suitability for testing in vivo the disease progression-
                                   these were used to study disease progression and targeted                               screening antifibrotic drugs.
                                   therapeutic interventions. Mohapatra et al117 used the cyclin-
                                   dependent kinase inhibitor roscovitine to inhibit growth of                             Summary and conclusion
                                   the A375 cells within the dermal layer of the 3-D matrix.                               Despite ethical concerns, the use of animals or isolated
                                   Using combination therapies, Vörsmann et al118 showed                                   animal skin models to assess percutaneous absorption of
                                   significant advantages in using their 3-D melanoma model                                molecules is frequently reported. These models are gener-
                                   to deliver in vivo-like responses compared to a standard 2-D                            ally more widely available than human skin, and prove
                                   monolayer culture.                                                                      important in basic research to improve our understanding
                                       A novel chimeric model consisting of a human artificial                             of the processes, pathways, and driving forces of various
                                   3-D skin construct grafted onto the back of SCID mice has                               agents across the skin barrier. However, because of a large
                                   also been reported.120 The bioengineered skin, containing                               number of animal skin models described in the literature,
                                   human keratinocytes and fibroblasts isolated from skin                                  it may be difficult to compare the results obtained across
                                   biopsies of healthy donors or scleroderma patients, was                                 various species, in addition to the variations in experimental
                                   generated ex vivo and then grafted onto the back of SCID                                methodology used with a specific skin model, such as type
                                   mice. Results implicated the involvement of a PDGF                                      of diffusion cells, body site, skin temperature, receiver

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BlueWillow Biologics® Launches NanoBio®
Protect Nasal Antiseptic Solution
Provides Next-Level Protection to the Nose, A Main Gateway for Infection-Causing
Germs




NEWS PROVIDED BY
BlueWillow Biologics 
Oct 08, 2020, 08:01 ET




ANN ARBOR, Mich., Oct. 8, 2020 /PRNewswire/ -- BlueWillow Biologics®, a clinical-stage
biopharmaceutical company, is pleased to announce the launch of NanoBio® Protect
(NanoBio®), the first alcohol-free, moisturizing, long-lasting over-the-counter (OTC) nasal
antiseptic proven to kill 99.99% of infection-causing germs on contact.


Experience the interactive Multichannel News Release here:
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   NanoBio B-Roll

                                                NanoBio Protect Antiseptic Spray

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   NanoBio Protect Antiseptic Spray              NanoBio Protect Antiseptic Spray




Once applied to the skin in and around the nose, the key entry point for most respiratory
infections, NanoBio Protect effectively provides next-level protection for up to 8 hours. NanoBio
is easy to apply with a cotton swab, pleasant to use, and the moisturizing, alcohol- and
fragrance-free formula is safe for the entire family. Each 0.61fl oz (18mL) bottle provides at least
40 treatments and is currently available for purchase on Amazon.com. NanoBio Protect will
also be launching in over 4,400 CVS Pharmacy stores across the U.S. beginning in November
2020.


NanoBio Protect's broad-spectrum effectiveness stems from the company's proprietary
nanotechnology. The patented, natural oil nanodroplets optimize the antiseptic's (0.13%
Benzalkonium chloride [BZK]) antimicrobial activity and its ability to kill germs on the skin.
NanoBio® Protect works because it is scientifically formulated to be the right size and charge to
kill infection-causing germs in and around the nose where they are most likely to enter the
body. Uniquely, the positively charged nanodroplets remain active on the skin for up to 8 hours,
attracting the negatively charged germs and killing them on contact. This phenomenon, fondly
referred to by the BlueWillow scientists as the "Dance of the Nanodroplets," is why the product
incomparably provides safe and long-lasting protection from infection.



To help NanoBio Protect fulfill its mission to help people breathe easier and live healthier lives,
BlueWillow has partnered with Good360, the global leader in product philanthropy and
purposeful giving, whose mission is to transform lives of those impacted by disasters or other
challenging life circumstances, including the COVID-19 pandemic.




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Beginning                         ECF
          October 8, 2020, for every  No. 59-4,
                                     bottle     PageID.2089
                                            of NanoBio       Filed
                                                       Protect     03/28/23 one
                                                               purchased,    Page 107 of
                                                                                bottle   116
                                                                                       will be
donated to Good360. In turn, Good360 will distribute NanoBio Protect to families in need and
frontline workers serving economically disadvantaged and high-risk communities.


Dr. Chad Costley, physician and CEO of BlueWillow Biologics stated, "We are thrilled to launch
the first-of-its-kind nasal antiseptic, NanoBio Protect, a truly revolutionary product." "It couldn't
come at a more crucial time as the need to protect ourselves and our families from infection
becomes even more vital," he added.



Studies* show the average person touches their face an average of 23 times per hour, providing
a lot of opportunity for germs to get in the nose. Applying NanoBio Protect every day – along
with frequent handwashing, wearing face coverings, and practicing distancing – is an essential
part of a daily regimen to protect, prevent and stop the spread of contagious respiratory
infections. NanoBio can play an essential role in staying healthy as we resume normal activities
such as going back to school, work, travel, dining, shopping, gyms, social events and more
where we are likely to pick up germs.



About BlueWillow Biologics
BlueWillow Biologics is a clinical-stage, privately-held biopharmaceutical company focused on
developing and bringing to market topical antiseptics, anti-infective products, and intranasal
vaccines using its proprietary nanotechnology platform. The innovative, patented oil-in-water
nanodroplets are employed in NanoBio Protect, the first over-the-counter, alcohol-free nasal
antiseptic proven 99.99% effective to kill germs on the skin in and around the nose that cause
respiratory infections. Visit www.nextlevelprotection.net for more information.



BlueWillow is also at the forefront of developing intranasal vaccines using its
exclusive NanoVax® platform that elicit both systemic and mucosal immunity for several
respiratory and sexually transmitted infections, including Sars-CoV-2 (Covid-19), RSV, HSV2,
pandemic influenza, and anthrax, as well as intranasal immunotherapy for peanut allergy and
other allergic conditions.



*[Source: Kwok et al. Am J Infect Control. 2015 Feb;43(2):112-4. doi: 10.1016/j.ajic.2014.10.015.
Face Touching: A Frequent Habit That Has Implications for Hand Hygiene.
https://www.ajicjournal.org/article/S0196-6553(14)01281-4/fulltext]                               
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Related Links

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                                                 WARNING LETTER

                                          Blue Willow Biologics
                                        MARCS-CMS 613948 — AUGUST 03, 2021


Product:
Drugs



Recipient:
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Issuing Office:
Center for Drug Evaluation and Research
United States




                                               WARNING LETTER

Date: August 3, 2021


RE: Unapproved New Drug Products Related to Coronavirus Disease 2019 (COVID-19)

This is to advise you that the United States Food and Drug Administration (FDA) had reviewed your websites
at the Internet addresses https://nanobioprotect.com and https://bluewillow.com on March 24, 2021. The
FDA observed that your websites offered a non-alcohol-based consumer antiseptic nasal product1 for sale in
the United States and that this product was intended to mitigate, prevent, treat, diagnose, or cure COVID-192
and other conditions in people. FDA also observed that your product is for sale in the United States on other
websites, including at https://www.cvs.com/shop/nanobio-protect-nasal-antiseptic-prodid-160333. Based on
our review, this product is an unapproved new drug introduced or delivered for introduction into interstate
commerce in violation of section 505(a) of the Federal Food, Drug, and Cosmetic Act (FD&C Act), 21 U.S.C. §
355(a). Furthermore, this product is a misbranded drug under sections 502(a) and (ee) of the FD&C Act, 21
U.S.C. 352(a) and (ee). Introduction or delivery for introduction of such a product into interstate commerce
violated sections 301(a) and (d) of the FD&C Act, 21 U.S.C. 331(a) and (d). These violations are described in
more detail below.
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There is currently a global outbreak of respiratory disease caused by a novel coronavirus that has been named
“severe acute respiratory syndrome coronavirus 2” (SARS-CoV-2). The disease caused by the virus has been
named “Coronavirus Disease 2019” (COVID-19). On January 31, 2020, the Department of Health and Human
Services (HHS) issued a declaration of a public health emergency related to COVID-19 and mobilized the
Operating Divisions of HHS.3 In addition, on March 13, 2020, there was a Presidential declaration of a
national emergency in response to COVID-19.4 Therefore, FDA is taking urgent measures to protect
consumers from certain products that, without approval or authorization by FDA, claim to mitigate, prevent,
treat, diagnose, or cure COVID-19 in people. As described below, you sold an unapproved and unauthorized
product that was intended to mitigate, prevent, treat, diagnose, or cure COVID-19 and other conditions in
people.

Some examples of the claims on your product label that establish the intended use of your product (as defined
in 21 CFR 201.128) and examples of the claims on your website that established the intended use of your
product and misleadingly represented it as safe and/or effective for the treatment or prevention of COVID-19
and other serious infections include, but may not be limited to, the following:

NanoBioProtect.com and Bluewillow.com websites and NanoBio Protect Nasal Antiseptic
label:

     NanoBio® Protect Over-The-Counter Nasal Antiseptic Kills COVID-19 Virus in Lab Tests.” [from your
     website https://bluewillow.com/%ef%bb%bf%ef%bb%bfnanobio-protect-over-the-counter-nasal-
     antiseptic-kills-covid-19-virus-in-lab-tests/]

     “Recent studies conducted by Public Health England also demonstrate NanoBio® Protect’s ability to kill
     COVID-19 virus in laboratory test.” [from your website https://bluewillow.com/nanobio-protect/]

     “NanoBio Protect . . . Protects for up to 8 hours . . . Kills 99.99% of germs on contact . . . Reduces the risk
     of respiratory infection ….” [from your website https://nanobioprotect.com/]

     “KILLS GERMS THAT ENTER THE NOSE . . . PROTECTS FOR 8 HOURS . . .NEXT-LEVEL
     PROTECTION AGAINST INFECTION” [from your product label]
     “Get protection from infection that lasts all day.” [from your website https://nanobioprotect.com/]

     “NanoBio Protect offers next-level protection to help keep you and your family healthy. It is the only
     alcohol-free nasal antiseptic proven to kill 99.99% of infection-causing germs when applied to the skin in
     and around the nose. . . NanoBio Protect uses patented, natural-oil nanodroplets that deliver the
     antiseptic directly to the surface of germs, killing them on contact. Uniquely, the nanodroplets remain
     active on the skin after application for up to 8 hours (in lab testing), providing lasting protection against
     the germs that cause infection.” [from your website https://nanobioprotect.com/frequently-asked-
     questions/]

     “NanoBio Protect adds BZK antiseptic to the surface of nanodroplets. This technology offers four distinct
     advantages over conventional BZK antiseptics:

The Nanodroplets optimize the ability of the antiseptic to kill germs. The droplets sit on skin after application,
enabling protection for up to 8 hours (in lab testing) . . .” [from your website
https://nanobioprotect.com/frequently-asked-questions/]

     “Is NanoBio Protect US FDA regulated? Yes. NanoBio® Protect nasal antiseptic adheres to the OTC
     monograph system for topical skin antiseptics. In testing by independent FDA registered laboratories,
     NanoBio® Protect was shown to kill 99.99% of a broad spectrum of pathogenic organisms. To learn
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     more, visit https://bluewillow.com/nanobio-protect/.” [from your website
     https://nanobioprotect.com/frequently-asked-questions/]

We note that, as of the date of this letter, some of the claims cited above appear to have been removed. Due to
the serious public health concerns related to the marketing and sale of unapproved drugs for the mitigation,
prevention, treatment, diagnosis, or cure of COVID-19, it is essential that these violations do not recur.

Based on the above claims, your topical antiseptic product is a drug as defined by section 201(g)(1)(B) of the
FD&C Act, 21 U.S.C. § 321(g)(1)(B), because it is intended for the diagnosis, cure, mitigation, treatment, or
prevention of disease, and/or under section 201(g)(1)(C) of the FD&C Act, 21 U.S.C. § 321(g)(1)(C), because it
is intended to affect the structure or any function of the body. Specifically, your product is intended for use as a
consumer topical antiseptic.

This consumer topical antiseptic is a “new drug” within the meaning of section 201(p) of the FD&C Act, 21
U.S.C. 321(p), because it is not generally recognized as safe and effective (GRASE) for use under the conditions
prescribed, recommended, or suggested in its labeling. New drugs may not be introduced or delivered for
introduction into interstate commerce without prior approval from FDA, as described in section 505(a) of the
FD&C Act, 21 U.S.C. 355(a), unless they are lawfully marketed under section 505G of the FD&C Act (which is
not the case for this product, as further described below) or under other exceptions not applicable here. No
FDA-approved application pursuant to section 505 of the FD&C Act, 21 U.S.C. 355, is in effect for this drug
product, nor are we aware of any adequate and well-controlled clinical studies in the published literature that
support a determination that your NanoBio Protect Nasal Antiseptic Solution product is GRASE for use under
the conditions suggested, recommended, or prescribed in its labeling. Accordingly, this product is an
unapproved new drug marketed in violation of sections 505(a) and 301(d) of the FD&C Act, 21 U.S.C 355(a)
and 331(d).

We note that over-the-counter (OTC) topical antiseptic products had been the subject of rulemaking under the
Agency’s OTC Drug Review. In particular, such products were addressed in a tentative final monograph (TFM)
entitled “Topical Antimicrobial Drug Products for Over-the-Counter Human Use; Tentative Final Monograph
for Health-Care Antiseptic Drug Products,” Proposed Rule, 59 FR 31402 (June 17, 1994) (1994 TFM), as
further amended by “Safety and Effectiveness of Consumer Antiseptics; Topical Antimicrobial Drug Products
for Over-the-Counter Human Use; Proposed Amendment of the Tentative Final Monograph; Reopening of
Administrative Record,” Proposed Rule, 81 FR 42912 (June 30, 2016)(Consumer Antiseptic Rubs Proposed
Rule). Over the course of these rulemakings, three active ingredients (benzalkonium chloride, ethyl alcohol
(ethanol), and isopropyl alcohol) were classified as Category III for use in consumer antiseptic rub products,
meaning that additional safety and effectiveness data are needed to support a determination that a drug
product containing one of these active ingredients would be GRASE for use as a consumer antiseptic rub.

Section 505G of the FD&C Act addresses nonprescription drugs marketed without an approved application.
Under section 505G(a)(3) of the FD&C Act, drugs that were classified as Category III for safety or effectiveness
in a TFM that is the most recently applicable proposal or determination for such drug issued under 21 CFR
Part 330 – and that were not classified as Category II for safety or effectiveness – are not required to have an
approved application under section 505 in order to be marketed, as long as they are in conformity with the
relevant conditions of use outlined in the applicable TFM, including the active ingredient, and comply with all
other applicable requirements.
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However, your consumer topical antiseptic product does not conform to the 1994 TFM, as further amended by
the 2016 Consumer Antiseptic Rubs Proposed Rule, nor any other TFM, proposed rule, or final rule, and does
not meet the conditions under section 505G(a)(3) of the FD&C Act for marketing without an approved
application under section 505.

Specifically, your labeling claims suggesting and depicting that your topical antiseptic product is effective in
preventing infection or disease go beyond merely describing the general intended use of consumer antiseptics
as set forth in the 1994 TFM.5 Your claims on the product label, suggesting your consumer antiseptic provides
all day efficacy against infection, and your claims on your websites, which suggested all day protection against
serious-disease related pathogens including the novel coronavirus that causes COVID-19, do not conform to
the 1994 TFM or any of the amendments to the TFM discussed above. Time-specific extended efficacy claims,
especially when related to serious-disease related pathogens, endanger the public health by creating a false
sense of security for the general public that may result in infrequent hand washing or the substitution of these
products for protective gloves and clothing, which are the principal methods for protecting against the spread
of diseases caused by pathogenic microorganisms. As a result, this product may have given users the false
impression that they need not rigorously adhere to interventions such as social distancing and exercising good
hygienic practices that have been demonstrated to curb the spread of COVID-19. Users who did not follow
these interventions were at increased risk for contracting COVID-19 and for spreading disease if they had been
exposed to the virus, thereby prolonging the pandemic, and increasing its associated morbidity and mortality.
In addition, according to the product labeling, NanoBio Protect Nasal Antiseptic Solution is intended to be
applied inside and around the nostrils. Consumer antiseptic products intended for administration inside and
around the nostrils are not permitted under the 1994 TFM, as further amended by the 2016 Consumer
Antiseptic Rubs Proposed Rule6.

We are unaware of any adequate and well-controlled clinical studies in the published literature that support a
determination that your consumer topical antiseptic product is GRASE for the above-described intended uses,
including the time-specific extended efficacy claims. Accordingly, your consumer topical antiseptic product is a
new drug under section 201(p) of the FD&C Act. In addition, there are no FDA-approved applications in effect
for your consumer topical antiseptic product and, accordingly, it is an unapproved new drug sold in violation
of sections 505(a) and 301(d) of the FD&C Act, 21 U.S.C §§ 355(a) and 331(d). We note that your consumer
topical antiseptic product also does not conform to any temporary policy FDA has implemented for alcohol-
based hand sanitizer products during the public health emergency.7

This consumer topical antiseptic product was also misbranded under section 502(a) of the FD&C Act, 21 U.S.C
352(a), because the labeling was false or misleading. Specifically, labeling for this product claimed that the
product “adheres to the OTC monograph system for topical skin antiseptics.” As noted above, this product
does not meet the conditions under section 505G(a)(3) of the FD&C Act for marketing without an approved
application under section 505.

This consumer topical antiseptic products is also misbranded under section 502(ee) of the FD&C Act, 21 U.S.C.
352(ee), because it is a nonprescription drug subject to section 505G of the FD&C Act, 21 U.S.C. 355h, but does
not comply with the requirements for marketing under that section and is not the subject of an application
approved under section 505 of the FD&C Act, 21 U.S.C. 355.

The introduction or delivery for introduction of a misbranded drug into interstate commerce is prohibited
under section 301(a) of the FD&C Act, 21 U.S.C. 331(a).
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You should take immediate action to address the violations cited in this letter. This letter is not meant to be an
all-inclusive list of violations that exist in connection with your products or operations. It is your responsibility
to ensure that the products you sell are in compliance with the FD&C Act and FDA's implementing regulations.
We advise you to review your websites, product labels, and other labeling and promotional materials to ensure
that you are not misleadingly representing your products as safe and effective for a COVID-19-related use for
which they have not been approved by FDA and that you do not make claims that misbrand the products in
violation of the FD&C Act. Within 48 hours, please send an email to COVID-19-Task-Force-
CDER@fda.hhs.gov describing the specific steps you have taken to prevent the recurrence of future
violations. Failure to adequately correct any violations may result in legal action, including, without limitation,
seizure, and injunction.

FDA is advising consumers not to purchase or use certain products that have not been approved, cleared, or
authorized by FDA and that are being misleadingly represented as safe and/or effective for the treatment or
prevention of COVID-19. Your firm will be added to a published list on FDA’s website of firms and websites
that have received warning letters from FDA concerning the sale or distribution of COVID-19 related products
in violation of the FD&C Act, with a notation that, as of the date of this letter, your firm’s listed products are no
longer sold for the prevention, treatment, mitigation, diagnosis or cure of COVID-19. This list can be found at
http://www.fda.gov/consumers/health-fraud-scams/fraudulent-coronavirus-disease-covid-19-products
(http://www.fda.gov/consumers/health-fraud-scams/fraudulent-coronavirus-disease-covid-19-
products).Corrective actions taken to address the sale of your unapproved and unauthorized product for the
mitigation, prevention, treatment, diagnosis, or cure of COVID-19, and any appropriate corrective actions have
to be confirmed by the FDA, for the published list to be updated to indicate that your firm has taken such
corrective actions.

This letter notifies you of our concerns and provides you with an opportunity to address them. If you cannot
complete corrective action within 48 hours, state the reason for the delay and the time within which you will
complete the corrections. If you believe that your products are not in violation of the FD&C Act, include your
reasoning and any supporting information for our consideration.

If you are not located in the United States, please note that products that appear to be misbranded or
unapproved new drugs are subject to detention and refusal of admission if they are offered for importation
into the United States. We may advise the appropriate regulatory officials in the country from which you
operate that FDA considers your product(s) referenced above to be unapproved and misbranded products that
cannot be legally sold to consumers in the United States.

Please direct any inquiries to FDA at COVID-19-Task-Force-CDER@fda.hhs.gov.

Sincerely,
/S/
Donald D. Ashley
Director
Office of Compliance
Center for Drug Evaluation and Research
Food and Drug Administration

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1 Your non-alcohol-based consumer antiseptic nasal product is NanoBio Protect Nasal Antiseptic Solution.
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2 As explained in the next paragraph, there is currently an outbreak of a respiratory disease named
“Coronavirus Disease 2019” (COVID-19).

3 Secretary of Health and Human Services, Determination that a Public Health Emergency Exists. (originally
issued on Jan. 31, 2020 and subsequently renewed) available at
https://www.phe.gov/emergency/news/healthactions/phe/Pages/2019-nCoV.aspx
(https://www.phe.gov/emergency/news/healthactions/phe/Pages/2019-nCoV.aspx).

4 Proclamation on Declaring a National Emergency Concerning the Novel Coronavirus Disease (COVID-19)
Outbreak. (Mar. 13, 2020), available at https://www.whitehouse.gov/presidential-actions/proclamation-
declaring-national-emergency-concerning-novel-coronavirus-disease-covid-19-outbreak/
(https://www.whitehouse.gov/presidential-actions/proclamation-declaring-national-emergency-concerning-
novel-coronavirus-disease-covid-19-outbreak/)).

5 The 1994 TFM covers health care antiseptics that are indicated for use to help reduce bacteria that
potentially can cause disease and health care and consumer antiseptics that are indicated for use to decrease
bacteria on the skin. 59 FR at 31443.

6 The 2016 Consumer Antiseptic Rubs Proposed Rule covered consumer antiseptic products intended for use
of without water. Under the 1994 TFM, as amended by the 2016 Consumer Antiseptic Rubs Proposed Rule,
only consumer topical antiseptic products intended for use on the hands without water are permitted.
Products intended for other areas of the body such as the nose are not permitted.

7 See, e.g., Temporary Policy for Preparation of Certain Alcohol-Based Hand Sanitizer Products During the
Public Health Emergency (COVID-19). Because your consumer topical antiseptic product is not consistent
with the formulations described in these guidances, it does not fall within any temporary Agency policy not to
take action against firms manufacturing hand sanitizer products for violations of section 505 of the FD&C Act.

  More Warning Letters (/inspections-compliance-enforcement-and-criminal-investigations/compliance-actions-and-activities/warning-letters)
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                       IN THE UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF MICHIGAN

                                  SOUTHERN DIVISION



                TRUTEK CORP.,
                   Plaintiff,
                                               CIVIL ACTION No. 2:21-cv-10312-SJM-RSW
                         v.
          BlueWillow Biologics, Inc.
       ROBIN ROE 1 through 10, gender
       neutral fictitious names, and ABC
        CORPORATION 1 through 10
                (fictitious names).
                   Defendants.




                              CERTIFICATE OF SERVICE

            Undersigned hereby states that on September 29, 2022, the attorneys

      for Plaintiff caused the foregoing document to be served upon all counsel of

      record, via electronic service.
